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                             EXHIBIT 79




                                                                   Appx. 02297
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                    IN THE UNITED STATES BANKRUPTCY COURT
  1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
  2
                                  )     Case No. 19-34054-sgj-11
  3   In Re:                      )     Chapter 11
                                  )
  4   HIGHLAND CAPITAL            )     Dallas, Texas
      MANAGEMENT, L.P.,           )     Tuesday, February 23, 2021
  5                               )     9:00 a.m. Docket
               Debtor.            )
  6                               )
                                  )
  7   HIGHLAND CAPITAL            )     Adversary Proceeding 20-3190-sgj
      MANAGEMENT, L.P.,           )
  8                               )
               Plaintiff,         )     PLAINTIFF'S MOTION FOR ORDER
  9                               )     REQUIRING JAMES DONDERO TO
      v.                          )     SHOW CAUSE WHY HE SHOULD NOT
 10                               )     BE HELD IN CIVIL CONTEMPT FOR
      JAMES D. DONDERO,           )     VIOLATING THE TRO [48]
 11                               )
               Defendant.         )
 12                               )
                                  )
 13   HIGHLAND CAPITAL            )     Adversary Proceeding 21-3010-sgj
      MANAGEMENT, L.P.,           )
 14                               )
               Plaintiff,         )     DEBTOR'S EMERGENCY MOTION FOR
 15                               )     MANDATORY INJUNCTION REQUIRING
      v.                          )     THE ADVISORS TO ADOPT AND
 16                               )     IMPLEMENT A PLAN FOR THE
      HIGHLAND CAPITAL MANAGEMENT )     TRANSITION OF SERVICES BY
 17   FUND ADVISORS, L.P.,        )     FEBRUARY 28, 2021 [2]
      et al.,                     )
 18                               )
               Defendants.        )
 19                               )
 20                       TRANSCRIPT OF PROCEEDINGS
                 BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
 21                    UNITED STATES BANKRUPTCY JUDGE.
 22   WEBEX/TELEPHONIC APPEARANCES:

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                                                                   Appx. 02298
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               transcript produced by transcription service.




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      1            DALLAS, TEXAS - FEBRUARY 23, 2021 - 9:07 A.M.

      2               THE COURT:    This is Judge Jernigan, and we have

      3   Highland settings this morning.        We have a couple of settings

      4   in adversary proceedings, one in Adversary 21-3010, Debtor's

      5   Emergency Motion for a Mandatory Injunction Requiring the So-

      6   Called Advisors to Adopt and Implement a Plan for Transition

      7   of Services; and then, second, in Adversary 20-3190, a Motion

      8   to Hold James Dondero in Contempt for Violating a Previous

      9   TRO, allegedly.

     10       So, let's go ahead and get our lawyer appearances.         First,

     11   for the Debtor, Highland, who is appearing this morning?

     12               MR. POMERANTZ:    Good morning, Your Honor.    It's Jeff

     13   Pomerantz and John Morris of Pachulski Stang Ziehl & Jones.

     14   Mr. Morris will be handling the hearings today.

     15               THE COURT:    All right.    Thank you.

     16       All right.    For the Advisors, who do we have appearing?

     17               MR. RUKAVINA:    Davor Rukavina and my co-counsel, Lee

     18   Hogewood.    We are appearing for the two Defendants in

     19   Adversary Proceeding 21-03010.         We are not appearing in the

     20   other adversary and contempt matter.

     21               THE COURT:    All right.    For Mr. Dondero, who do we

     22   have appearing this morning?

     23               MR. WILSON:    Your Honor, John Wilson with the law

     24   firm of Bonds Ellis Eppich Schafer Jones.        And with me is

     25   Bryan Assink.




                                                                      Appx. 02300
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      1        (Interruption.)

      2             THE COURT:    All right.   I didn't hear what you said,

      3   Mr. Wilson, after appearing for yourself and Mr. Assink.

      4   Would you repeat that?

      5             MR. WILSON:    That was all I said, Your Honor.     I

      6   don't know what that other noise was.

      7             THE COURT:    Oh, okay.

      8        (Court confers with Clerk.)

      9             THE COURT:    Okay.   Someone came in as a PC user, is

     10   what my court reporter said.

     11        All right.   Well, do we have the Committee appearing

     12   today?

     13             MR. CLEMENTE:    Yes.   Good morning, Your Honor.

     14   Matthew Clemente; Sidley Austin; on behalf of the Committee.

     15             THE COURT:    All right.   Thank you.

     16        All right.   Well, that's all the appearances I will ask

     17   for right now.    I know we have interested observers, parties

     18   in interest observing today.

     19        Mr. Morris, how did you want to proceed this morning?

     20             MR. MORRIS:    John Morris; Pachulski Stang Ziehl &

     21   Jones.

     22        What I thought we'd do, Your Honor, is begin with the

     23   Debtor's Motion for the Mandatory Injunction.     I thought it

     24   would -- may make sense to begin with some opening statements

     25   and proceed right to the evidence.     The Debtor has two




                                                                   Appx. 02301
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                                                                             5


      1   witnesses to call, Mr. Seery and then Mr. Dondero.          And then

      2   we would rest after the admission into evidence of our

      3   exhibits.    The Advisors, you know, can certainly cross-examine

      4   Mr. Seery.    You know, and then we'll have closing statements

      5   and hopefully finish that part of the proceeding up.

      6       And then we'll move on to the contempt proceeding.          Mr.

      7   Dondero has a motion in limine to exclude certain evidence.

      8   The Debtor has agreed -- I don't know if I've seen an order

      9   from the Court -- but the Debtor has agreed to have that heard

     10   today, if Your Honor would like to do that.       The Debtor is

     11   certainly prepared to argue that motion prior to the

     12   commencement of the contempt proceeding.       And then after that

     13   motion is decided, we could just do the same drill:         Some

     14   opening statements, hopefully hear from a few witnesses, put

     15   in our evidence, and finish up.

     16               THE COURT:    All right.   Well, that was the sequence I

     17   had envisioned.    Since you're looking for an injunction, you

     18   know, immediately, you're wanting to transition services by

     19   February 28th, I thought that it made sense to take that one

     20   up first.    So, with that, I'll hear your opening statement.

     21               MR. MORRIS:    Okay.   Thank you, Your Honor.

     22               MR. RUKAVINA:    Your Honor, Davor Rukavina, briefly.

     23   I just would like for the record to be clear.       Are we having a

     24   combined record for both adversaries, or is the -- first the

     25   one and then the other, which would be my strong preference?




                                                                       Appx. 02302
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                                                                              6


     1             THE COURT:    No, I did not envision a combined record.

     2             MR. RUKAVINA:    Okay.

     3             THE COURT:    Mr. Morris, was that what you were

     4   suggesting and I didn't understand?

     5             MR. MORRIS:    No.

     6             THE COURT:    No, he was not.

     7             MR. MORRIS:    Not at all.

     8             THE COURT:    Okay.    So we're just --

     9             MR. RUKAVINA:    Okay.   Thank you.

    10             THE COURT:    -- focusing on the Advisor-Debtor dispute

    11   this morning with the evidence.      Okay.

    12       Mr. Morris, go ahead.

    13             MR. RUKAVINA:    Thank you, Your Honor.

    14             OPENING STATEMENT ON BEHALF OF THE PLAINTIFF

    15             MR. MORRIS:    Okay.   Thank you, Your Honor.       John

    16   Morris; Pachulski Stang Ziehl & Jones.

    17       Before I begin, I just want to tell the Court that the

    18   lawyers -- this has been a very difficult week.        We had three

    19   depositions yesterday.    And I just, I think it's important for

    20   the Court to know that the lawyers have cooperated really

    21   quite well.   It's difficult circumstances.       Not every

    22   conversation is polite and perfect.       But for Your Honor's

    23   purposes, I do appreciate everybody's cooperation getting to

    24   this point.

    25             THE COURT:    Well, I'm glad you told me that, because




                                                                       Appx. 02303
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                                                                             7


      1   I was wrongly thinking I might hear this morning that you all

      2   worked it out overnight.

      3               MR. MORRIS:    No.

      4               THE COURT:    I will let you know, I cannot for the

      5   life of me figure out why this couldn't be worked out, but I'm

      6   going to hear the evidence and argument and better understand

      7   that, I guess.

      8               MR. MORRIS:    You are.    And let me try to explain

      9   that.   And what I'd like to do in my opening is just give you

     10   some background as to how we got here, what the Debtor's

     11   interest was in bringing the motion, and what the Debtor is

     12   seeking from the Court today.         And I think, with that, perhaps

     13   we'll fill in any of the blanks that may be appearing on your

     14   page.

     15               THE COURT:    Okay.

     16               MR. MORRIS:    And I think the best place to start,

     17   Your Honor, is just -- I know that the Court is familiar with

     18   the relationship of the parties, but for the record in this

     19   particular case I think that it's important to just put that

     20   out there.    I've got a small demonstrative deck that I think

     21   would be helpful, and I would just ask that we put up on the

     22   screen --

     23               THE COURT:    All right.

     24               MR. MORRIS:    -- the first slide of the deck.

     25               THE COURT:    Okay.




                                                                      Appx. 02304
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                                                                        8


      1               MR. MORRIS:   And this slide, Your Honor, you'll hear

      2   testimony and I don't think there will be any dispute about

      3   the substance of this particular slide.      But as Your Honor is

      4   aware, HCMLP, the Debtor, has certain shared services

      5   agreements with the two Defendants here that are the two

      6   Advisors.    That's HCM Fund Advisors, NexPoint Advisors.

      7   Pursuant to those shared services agreements, the Debtor

      8   provided certain back- and middle-office services.       And the

      9   shared services for purposes of this hearing contain some very

     10   important termination clauses.

     11        The evidence will show that the Advisors provide advisory

     12   services to certain investment funds.       There's about ten or

     13   twelve investment funds to which they provide advisory

     14   services pursuant to these advisory service agreements.       Some

     15   of those funds are publicly traded.     As Your Honor has heard

     16   previously, some of those funds have thousands of individual

     17   investors, mom-and-pop investors and retail investors.       So

     18   that is the -- kind of the -- how this all fits together, and

     19   we'd just like to keep that in context.

     20        The agreements themselves, as I mentioned, have certain

     21   termination clauses.

     22        If we could just go to the next slide, please.

     23        The agreement between the Debtor and Highland Capital

     24   Management Fund Advisors had their shared services agreement,

     25   and you can see in the footnote where I cite to the exhibit.




                                                                    Appx. 02305
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                                                                         9


      1   This is Debtor's Exhibit 2 that appears at the adversary

      2   proceeding Docket No. 10.    It's a very straightforward

      3   termination clause.    It's a clause that says the agreement is

      4   for a period of a year, with automatic renewals.      And then

      5   Section 7.02 provides that either party may terminate this

      6   agreement with or without cause upon at least 60 days' written

      7   notice.

      8        If we could go to the next slide, you'll see that this is

      9   the excerpt from the NexPoint Advisors shared services

     10   agreement.    And this provision is slightly different because

     11   it requires only 30-day written notice.     That -- and that

     12   particular agreement can be found at Debtor's Exhibit No. 4.

     13        So that's kind of the nature of the parties and that's the

     14   important part of the agreement, at least from the Debtor's

     15   perspective.

     16        And how does this -- how is this all particularly relevant

     17   today?    The Debtor filed for bankruptcy back in October of

     18   2019.    As the Court is aware, Mr. Dondero was in control of

     19   both the Debtor and the Advisors at that time.      The Advisors

     20   had certainly prior notice that the Debtor would be filing for

     21   bankruptcy.    And indeed, I think you'll hear some testimony

     22   today from Dustin Norris that the Advisors had begun to think

     23   about what would happen to the shared services agreements, you

     24   know, a year and a half ago, prior to the bankruptcy filing.

     25        Fast forward to August, August of 2020.     The Debtor had




                                                                   Appx. 02306
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                                                                          10


       1   been in bankruptcy at that point for about ten months.       And if

       2   Your Honor will recall, at around that time the Debtor filed

       3   its first plan of reorganization.

       4       And if we could just go to the next slide, please.

       5       This was an important event for the Debtor at the time,

       6   because while the Debtor did not yet have the support of any

       7   meaningful constituency, it did make a public statement for

       8   the first time that unless executory contracts were assumed or

       9   otherwise treated in the manner provided in Article 5 of the

     10    plan, they would be deemed rejected.       So, as of August 2020,

     11    this was the marker that the Debtor laid.

     12        And certainly, discussions continued about a potential

     13    grand bargain.   You've heard a lot about that.      They morphed

     14    later on into discussions about a pot plan.       But for purposes

     15    of, you know, public disclosure, there is no question that by

     16    August 2020 everybody should have been on notice that, in the

     17    absence of an assumption of the executory contracts, they

     18    would be deemed to be rejected.

     19        You'll hear from Mr. Seery today.       Mr. Seery will testify

     20    as to the events that took place in the weeks following the

     21    filing of this document.   He'll -- he will describe for you at

     22    a high level but just in general how the parties began

     23    discussing the possibility of a transition of services

     24    agreement, the form of which was not certain at the time.

     25    There were a couple of possibilities, including a Dondero-




                                                                     Appx. 02307
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                                                                        11


       1   related entity taking it over.    There was the possibility of a

       2   -- what's been referred to and what will be referred to as

       3   Newco, which was going to be a new entity formed by some of

       4   the Debtor's employees upon consummation of the plan.     I think

       5   there was discussion about the possibility of just leaving

       6   things in place if somehow a grand bargain could be achieved.

       7   But discussions ensued in the fall.

       8       And as Your Honor will also recall, you know, we had the

       9   mediation.   The mediation wasn't successful in resolving the

     10    grand bargain.   The mediation did result in the agreement with

     11    Acis, and that's when, you know, tensions began to increase

     12    with Mr. Dondero and the board.

     13        Mr. Seery will testify that through the fall, while

     14    discussions continued, you know, it became a little bit more

     15    -- it became a little bit more difficult.     And Your Honor will

     16    recall that in October the board asked for Mr. Dondero's

     17    resignation, which he complied with, pursuant to the corporate

     18    governance provisions.

     19        But it was in this time that Mr. Seery will also testify

     20    that Mr. Dondero made it clear, in a call that there were

     21    numerous people on, that if, you know, we could get to a grand

     22    bargain, that would be great, but if that we couldn't, nobody

     23    should assume that the transition of services would be easy.

     24        Now, you know, Mr. Seery will testify that he found that

     25    interesting because the transition of services really should




                                                                   Appx. 02308
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                                                                        12


       1   have been more of the Advisors' concern than the Debtor's, but

       2   it was a point that Mr. Seery noted, and he'll tell you about.

       3       By November, the Debtor had reached a consensus with the

       4   Creditors' Committee on the formulation of a plan.     If you'll

       5   recall, in late October, there was a contested disclosure

       6   statement hearing during which the Committee objected to the

       7   releases and to certain corporate governance provisions.     And

       8   those -- those objections led to negotiations, and those

       9   negotiations led to an amended plan, which was the Third

     10    Amended Plan.

     11        And if we could go to the next slide, this is also, from

     12    our perspective, an important marker in the narrative here,

     13    because in mid-November, we'd gone beyond just saying that if

     14    the contracts aren't assumed they would be deemed rejected to

     15    making a public statement that shared services agreements are

     16    not going to be assumed.   And they're not going to be assumed

     17    because they're not cost-effective.   And Mr. Seery will

     18    testify as to why the contracts were not cost-effective.     But

     19    there was no doubt by mid-November that the contracts weren't

     20    going to be assumed by the Debtor.

     21        A couple of weeks later, to remove any doubt, the Debtor

     22    exercised its right under the shared services agreement and

     23    gave notice of termination.

     24        If we can go to the next slide, please.     You'll see in

     25    this, in this slide, you've got -- yeah, there you go.




                                                                   Appx. 02309
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                                                                          13


       1   There's a letter dated November 30th.       And this can be found,

       2   this is Debtor's Exhibit 3.   There is a letter notifying the

       3   Fund Advisors that the Debtor intended to terminate the shared

       4   services agreement on January 31, 2021.      In other words, the

       5   Debtor gave the 60-day notice that we just looked at under the

       6   shared services agreement of its intention to terminate the

       7   shared services agreement.

       8       Can we go to the next slide, please?

       9       On the same day, the Debtor also gave notice of its

     10    intention to terminate the shared services agreement with

     11    NexPoint Advisors.   And I would note that, notwithstanding the

     12    fact that the shared services agreement with NexPoint Advisors

     13    only required a 30-day notice period, the Debtor, in fact,

     14    gave 60 days' notice, just to keep them on the same track.

     15        And as Your Honor knows, in the subsequent weeks, the

     16    Debtors pushed ahead with their plan of reorganization.       They

     17    amended it a couple of times.    Those amendments didn't have

     18    anything -- have any impact on the termination notices.

     19    You'll hear no evidence today that the Debtor rescinded the

     20    termination notices.   You'll hear no evidence today that the

     21    Debtor ever considered rescinding the termination notices.

     22        And so we fast-forward now a couple of months later to

     23    January, and what's happening?    Mr. Seery will testify that,

     24    you know, the Debtor really was using its best efforts to try

     25    to engage, to try to finish this up.       And he'll tell you what




                                                                     Appx. 02310
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                                                                       14


      1   the Debtor's motivations were here.    While the Debtor doesn't

      2   owe any obligations directly to the Funds, while the Debtor

      3   doesn't owe any obligations directly to the retail fund

      4   investors, the Debtor was very, very concerned that it be able

      5   to implement its plan of reorganization.     And that plan of

      6   reorganization, which Your Honor just approved very recently,

      7   and in fact entered the order yesterday, pursuant to that plan

      8   the Debtor is going to and has begun the process of downsizing

      9   substantially.   And they were going to eliminate a lot of the

     10   employees, and they knew in January that there was no way the

     11   Debtor was ever going to have the ability to provide any

     12   services at any time after February 28th.     I mean, they gave

     13   notice of January 31st.

     14        So, the Debtor wanted to make sure that it could proceed

     15   in the future without any obligation, without any claim that

     16   there's obligations.   So the Debtor was really focused on

     17   trying to try to finish up this transition services agreement.

     18   And the negotiations picked up a little bit in late January,

     19   but here we were, with a January 31st deadline, and the Debtor

     20   -- the Debtor [sic] asked for an extension of time.      And the

     21   Debtor [sic] asked for an extension of time presumably because

     22   they weren't prepared to assume the back-office and the

     23   middle-office services that the Debtor was providing.

     24        And so the Debtor agreed and the parties agreed, pursuant

     25   to a written agreement, to extend the deadline by two more




                                                                   Appx. 02311
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                                                                         15


      1   weeks.    And the parties continued to negotiate during those

      2   two weeks, but there were difficulties.     And threats were

      3   made.    And Mr. Seery will testify that those threats caused

      4   the Debtor to insist that the negotiations basically be

      5   chaperoned by outside counsel.

      6       It didn't last long.    It was really just for the purpose

      7   of trying to get the temperatures down to a degree where

      8   people could engage in a more cooperative fashion.     But that's

      9   what we were dealing with in late January and early February.

     10   We couldn't get to yes.

     11       And parties negotiated.    Terms sheets went back and forth.

     12   You're going to hear this testimony, not from Mr. Seery, but

     13   you'll hear it, ironically, from the Advisors, that last week

     14   an agreement was reached.   The only sticking point was Mr.

     15   Dondero's insistence that he be permitted access to the

     16   Debtor's offices.    It is the only thing that prevented the

     17   parties from reaching an agreement.

     18       And they say that the Debtor was unreasonable in not

     19   allowing him into their offices.    And Mr. Seery will testify

     20   that we'd already been through this process, that we'd already

     21   obtained a TRO, that we'd already obtained a preliminary

     22   injunction that bars him from the offices, and we just,

     23   admittedly, we would not agree to that provision.     But we

     24   would not be here today if the Advisors simply said, we'll

     25   leave that for another day, we've been operating for two




                                                                   Appx. 02312
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                                                                         16


       1   months without Mr. Dondero in the offices, we've otherwise got

       2   an agreement that accomplishes everything we need to do.

       3   Instead, they said no.

       4       And here's another interesting point.      You're going to

       5   hear the testimony from Mr. Norris, and he's going to tell you

       6   that the so-called independent boards of the funds, they were

       7   fully supportive of the Advisors' position.      They thought that

       8   it was a really smart idea to walk away from a fully-

       9   negotiated transition services agreement because the Debtor

     10    wouldn't let Mr. Dondero into the office.      They thought that

     11    was a great idea and they fully supported it.      Nobody -- none

     12    of the board members are going to be here today to testify to

     13    that, but Mr. Norris is going to -- I'm going to make sure

     14    that Mr. Norris informs the Court that that was the boards'

     15    view.

     16        And so, instead of saying yes, they said no.      And we had

     17    told them last Tuesday, if you don't agree to this, we're

     18    going to commence the lawsuit.    So they didn't agree to it, so

     19    we commenced the lawsuit.

     20        But negotiations continued.    And you know, I think the

     21    lawyers for the Advisors acted in very good faith here, Your

     22    Honor.   They did the best they could.     We continued to

     23    negotiate.   On Friday, they presented to the Debtor two

     24    options, Option A and Option B.   And at one point, they said,

     25    we're not -- we may have to tweak Option B, so hold off for




                                                                    Appx. 02313
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                                                                          17


      1   now.    And you're going to see this in the emails.     It was just

      2   black and white.    And we said okay, fine.    And then they came

      3   back and they said no, no, no, Option B is good, Option B is

      4   good, so tell us what you want to do.       And at 1:00 o'clock on

      5   Friday, there was a phone call.     The Debtor informed the

      6   Advisors' lawyers that they choose Option B.      We're done.    And

      7   we started talking about wire transfers.       We started talking

      8   about documenting this for the Court in a consensual order.

      9   And we would be done.

     10          And we had a call scheduled, I think at first at 3:30.

     11   Again, this will be -- this will all be in the evidence.        This

     12   is what the evidence is going to show.      We had a call at 3:30.

     13   They asked for an extension of time.      Then they told us they

     14   were trying to get the consent of the person whose consent

     15   they needed.    They pushed it off further.     And then, you know,

     16   then we got the bad email from Mr. Hogewood that said, we're

     17   not going to have a group call, I'm just going to call by

     18   myself.    And we knew what that meant.

     19          And so he called up.   He informed the Debtor that Plan B

     20   was off the table, the one that we had just accepted like for

     21   the second time.    So Plan B was now off the table, and we

     22   said, we're done.    I mean, we can't continue to negotiate

     23   this.

     24          A couple of hours later, they send an email and they say,

     25   Plan B is back now on the table, but we're taking back the




                                                                    Appx. 02314
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                                                                          18


       1   million dollars that we had previously agreed to.     And we

       2   said, no, thank you.

       3       They continued to make offers over the weekend, Mr. Seery

       4   will testify, offers pursuant to which they were seeking I

       5   think what they called the a la carte services from the

       6   Debtor.   And we weren't able to reach that agreement.    And,

       7   again, I think what Mr. Dondero is going to tell you, Your

       8   Honor, is that -- well, you're going to hear two different

       9   stories, actually.    Mr. Dondero is going to tell you that when

     10    we wouldn't let him back in the office on Tuesday, he

     11    disengaged.   So he didn't -- he didn't really care.    He didn't

     12    really have anything to do with it.    He doesn't know what plan

     13    the Debtor has today.    He doesn't know how the services are

     14    being transitioned.    He really doesn't know anything after

     15    last Wednesday as regards to this matter.

     16        But Mr. Norris will tell you that it was, in fact, Mr.

     17    Dondero who pulled Plan B on Friday afternoon because he

     18    didn't understand it.   There was a misunderstanding, they

     19    said, even though Mr. Dondero will tell you that he

     20    specifically authorized Mr. Norris and D.C. Sauter to

     21    negotiate the agreement.    Okay?   That's a -- it's not a pretty

     22    story.    I don't know that there's going to be a lot of dispute

     23    about the facts, to be honest with you, because they're

     24    reflected in documents.    This is as much a document case as it

     25    is anything else.




                                                                    Appx. 02315
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                                                                           19


      1         So, you know, where does that leave us?    Because there are

      2   certain developments that have happened in the last 24 hours,

      3   you know, that I'll -- that guess I'll share with you now.            We

      4   did take discovery yesterday.    As I mentioned, we did have a

      5   number of depositions.    And during one of those depositions,

      6   Mr. Norris disclosed that the Advisors do, in fact, have a

      7   plan, or at least they assert that they have a plan.      And the

      8   plan has, I think, what I would characterize as four legs to

      9   it.

     10         Number one is they hired yesterday on a contract basis

     11   somebody to perform audit and accounting services.      I think

     12   his name is Mr. Palmer.    And he started yesterday.

     13         They took in-house the payroll issues and are utilizing --

     14   to supplement that, they're now going to utilize a firm called

     15   Paylocity.   And Paylocity is a firm that the parties use

     16   regularly now.   So that's the second leg of their plan.

     17         The third leg is an IT company called Siepe.     I think

     18   Siepe is run by a former Highland employee.      And Siepe will

     19   provide -- and I think Mr. Norris is going to testify -- has

     20   been providing for a couple of weeks on a shadow basis certain

     21   IT functions.

     22         And, finally, they're still trying to negotiate with

     23   Newco.   Newco would be the entity that would be formed with

     24   some of the Highland employees.    But those negotiations aren't

     25   finished.




                                                                   Appx. 02316
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      1        So, I appreciated the objection that was filed yesterday.

      2   They basically said that this is moot, that they've got a

      3   plan, so there is nothing for the Court to do.       We still have

      4   concerns.   I think Mr. Seery will testify as to those

      5   concerns.

      6        But it does -- it does go, you know, much further than we

      7   thought, even though it was just adopted.       I mean, I guess the

      8   lawsuit had its intended effect, and in the last 24, 48, 72

      9   hours, they're -- they're engaging in the process of

     10   transition.

     11        So, you know, why are we here and what are we hoping to

     12   accomplish now that we've gotten news of that development?            I

     13   think it's pretty simple, Your Honor.       We simply want the

     14   Court to make sure that the Debtor is protected here, that the

     15   Debtor -- that there is a plan in place pursuant to which the

     16   Debtor will not be obligated to provide any services and it

     17   will be allowed to implement its plan in a way that not only

     18   protects the Debtor but really will protect the public

     19   marketplace, it will protect the funds and the investors, and,

     20   frankly, the Advisors as well.

     21        We wanted this to be a smooth transition.      We tried very

     22   hard to make it a smooth transition.    Unfortunately, that

     23   didn't come to pass.   But we do believe that the Debtor needs

     24   the comfort of an order.

     25        And the Advisors are simply wrong in their papers when




                                                                    Appx. 02317
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                                                                          21


      1   they say we're asking the Court to dictate terms.       I don't

      2   care if they have an agreement with the Debtor.       I don't care

      3   who they have an agreement with.      I don't care what the

      4   agreement says.    I don't think the Court has to order any

      5   particular terms.    We just want to make sure that they have a

      6   plan in place and that plan is implemented before the end of

      7   the month, because we will not be able to do anything for them

      8   after that time.

      9        Thank you very much, Your Honor.

     10               THE COURT:   Thank you.   Mr. Rukavina?

     11               MR. HOGEWOOD:   Good morning, Your Honor.   Lee

     12   Hogewood.    I'm going to take on the opening statement, if the

     13   Court please.

     14               THE COURT:   All right.   Thank you.

     15        OPENING STATEMENT ON BEHALF OF THE ADVISOR DEFENDANTS

     16               MR. HOGEWOOD:   And let me, let me begin by saying

     17   that I agree with Mr. Morris that counsel, I think, have

     18   cooperated throughout this process.      And I also -- and in

     19   particular thank them for asking that the hearing be pushed

     20   back for 30 minutes, which was at my request, as an earlier

     21   start.

     22        One other housekeeping matter that I would like to request

     23   is I will not have a further speaking role after the opening

     24   statement, and if it would be permissible for me to listen to

     25   the rest of the hearing by telephone, that would be much




                                                                    Appx. 02318
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                                                                          22


      1   appreciated, if there's not an objection to that.

      2              THE COURT:    All right.   I assume there's no

      3   objection.

      4              MR. MORRIS:    No.

      5              THE COURT:    All right.   Permission granted.

      6              MR. HOGEWOOD:    Thank you, Your Honor.

      7        I think the theme of perhaps this hearing is a theme of

      8   divorce.   It's a divorce that is long overdue.      The lawsuit

      9   filed last week, it seems to be an effort of one of the

     10   divorcing parties, the Debtor, to employ the power of this

     11   Court to be sure that the Debtor is absolved of all

     12   consequences of the divorce.

     13        Divorces are often messy.    This one is particularly so.

     14   Presently, I think there are three or four other adversary

     15   proceedings among these parties that will have to be sorted

     16   out over the coming many months.

     17        But on the issue before the Court today, the Advisors need

     18   very little from the Debtor in this divorce in the final

     19   analysis, other than access to data and books and records that

     20   the Advisors own and which will remain on formerly-shared

     21   systems.

     22        To carry the divorce analogy further, like many divorcing

     23   couples, there are so-called children at risk.       In this case,

     24   the children are the employees of the Debtor, the Advisors,

     25   the funds and their investors.




                                                                      Appx. 02319
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                                                                        23


      1        The Debtor's other purpose seems to be that they -- to be

      2   absolved of responsibility for the children.      And just to be

      3   clear, the Advisors need no child support from the Debtor for

      4   the funds or others beyond the access to data, books and

      5   records that belong to our client and remain comingled with

      6   the Debtor's data.

      7        But we didn't seek any relief.    We are merely defending

      8   ourselves in this action.    And I think what I say about what

      9   the evidence will show is not going to be altogether that

     10   different from what Mr. Morris has said.     There's absolutely

     11   no dispute that the parties failed to reach an agreement.      I

     12   also think there's no dispute that the parties worked

     13   diligently to reach one.    They overcame very -- a large number

     14   of very difficult business issues to make the orderly

     15   transition happen.   But in the end, they could not complete a

     16   deal.

     17        And for the Debtor, you know, the question of who drew the

     18   hard line in the sand about no, I think we see it a little bit

     19   differently.   For the Debtor, it would not agree for Mr.

     20   Dondero to have access, even if and only after the Advisors

     21   paid for the construction of a wall to segregate the remaining

     22   Debtor employees from Advisor employees and even if the Debtor

     23   employees had separate access to the Debtor's section of the

     24   premises, where the Advisors would be essentially subleasing

     25   the remainder of the space.




                                                                   Appx. 02320
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                                                                        24


      1        For the Advisors, the prospect of its leader, the leader

      2   of the enterprise, being prohibited from working in the same

      3   office as the employees of the Advisors made no business sense

      4   and was likely to become an ongoing logistical nightmare.

      5        The gap could not be bridged in time, and so the Advisors

      6   moved out on the 19th, as directed by the Debtor.

      7        As the Court knows, there's no provision in the Bankruptcy

      8   Code or any other statute that required these parties to agree

      9   on a transition of shared services.    There's no legal

     10   obligation on either party to reach an agreement on how to

     11   divorce and separate.    Neither can be compelled to reach an

     12   agreement if an agreement is not ultimately in their mutual

     13   respective business interests, as determined by each of them.

     14        The Debtor claims to have terminated the contract pursuant

     15   to its terms.   It amended the termination date twice in

     16   exchange for agreed advance payments to try to reach a deal.

     17        In the meantime, the Advisors had to be aware of the

     18   possibility that a deal might not be reached, and so they

     19   began working in earnest on an alternative plan to be able to

     20   continue to service their clients, their funds and investors,

     21   as needed after the services were terminated.

     22        So it is not clear exactly what the Debtors really seek

     23   here.   A mandatory injunction to do what?    To have a plan?

     24   The evidence will show, I think as Mr. Morris suggested, that

     25   our clients have a plan.    It was implemented -- it began to be




                                                                    Appx. 02321
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                                                                         25


       1   implemented this past weekend, but it had been worked on for

       2   some time in advance.    It's -- based on this, there's no

       3   jurisdiction for or purpose in a court order directing us to

       4   do that which we are determined to do anyway and have -- and

       5   have already done.

       6       The evidence will show that there's no meaningful

       7   irreparable harm to the Debtor based on the current

       8   circumstances.   Mr. Seery would be expected to testify, based

       9   on yesterday's deposition, of some vague notion of confusion

     10    among the employees, but there was no meaningful discussion of

     11    irreparable harm to the Debtor.

     12        So the -- and, indeed, the confusion of the employees, in

     13    the context of a Chapter 11 debtor that has just confirmed a

     14    plan of liquidation, I think confusion could be -- the source

     15    of confusion could be a large number of things, not merely the

     16    transition issues.

     17        To carry the divorce analogy further, the requested

     18    mandatory injunction is somewhat like requiring a divorcing

     19    spouse who has left the home to explain the details of his or

     20    her post-divorce life.    And there's -- there's no purpose in

     21    that.   In our papers, we've explained the lack of jurisdiction

     22    over this matter as a core proceeding, and certainly even

     23    under the related-to jurisdiction of the Court, as well as a

     24    constitutional -- lack of a constitutional basis for

     25    jurisdiction under Stern v. Marshall.      And I know Mr. Rukavina




                                                                    Appx. 02322
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                                                                         26


      1   will take those issues up in his closing arguments.

      2        We've also indicated -- made an arbitration demand, which

      3   is provided for under one of the two advisory agreements.       And

      4   in the context of seeking, in this case, seeking a permanent

      5   injunction, as we stated in our papers, there's really no --

      6   there's no proper exception from the arbitration demand.

      7        So there's really, as we sit here today, there's really no

      8   case or controversy, and the timeline that Mr. Morris

      9   described is pretty much not in dispute.     The evidence is

     10   going to show that there was a developing consensus among the

     11   business teams in January to meet a January 31 deadline with a

     12   transition.   On January 27th, the -- 27, the Debtor demanded

     13   as a condition of transition nearly $5 million in what they

     14   allege to be postpetition underpayments under the shared

     15   services agreement.   This was a new and difficult issue.      The

     16   amounts, we're disputing.    And the Debtor had not circulated a

     17   term sheet, only a proposed schedule of services.      The term

     18   sheet came on the 28th.

     19        On the 29th, we were able to agree to the first two-week

     20   extension to allow these discussions over a 13- or 14-page

     21   term sheet to be continued and discussed.     That extension

     22   required the advance payment of an agreed amount to cover that

     23   two-week period of extension of services.     Negotiations

     24   continued, as discussed, and a further extension through the

     25   19th was granted.




                                                                   Appx. 02323
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                                                                         27


      1        Negotiations broke down at the time a suit was filed, and

      2   were renewed and ultimately broke down again, as Mr. Morris

      3   described.

      4        In the end, the Court should dismiss the proceeding for

      5   lack of jurisdiction.     The bankruptcy court is not a divorce

      6   court, nor is it a place where every perceived ill that the

      7   Debtor may incur may be resolved by injunction.       The Court is,

      8   after all, a court of limited jurisdiction.       If the Court does

      9   proceed, we simply ask that the claims be rejected and

     10   dismissed on the facts.

     11        The Defendants have asked for nothing from the Debtor

     12   other than continued access to data, books and records to

     13   which they're entitled.     We've moved out of the house.    We

     14   have plans that will allow us to continue to serve our

     15   clients.   And we would ask that you not order us to do so.

     16   Thank you.

     17              THE COURT:    All right.    Well, I realize, you know,

     18   legal arguments have been hinted at here, and of course were

     19   briefed.   I want to hear the evidence, and then we'll talk

     20   more about legal arguments at the close of the evidence.

     21        All right.   Mr. Morris, you may call your witness.

     22              MR. MORRIS:    All right.    Your Honor, before I call my

     23   witness, I think just for efficiency purposes I would like to

     24   move my documents into evidence so that we don't have to do

     25   that on a document-by-document basis.




                                                                    Appx. 02324
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      1             THE COURT:    All right.

      2             MR. MORRIS:     And the Court will find -- unlike some

      3   of the prior proceedings, there actually aren't an

      4   overwhelming number.    But the Court will find Exhibits 1

      5   through 16 at the adversary proceeding docket, Docket No. 10,

      6   --

      7             THE COURT:    Uh-huh.

      8             MR. MORRIS:     -- the original witness and exhibit list

      9   that the Debtors filed.     And then we added a few more

     10   documents I think late yesterday.        There was a supplement that

     11   included Exhibits 17 through 21, and that can be found at the

     12   adversary proceeding Docket No. 19.

     13        So the Debtor would respectfully move into evidence

     14   Exhibits 1 through 21 on those lists.

     15             THE COURT:    All right.   Any objection?

     16             MR. RUKAVINA:    Your Honor, I believe Mr. -- well, not

     17   necessarily an objection, Your Honor.       I believe Mr. Morris

     18   and I have an agreement that my Exhibits A through N as in

     19   Nancy will also be admitted.      And if that agreement holds,

     20   then I have no objection to his exhibits.

     21             MR. MORRIS:    And it does, Your Honor.

     22             THE COURT:    Okay.   And --

     23             MR. RUKAVINA:    Then I would -- I would move for

     24   admission at this time as well, Your Honor.

     25             THE COURT:    All right.   And let's make sure I know




                                                                     Appx. 02325
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                                       Seery - Direct                         29


       1   where A through N appear.       It looks like they are -- are they

       2   all at 18, Docket Entry 18?

       3               MR. VASEK:     Correct, Your Honor.

       4               THE COURT:     All right.   So I will admit 1 through 21

       5   of the Debtor, which appear at Docket Entry No. 10 and 19, and

       6   Exhibits A through N of the Advisors, which appear at Docket

       7   Entry No. 18.    All right.

       8       (Debtor's Exhibits 1 through 21 are received into

       9   evidence.    Advisors' Exhibits A through N are received into

     10    evidence.)

     11                MR. MORRIS:     Okay.   And with that, the Debtor calls

     12    James Seery as its first witness.

     13                THE COURT:     All right.   Mr. Seery, I think I saw you

     14    earlier on the video.       If you could --

     15                MR. SEERY:     Good morning, Your Honor.

     16                THE COURT:     Good morning.   All right.   Please raise

     17    your right hand.

     18        (The witness is sworn.)

     19                THE COURT:     All right.   Thank you.   Mr. Morris?

     20                MR. MORRIS:     Thank you, Your Honor.

     21                JAMES P. SEERY, JR., DEBTOR'S WITNESS, SWORN

     22                               DIRECT EXAMINATION

     23    BY MR. MORRIS:

     24    Q   Can you hear me okay, Mr. Seery?

     25    A   I can.     Yes, sir.




                                                                       Appx. 02326
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                                   Seery - Direct                       30


      1   Q    Okay.   Let's just cut right to the chase.    Was the Debtor

      2   party to certain shared services agreements with Highland

      3   Capital Management Fund Advisors and NexPoint Fund Advisors?

      4   A    Yes.

      5   Q    And I'm going to refer to those two entities as the

      6   Advisors; is that okay?

      7   A    That's fine.   Thank you.

      8   Q    And pursuant to the shared services agreements, did the

      9   Debtor historically provide back- and middle-office services

     10   to the Advisors?

     11   A    Yes.

     12   Q    Okay.   And is it your understanding that the Advisors

     13   provide advisory services to certain investment funds?

     14   A    That's my understanding, yes.

     15   Q    Okay.   Do you have any understanding as to whether or not

     16   the Advisors provide those services to the funds pursuant to

     17   written agreements?

     18   A    I believe they have agreements with each of the funds.

     19   Q    Okay.   And do you understand that some of those investment

     20   funds are publicly traded?

     21   A    I believe most of those are, the -- those '40 Act funds

     22   are retail funds, yes.

     23   Q    And what does it mean, you know, in your -- in your world,

     24   what does it mean to be a retail fund?

     25   A    There are institutional-type investments which are only




                                                                   Appx. 02327
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                                   Seery - Direct                      31


      1   available to institutional investors or credit investors,

      2   depending on the type of investment it is, and there's

      3   particular rules around what types of investors can engage in

      4   certain types of investing activity, designed to, really, have

      5   more sophisticated investors engage, if they desire, in more

      6   risky endeavors and less who's believed to be sophisticated

      7   investors engage in more what are referred to as retail

      8   activities.

      9       That's not saying that the retail activities aren't

     10   sophisticated and risky.    They can be.    But there's a division

     11   in how certain types of investors are able to access certain

     12   types of investments, and retail funds typically are open to

     13   any investor that wants to invest, and they can buy those on a

     14   -- or sell them on a regular basis.

     15   Q   Are you aware of any agreement of any kind between the

     16   Debtor and any of the funds that are advised by the Advisors?

     17   A   No, there are no -- no such agreements.

     18   Q   Okay.     Let's turn our attention to August 2020.   Did there

     19   come a time in August when the Debtor filed its initial plan

     20   of reorganization?

     21   A   Yes.

     22   Q   And can you just describe generally for the Court what the

     23   structure of that plan was?

     24   A   As we've discussed before, that was the monetization plan.

     25   It was at this point that the Debtor determined that it had to




                                                                   Appx. 02328
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                                     Seery - Direct                      32


      1   file a monetization plan to effectively distribute the assets

      2   to the stakeholders, depending on how their claims were

      3   ultimately resolved.       And the monetization plan was the plan

      4   we came up with.

      5   Q    Okay.    And do you recall that that initial plan provided

      6   for the treatment of certain executory contracts?

      7   A    Yes.

      8                MR. MORRIS:   Can we just put up on the screen Exhibit

      9   12, please?     And if we could focus in on that first paragraph.

     10   BY MR. MORRIS:

     11   Q    Is it your understanding that the initial plan filed by

     12   the Debtors provided that unless an executory contract was

     13   subject to one of those provisions in the first paragraph,

     14   that it would be deemed rejected?

     15   A    Yes.    It was a pretty integral part of the plan, that we

     16   were going to downsize the operations of the business

     17   considerably, and many of the operating businesses, the

     18   servicing of shared service counterparties, were going to be

     19   eliminated, and we would either terminate those agreements

     20   pursuant to their terms or they would be deemed rejected.

     21   Q    Okay.    And what were the consequences for the shared

     22   services agreements for a provision such as this?

     23   A    Well, the counterparties would no longer have those

     24   services and have to seek them, to the extent they needed

     25   them, elsewhere.




                                                                    Appx. 02329
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                                   Seery - Direct                       33


      1   Q    Okay.   Was this the only plan that the Debtor was pursuing

      2   at this time?

      3   A    It was the only plan that we filed.     We were considering

      4   other options, which at that point was the so-called grand

      5   bargain, which we were attempting to negotiate alongside the

      6   monetization plan.

      7   Q    Did the Debtor engage in any discussions with the Advisors

      8   after filing this plan about a possible transition of

      9   services?

     10   A    Yes.

     11   Q    Can you describe for the Court your recollection about

     12   those discussions in the fall of 2020?

     13   A    Well, initially, it started in the summer.     And knowing

     14   that this was a significant possibility, I gathered the

     15   Highland operating team, many of whom are responsible for

     16   servicing the counterparties under the shared service

     17   arrangements, and they knew that they were not going to be

     18   part of the continuing Debtor if the monetization plan was

     19   confirmed.   And I described that there's a corporate carve-

     20   out, that there would be significant work that had to be done,

     21   that that team would have to accomplish, you'd have to

     22   allocate responsibilities and know exactly how you're going to

     23   perform these services, indeed, if the counterparties wanted

     24   those services performed post-confirmation.

     25        And we started with a Zoom meeting in August and tried to




                                                                   Appx. 02330
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                                  Seery - Direct                       34


      1   replicate a similar meeting each week so that we stayed on a

      2   timetable.

      3        By the early fall, or mid-fall, I'm sorry, I guess it was

      4   November 24th, I had a conversation directly with Mr. Dondero

      5   by phone.    And on that phone call, I described very much to

      6   him the same situation.

      7        It was Mr. Dondero, Mr. Ellington, Mr. Lynn, Mr.

      8   Pomerantz, Mr. Demo, and Mr. James Romey from DSI on the call.

      9   And on that call, I know we went through several issues, and

     10   some of them were becoming particularly heated, especially the

     11   settlement with Acis, because that was problematic for Mr.

     12   Dondero.

     13        We advised Mr. Dondero that he would have to resign from

     14   the board if he was going to take antagonistic -- not the

     15   board, the portfolio manager position -- if he was going to

     16   take antagonistic positions versus the Debtor.

     17        Mr. Lynn indicated that he was going to depose me with

     18   respect to the 9019 settlements and was -- wanted to be able

     19   to object to those, as well as the Acis settlement as well as

     20   the Redeemer settlement.

     21        We also talked about the potential of the grand bargain

     22   plan, and we talked very specifically about the filed plan,

     23   the monetization plan, and the transition that would have to

     24   be accomplished.    And I walked through, again, my comparison

     25   to a corporate carve-out and the difficulty of achieving those




                                                                   Appx. 02331
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                                   Seery - Direct                       35


      1   kind of transactions even if all parties were working hard to

      2   get them done and wanted to get them done.

      3        And I recall very specifically Mr. Dondero telling me that

      4   I should be prepared, if his grand bargain plan wasn't

      5   accepted, that my transition plan wouldn't be very easy and he

      6   would make it difficult.    And I recall very specifically

      7   saying that I was a Boy Scout for a long time and that the

      8   Debtor would, in fact, be prepared.    While we thought it was

      9   going to be in his economic best interest to come to

     10   agreement, that we would not be left unprepared and the Debtor

     11   would move forward even if he didn't agree.

     12   Q    During the negotiations that you're talking about, was the

     13   form of -- just to focus on the transition part, was a form or

     14   structure of a successor to the Debtor, at least in terms of a

     15   provider of the back- and middle-office services, discussed?

     16   A    Yes.

     17   Q    And what was the -- what was the substance of those

     18   discussions concerning the form of the successor?

     19   A    The initial substance was that it would be some subsidiary

     20   of NPA or a Dondero related-party entity.     I picked NPA just

     21   as a -- because it was a registered investment advisor, it

     22   would be an easy transition over, and that's where the

     23   employees could go, that's where the services could be

     24   provided from, it would be rather seamless, and they were

     25   sharing certain services already -- for example, HR services




                                                                   Appx. 02332
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                                   Seery - Direct                         36


       1   like medical insurance, health insurance, et cetera.       And so I

       2   thought that that would be the easiest entity.     It would

       3   obviously require Mr. Dondero's agreement.

       4       Subsequently, the idea of a Newco became an idea that was

       5   developed originally by Mr. Ellington.     At least, his

       6   representation to me was that the -- he and other employees

       7   didn't want to work directly for Mr. Dondero because he's

       8   already retraded them on the compensation.     Deferred

       9   compensation.

     10    Q   As time moved on, by November, was the Debtor gaining any

     11    momentum with respect to its asset monetization plan?

     12    A   Well, the asset monetization plan began to gain

     13    considerable traction as the possibility of either a grand

     14    bargain or a pot plan fell away.   There were significant

     15    negotiations that we had already discussed in respect -- or,

     16    at the confirmation hearing in respect of the terms of that

     17    plan, and it began to gain significant momentum towards the

     18    voting and the confirmation deadlines.

     19    Q   And did the Debtor make a decision in November to

     20    specifically disclose that it intended to reject all of the

     21    shared services agreements?

     22    A   Well, prior to that time, I had been in front of the

     23    retail boards by phone a couple times and explained basically

     24    the overview of the bankruptcy, what was happening.

     25    Initially, the attempts at a grand bargain, then the filing of




                                                                      Appx. 02333
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                                   Seery - Direct                       37


      1   the monetization plan, and the -- and the possibility of a

      2   grand bargain and the competition between the two and the

      3   likely scenarios for each.

      4        In addition, we talked about, if there wasn't a grand

      5   bargain, what the transition would look like and my

      6   expectation, as I described earlier, that it was in everyone's

      7   economic best interest -- meaning NPA's, HCMFA's, as well as

      8   the funds -- to transition these services from the Debtor,

      9   because we weren't going to continue them, to a Dondero-

     10   related entity to perform those services for the funds.

     11        There were -- there came a time when the disputes with Mr.

     12   Dondero became significant enough where the Advisors and the

     13   funds were actually objecting to certain things that I and the

     14   Debtor were doing in the case, and I told one of the retail

     15   board members that I would no longer participate in any of

     16   their calls.   And he understood why, and I was very specific

     17   that it had to do with their antagonistic actions versus the

     18   estate.

     19        So, as we moved forward towards November, the monetization

     20   plan became clear, it became more and more clear that the

     21   monetization plan was the only plan on the table.      And by mid-

     22   to late November, we had settled on terminating the shared

     23   service agreements and send out termination notices at the end

     24   of November.

     25   Q    Before you send out the termination notices, do you recall




                                                                   Appx. 02334
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                                      Seery - Direct                     38


      1   the Debtor filed their Third Amended Plan --

      2   A     Yes.

      3   Q     -- in particular?

      4                 MR. MORRIS:   And can we just put up on the screen,

      5   please, Exhibit 13?

      6   BY MR. MORRIS:

      7   Q     Do you recall if that's the plan that provided the notice

      8   that the shared services agreements would be terminated?

      9   A     That -- that -- well, the plan continued the position that

     10   if agreements weren't specifically assumed they would be

     11   deemed rejected.

     12         It also made clear that we weren't going to continue to

     13   provide any services for the Advisors and their managed funds.

     14         And then we actually sent specific termination notices

     15   under the agreements.       So those agreements were terminated

     16   pursuant to their terms.       They didn't need to wait for the

     17   confirmation of a plan to be deemed rejected.

     18   Q     Okay.

     19                 MR. MORRIS:   Can we scroll down just a little bit?

     20   Okay.   Keep going.     Yeah, right there.

     21   BY MR. MORRIS:

     22   Q     Do you see the provision beginning on the bottom of Page

     23   24?   Again, this is Exhibit 13.      Continuing to the top of the

     24   next page.      That's the provision that put the world on notice

     25   that the Debtor was not going to assume or assume and assign




                                                                     Appx. 02335
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                                   Seery - Direct                       39


      1   the shared services agreements, right?

      2   A    Well, this is another one of the provisions.     The original

      3   plan made clear that that's what we were going to do, the

      4   original filing that we did in August.

      5   Q    Okay.

      6   A    We were very clear that we would not be assuming these

      7   agreements.

      8        This filing made clear that we were, again, but with even

      9   more specificity, not going to continue to provide these

     10   services, and then subsequently we filed or delivered the

     11   termination notices.

     12   Q    Okay.    And I see the last sentence of the paragraph ending

     13   at the top of Page 25 states that the contracts "will not be

     14   cost-effective."    Do you see that?

     15   A    Yes.

     16   Q    What is that a reference to?

     17   A    Well, I think we've had discussions before, around

     18   confirmation and prior to that, those hearings, that the

     19   Debtor was run at a loss.    And the more work we do, the more

     20   losses we find.

     21        Basically, the Debtor ran at an operating loss, and then

     22   had to sell assets to pay deferred compensation or other

     23   expenses.    The Debtor has been run that -- it appears the

     24   Debtor has been run that way for a long time, and many of the

     25   services that the Debtor provides to the shared services, the




                                                                   Appx. 02336
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                                     Seery - Direct                       40


      1   cost of those services exceed the amount that we receive under

      2   those contracts.

      3        In addition, there's other entities that services -- and

      4   persons for whom significant services are provided and nobody

      5   pays anything.     They're not even contracts.

      6        So, these contracts, the Debtor as an operating entity was

      7   run at a loss.     These contracts were negative.    And that

      8   doesn't even deal with the fact that many times these entities

      9   didn't pay what they did, in fact, owe under the contract.           So

     10   there are significant receivables that are owed by these

     11   entities that haven't been paid.

     12        In addition, the Debtor advances funds on a regular basis

     13   for effectively the operating expenses of the Advisors and is

     14   often not repaid timely.

     15   Q    Okay.    A couple of weeks -- I think you referred to

     16   termination notices.       Did the Debtor send termination notices

     17   to the Advisors shortly after filing this Third Amended Plan?

     18   A    Yes.    They were sent at the end of November.

     19   Q    Okay.    Let's just look at the termination provisions, and

     20   then we'll quickly at the termination notices.

     21                MR. MORRIS:   Can we put on the screen Trial Exhibit

     22   2, which was part of the deck of my opening?

     23   BY MR. MORRIS:

     24   Q    Are you generally familiar, Mr. Seery, with the shared

     25   services agreements with the Advisors?




                                                                    Appx. 02337
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      1   A    I am.

      2   Q    And are you aware that the shared services agreements

      3   contain termination clauses?

      4   A    Yes.

      5   Q    All right.    So this is -- what I've put on the screen is

      6   the Debtor's Exhibit No. 2, and it's the shared services

      7   agreement with Highland Capital Management Fund Advisors.         Do

      8   you see that?

      9   A    I do.

     10                MR. MORRIS:   Can we just focus in on Section 7,

     11   please?

     12   BY MR. MORRIS:

     13   Q    Okay.    And is it your understanding that's the termination

     14   clause?

     15   A    Yes.    There's the term.   It's in 7.01.   And the

     16   termination provision is in 7.02.

     17   Q    Okay.    And can you just describe for the Court your

     18   understanding of how Article 7 works?

     19   A    Article 7 works that the agreement will automatically

     20   renew on an annual basis unless one or the other parties

     21   terminates the agreement.      And so each party is entitled to

     22   terminate the agreement on 60 days' advance written notice.

     23   Q    All right.

     24                MR. MORRIS:   If we can take that down and put up

     25   Debtor's Exhibit No. 4, please.




                                                                     Appx. 02338
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       1   BY MR. MORRIS:

       2   Q      And do you see this is the shared services agreement

       3   between the Debtor and NexPoint Advisors, LP?

       4   A      Yes.

       5   Q      And are you generally familiar with this document?

       6   A      I am.

       7                  MR. MORRIS:   Can we go to Article 7, please?   Thank

       8   you.

       9   BY MR. MORRIS:

     10    Q      Can you tell the Court your understanding of what Article

     11    7 provides?

     12    A      It's a little bit different than the last one.      This is a

     13    later agreement.       The other one was a document that was

     14    clearly cribbed from another agreement that wasn't exactly a

     15    shared service arrangement.        But this one doesn't have the

     16    automatic renewal.       It just puts the agreement into operation,

     17    and then either party may terminate it at any time on 30 days'

     18    written notice.

     19    Q      And did the Debtor rely on the two Article 7 provisions

     20    that we just looked at to give notice of termination of the

     21    shared services agreements?

     22    A      I'm sorry.    Somebody clicked in.     Did you say did the

     23    Debtor rely on?

     24    Q      Yes.

     25    A      Yeah, those are the governing provisions that we relied




                                                                       Appx. 02339
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                                     Seery - Direct                      43


       1   on, yes.

       2   Q   Okay.

       3               MR. MORRIS:   So can we put up on the screen Exhibit

       4   3, please?

       5   BY MR. MORRIS:

       6   Q   And is this the Debtor's written notice to Highland

       7   Capital Management Fund Advisors of its termination of the

       8   shared services agreement effective as of January 31, 2021?

       9   A   Yes.     That's our notice of termination.

     10    Q   Did the Debtor ever rescind this notice?

     11    A   No.

     12    Q   Okay.    Did the Debtor ever tell the Advisors, to the best

     13    of your knowledge, that the Debtor was considering rescinding

     14    this notice?

     15    A   No.

     16                MR. MORRIS:   Thank you.   Can you take that down and

     17    put up Trial Exhibit No. 5, please?

     18    BY MR. MORRIS:

     19    Q   And is this the Debtor's written notice to NexPoint

     20    Advisors dated November 30, 2020 that it was terminating the

     21    shared services agreement as of January 31, 2021?

     22    A   Yes.     That's the Debtor's termination notice to NPA.

     23    Q   Did the Debtor ever rescind this notice?

     24    A   No.

     25    Q   To the best of your knowledge, did the Debtor ever tell




                                                                    Appx. 02340
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                                     Seery - Direct                      44


      1   anybody at the Advisors that it was considering rescinding

      2   this notice?

      3   A    No.

      4   Q    Okay.    The Debtor --

      5                MR. MORRIS:   We can take that down now.   Thank you.

      6   BY MR. MORRIS:

      7   Q    The Debtor amended their plan of reorganization after

      8   November; is that right?

      9   A    Yes.    There were a couple of different amendments.

     10   Q    To the best of your knowledge, did any amendment ever have

     11   any impact at all on the Debtor's statement that it would not

     12   be assuming or assuming and assigning the shared services

     13   agreements?

     14   A    No.    It goes beyond the best of my knowledge:    It didn't

     15   happen, because it was an integral part of the plan.

     16   Q    Okay.    And can you describe the Debtor's overall view of

     17   the plan and the impact that it had or was expected to have on

     18   the shared services agreements?

     19   A    The basic nature of the plan, as I discussed earlier,

     20   going back to August, but as refined, is that the Debtor will

     21   no longer be in the business of providing shared services to

     22   these Advisors.

     23   Q    Okay.    So the notices are sent on November 30th.    They're

     24   60-day notices.     What do you recall happening in December with

     25   respect to negotiations over the transition of services, if




                                                                    Appx. 02341
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                                    Seery - Direct                       45


       1   anything?

       2   A   The short answer is not much.    So, we did, as I said,

       3   start the transition analysis and discussions and put together

       4   detailed spreadsheets with the various agreements that might

       5   be necessary for each side.   And some agreements would be

       6   required for the Debtor to go forward, some contracts.     Other

       7   contracts were not necessary for the Debtor but were deemed to

       8   be necessary for the Advisors.   And we were working through

       9   that analysis continually through the fall and through

     10    December.   But there weren't -- at that point, there wasn't

     11    very much going on with direct negotiations as to how this was

     12    going to happen.   And my analogy for the Debtor was like

     13    pushing on a string.

     14        Frank Waterhouse in particular had been told by Jim

     15    Dondero that he did not have authority to negotiate for him.

     16    So once we had laid out what the contracts were, and we had an

     17    original structure that the rent would be divided 75/25 and

     18    paid by the Advisors, and then the costs of the contracts

     19    would be divided 60/40, with the majority paid by the

     20    Advisors, we really didn't get much traction other than trying

     21    to put together that term -- that schedule so we knew what

     22    those costs were, and then also to figure out what was unpaid

     23    by the counterparties.

     24        In addition, at that time, because it was pretty clear

     25    that the monetization plan was going to go forward and go into




                                                                   Appx. 02342
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       1   the confirmation, right around that time, and it may have been

       2   the beginning of January, the Advisors stopped paying on

       3   certain of the notes, and then we accelerated those notes.

       4   Q   And do you have an understanding as to who was the -- who

       5   was the negotiating leader on behalf of the Advisors in the

       6   December-January time period, if anybody?

       7   A   Well, for the Advisors, it was a combination of the

       8   Highland team that would transition over and their counsel.

       9   And the -- meaning the counsel for the Advisors.

     10    Q   So now, moving into -- withdrawn.      Were the Debtor's

     11    professionals engaged in this process, not just you?

     12    A   Oh.   Oh, yes.   Very deeply.   We spent literally hundreds

     13    of hours with both DSI and your firm, the Pachulski firm,

     14    negotiating provisions, the structure, how this would work,

     15    what the transition would look like.

     16        As I said earlier, corporate carve-out is very

     17    complicated, and there are -- there are often transition

     18    services that have to be carried through for a period of time

     19    where both sides will use certain services.     And then there

     20    are shared services which will be carried through for a longer

     21    period of time.

     22        We came up with a structure that we think worked really

     23    well in light of the term of the lease or the tenor of the

     24    lease, so that we knew how that would work between the

     25    parties, as well as certain IT contracts specifically that




                                                                   Appx. 02343
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                                    Seery - Direct                      47


       1   were required for both parties to function and when their

       2   renewals would come up and then how those businesses -- how

       3   those functions would transition or be subject to renewal of

       4   additional contracts.

       5   Q   As the calendar turns into January and January 31st is

       6   approaching, do you recall the tenor of discussions or what's

       7   happening in the last two weeks of January, if anything, with

       8   respect to --

       9   A   Well, --

     10    Q   -- the negotiations?

     11    A   Yeah.     I mean, we started really pushing it, particularly

     12    after confirmation, to try to get this done, because either

     13    the funds and the Advisors had alternative arrangements or

     14    they didn't.    And if they didn't, we thought that would be

     15    very difficult for, obviously, for them and their funds, but

     16    also for the Debtor, because we had kept their records

     17    previously, we had done the work previously, we had sent in

     18    terminations, and these are SEC-regulated funds.     So we became

     19    very concerned that there was not going to be a responsible

     20    transition.    And in fact, we had gotten very little feedback

     21    -- no feedback, frankly, from the boards -- but very little

     22    feedback from anybody as to whether they were going to accept

     23    the terms that we had put forth or whether they were going to

     24    find an alternative arrangement.

     25    Q   As the calendar got closer to January 31st, was there a




                                                                   Appx. 02344
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                                      Seery - Direct                     48


      1   request by the Advisors for an extension of the termination

      2   deadline?

      3   A    It became clear that they did not and had not done

      4   virtually anything.      I sent, I think, three or four letters

      5   and emails directly to board members imploring them to pay

      6   attention, to take action, and if they had an alternative

      7   plan, to tell us.    By the end of January, it was clear that

      8   they didn't have any alternative plan and needed more time.

      9               MR. RUKAVINA:    Your Honor, I'll move to strike that.

     10   Clear that they had no alternative plan.      There's no

     11   foundation for him to make that statement.

     12               THE COURT:   I overrule.

     13   BY MR. MORRIS:

     14   Q    You mentioned the SEC.      Was the Debtor concerned about the

     15   SEC's position if the Debtor had simply terminated services

     16   under the contracts as of January 31st?

     17   A    Very much so.    So, my own personal experience, as well as

     18   the experience of our fund counsel, is that while the SEC

     19   keeps a close eye on a number of issues related to investing

     20   and fund management, retail funds get particular focus because

     21   of the individuals who can invest in those and at least the

     22   perception that they may not be as able to defend their rights

     23   as others.    So the SEC does keep a particularly close watch on

     24   those kinds of funds.

     25        We were concerned that, even though we had done everything




                                                                     Appx. 02345
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       1   we believe correctly to terminate the agreements pursuant to

       2   their terms, and in fact had negotiated for months in good

       3   faith and spent millions of dollars trying to get a

       4   transition, that if the funds were to simply stop providing

       5   information to their investors or were to stop being able to

       6   service their investors, that a SEC investigation would ensue

       7   and that it would cost the Debtor time and considerable money

       8   to deal with those issues.

       9       Notwithstanding that, we felt it was important to notify

     10    the SEC, and so we reached out through our counsel and advised

     11    them of what we believed was going on and our view, based upon

     12    the actual discussions and the request from the Advisors for

     13    an extension, that nothing had been done up into the first

     14    weeks of February.

     15    Q   Thank you.   And ultimately, the Debtor and the Advisors

     16    agreed to a two-week extension of time; do I have that right?

     17    A   We agreed to a two-week extension in the first extension.

     18    Q   Uh-huh.

     19    A   And during that time, we tried to get, in particular, the

     20    employees that would be transitioning and become the Newco to

     21    really focus on trying to get an agreement nailed down.     And

     22    so we had our -- our advisors take the agreement that was

     23    largely structured in terms of knowing what the contracts were

     24    and the costs that -- and work on trying to nail down the

     25    final terms with respect to how the shared services would work




                                                                   Appx. 02346
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                                   Seery - Direct                       50


       1   over a period of time, including working with third-party

       2   vendors.

       3   Q   I just want to follow up on a couple of things that were

       4   in your prior answer to make sure that the record is clear.

       5   Does the Debtor have special fund counsel?

       6   A   Yes.

       7   Q   And who is the Debtor's fund counsel?

       8   A   WilmerHale.

       9   Q   And is it your understanding that they have the expertise

     10    with respect to the securities and the management of funds of

     11    the type that are at issue in this case?

     12    A   Yes.    They're one of the top firms in the country in this

     13    area.

     14    Q   Okay.   And did -- well, I'll just leave it at that.     Do

     15    you recall during this time if the Debtor informed the

     16    Advisors that it would participate in negotiations only if

     17    outside counsel were present?

     18    A   Not negotiations.    I think we would always have been

     19    willing to engage ourselves in negotiations.     What we were

     20    concerned with were the employees who were forming Newco being

     21    put in what we thought were untenable positions with respect

     22    to negotiations involving certain members of the Advisors'

     23    team and the board -- of the funds' boards of directors.        And

     24    that came from very specific concerns that employees raised

     25    with us about threatening conduct and statements from some of




                                                                   Appx. 02347
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                                    Seery - Direct                      51


      1   those folks.

      2        There were a few employees that had shared service

      3   responsibilities that were actually deemed employees or deemed

      4   officers at some of the Advisors.    And so there was what I

      5   will call a blame game going on, and the -- as soon as we came

      6   to the end of January and there wasn't an ability to get a

      7   deal done, certain members of the Advisor team or the fund

      8   boards took very strident positions vis-à-vis those Debtor

      9   employees.   And we were very concerned that, if there wasn't

     10   someone there, counsel and taking notes, that those employees

     11   would be at a disadvantage.

     12        We also recommended that those employees resign those

     13   positions because the negotiation and the positions of the

     14   parties had separated such that we thought that having the

     15   shared responsibility was untenable.

     16        We made clear that we would have one of our counsel sit on

     17   the phone and they would be there to listen and take notes and

     18   nothing else.   And so that was something that I put in place

     19   after advice of counsel that we were leaving our employees in

     20   a very untenable space.

     21   Q    And with respect to the notion of resigning, do you recall

     22   if you gave the employees the option of resigning from one

     23   entity or the other, or was it just from the Advisors?

     24   A    From the Advisors.    But they obviously could have always

     25   resigned from the Debtor.    We don't have any, with those




                                                                   Appx. 02348
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                                   Seery - Direct                       52


       1   employees, any contracts, and certainly it was -- I think I've

       2   always made clear that if someone has a better opportunity,

       3   they should go take it.

       4   Q   And is it fair to say that during this two-week period,

       5   notwithstanding some of the things that you described, the

       6   parties did, in fact, make progress towards getting to a final

       7   transition services agreement?

       8   A   Yeah.   I think -- I think we made -- we made good

       9   progress.   And even on the resignation issue, my understanding

     10    -- and I didn't have these discussions directly -- was that

     11    the Advisors agreed and I think the funds agreed that those

     12    employees could resign, and if they ended up at Newco and

     13    Newco was providing services, they could reassume those

     14    positions post-termination from the Debtor.

     15        So I think there was considerable progress around those

     16    items.

     17        The operational items, there was considerable progress

     18    around.

     19        There was already, I think, really good understanding and

     20    agreement on the cost split.

     21        And then there was considerable discussion around the

     22    shared -- some of the shared items going forward, and then how

     23    the transition mechanics would work in the event that one

     24    party wanted to continue a contract and the other didn't.

     25        So there was -- there was -- by the end of the two-week




                                                                   Appx. 02349
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                                   Seery - Direct                       53


       1   period, we'd started to make enough progress that we -- we

       2   thought we'd actually get there.   It really shouldn't have

       3   taken as long as it did.   It was -- it was, you know, one step

       4   forward, one and a half steps back, quite often.     But I think

       5   we had a -- largely had an idea that we were very close

       6   towards the end of that two-week period.

       7   Q   And was that the reason why the Debtor agreed to a short

       8   further extension of the termination deadline to February

       9   19th?

     10    A   Yes.    The original concept that I had come up with with

     11    one of the employees who was negotiating for the Newco was

     12    that there was no reason that we would have any -- we

     13    shouldn't be able to get it done in two weeks, particularly

     14    since the economics had largely been agreed to and deemed fair

     15    by the financial staff as well as the operators in the

     16    business.   That we would use the next week to cross T's and

     17    dot I's and get in a position to transition the employee team.

     18        We also at that time extended the time for the employees

     19    by a week, to make sure that, just in case we didn't get a

     20    deal done, we had the staff to be able to clean up, if you

     21    will, if negotiations completely fell apart.

     22        But we did, we did agree to an extension at that point.

     23    The counterparties paid for that extension.     They paid the

     24    costs, not fully loaded, but costs of the employees, to help

     25    defray the costs that we were carrying for them.     And that we




                                                                   Appx. 02350
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                                   Seery - Direct                       54


      1   hoped we'd have it completed by that final week.

      2   Q    Did you have concerns, as the CEO, that the employees have

      3   sufficient time to transition and wind down other aspects of

      4   the Debtor's business that were being adversely impacted by

      5   this process?

      6   A    Oh, absolutely.    And if the deal was done, then we would

      7   have a shared service arrangement.    And just to be clear, the

      8   way that typically works is that -- we'll use the actual

      9   parties -- the Debtor would still stay in its space, use its

     10   systems, have its contracts.    The Newco or NPA entity would

     11   stay in its space and use its contracts, most of which are in

     12   the Debtor's name, but under the same arrangement that we had

     13   previously, and we would be sharing a lot of services, so that

     14   the transition issues that the Debtor has we would be able to

     15   accomplish because the team would still be with us but they

     16   would be part of the Newco or NPA as a shared resource.

     17        In the event that we weren't able to reach agreement, I

     18   needed to make accommodation with those employees to continue

     19   to provide those services in order for the Debtor to complete

     20   its transition.

     21   Q    All right.    So let's take -- let's take this back a week,

     22   to last Tuesday.    As of that time, did the Debtor believe that

     23   it had reached an agreement on all material terms with the

     24   Advisors?   With one exception?

     25   A    Cautiously, yes.    I think at that point we felt that we




                                                                   Appx. 02351
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                                   Seery - Direct                       55


      1   were -- we were close, but there was a material open issue

      2   that we had in terms of trying to get the final agreement

      3   done.

      4        And frankly, we were very concerned -- and this is borne

      5   by history, not just of my own but the other folks on our team

      6   who've been around a lot longer -- that there was a

      7   considerable risk that the deal that was agreed to wouldn't

      8   actually be signed and it would be retraded as we went

      9   forward.

     10   Q    As of Tuesday, did the Debtor inform the lawyers for the

     11   Advisors that it was prepared to sign a fully-negotiated term

     12   sheet, or, in the absence of that, it would seek judicial

     13   relief?

     14   A    Well, I gave instruction to counsel -- and this was -- you

     15   know, we had reviewed this with both your firm and with

     16   Wilmer, the WilmerHale firm -- as to how we should go about

     17   making sure that the estate was protected in the event that

     18   there was either a retrade or we simply couldn't come to a

     19   final agreement.   And we had -- I advised your firm to tell

     20   counsel on the other side that the agreement was done, that we

     21   were prepared to sign it, but if they were unwilling to sign

     22   it we were going to seek Court intervention to make sure that

     23   we had approval of what we had done to date, declaratory

     24   judgments setting forth or approving what we had done with

     25   respect to the negotiations.




                                                                   Appx. 02352
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                                   Seery - Direct                         56


      1   Q    Was there -- was -- was there one issue that was -- one

      2   meaningful issue that dividing the parties at that point in

      3   time?

      4   A    Well, the new -- the new issue that was surfaced, and it

      5   was a new issue, was this idea that, notwithstanding the

      6   preliminary injunction and notwithstanding how the business

      7   has been run for the last couple months, that Mr. Dondero

      8   would be able to come back into the office.      It didn't seem,

      9   frankly, like a real business issue, but it became a

     10   significant sticking issue.    Because for the Debtor, it's a

     11   very significant issue.

     12   Q    Why didn't the Debtor just agree to allow Mr. Dondero back

     13   into the offices?

     14   A    Well, as the Court has heard before in prior hearings, Mr.

     15   Dondero's conduct through the fall, once the monetization plan

     16   had been put in place, has been extremely difficult, to say

     17   the least.   Threatening email or texts to me.     Obstreperous

     18   litigation, I would say vexatious litigation, with respect to

     19   every aspect of the transition.    Numerous retrading of

     20   provisions in this negotiation.    And statements and

     21   effectively, I think, threats to other employees, including

     22   while he was on the stand, you know, in the court.      And I

     23   found, from my seat, that that would be really difficult to

     24   bring employees back into the Debtor to help implement the

     25   plan while Mr. Dondero was in that space.     There was really no




                                                                   Appx. 02353
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                                   Seery - Direct                         57


      1   need for him to have to be in that space from an operational

      2   perspective, as the funds and the Advisors had proved for the

      3   prior two months.

      4   Q    Is it your understanding that, but for the issue of Mr.

      5   Dondero's access, the Advisors and the Debtor had otherwise

      6   agreed to all material terms of a transition services

      7   agreement as of last Tuesday evening?

      8   A    Yes.

      9   Q    Did the Advisors sign the term sheet that the Debtor had

     10   tendered that reflected what you just described?

     11   A    I don't recall if the Advisors did.     I certainly did.    But

     12   there were -- there were additional changes.      So we -- we had

     13   reached that agreement earlier in the week.      We didn't get

     14   agreement on the final point of Mr. Dondero's access.      We

     15   filed our pleadings in the Court, and I believe that was

     16   Tuesday or Wednesday, and then moved forward towards this

     17   hearing.

     18        And during that time, the negotiations continued.     So

     19   there were a number of different changes, but we -- we were

     20   very clear that we had an arrangement, we had a deal that was

     21   fully negotiated, we had a deal that we thought was extremely

     22   beneficial to the Advisors, that it worked well for the

     23   Debtor, that it worked well for the Debtor's employees, who

     24   would then be Newco employees, or NPA employees, depending on

     25   how they ended up splitting it, and that the flexibility of




                                                                   Appx. 02354
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                                   Seery - Direct                       58


      1   that agreement served all the parties' interests and we didn't

      2   intend to change it.

      3   Q    Did -- do you know whether the Debtor provided to the

      4   Advisors' counsel a copy of the complaint and the motion that

      5   it was intending to file prior to the time that it actually

      6   filed the documents?

      7   A    Yes, we did.

      8   Q    Okay.   So the Debtor gave -- is it fair to say the Debtor

      9   gave the Advisors specific notice, and, indeed, copies of the

     10   documents before the action was commenced?

     11   A    Well, I think we -- part of the strategy we'd come up with

     12   with WilmerHale was that we should do everything we can to be

     13   accommodative, within the reason -- within what we thought was

     14   reasonable for the Debtor being able to implement its plan.

     15   And I believe we did that.    And out of caution and

     16   frustration, both with respect to the inability to get TS, if

     17   you will, as well as the concern that you could have a

     18   retrade, based on past experience, we told him if we didn't

     19   have an agreement that was signed and that was binding, that

     20   we would move forward with the court hearing.

     21        The reason this is structured, by the way, as a binding

     22   term sheet, it was a scramble in January to try to put it

     23   together.    Otherwise, we would have had a binding agreement.

     24   It actually reads more like an agreement than a term sheet,

     25   and has a significant Schedule A on the back.      But the amount




                                                                   Appx. 02355
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                                   Seery - Direct                        59


      1   of time that's been spent on this, it's probably not fair to

      2   call it a term sheet.    It's an agreement.

      3   Q    After the Debtor commenced the action, do you recall that

      4   last Friday the Advisors made a written proposal through their

      5   counsel with two options, an Option A and an Option B?

      6   A    Yes, I do.

      7   Q    Did the Debtor perceive at that time that the Advisors'

      8   attorneys were authorized to make that offer?

      9   A    Well, they represented that they were.     We were at a -- we

     10   were at a crossroads.    We had spent so much time on this

     11   agreement and trying to get to a final shared service

     12   arrangement that the last day for employees, which was

     13   scheduled to be the last day of the month, was coming on us

     14   very quickly.     And if we weren't going to get this shared

     15   arrangement done, we had to make significant decisions with

     16   respect to how to transition, with whom to transition, and how

     17   to move forward to implement the plan.      So we couldn't,

     18   frankly, waste any more time on this agreement.      And I say

     19   "waste" with thought, because we thought it was productive,

     20   but the amount of time, literally months, is astounding for

     21   something that is not that complicated.

     22        We got to Friday, and the new arrangement or proposal from

     23   the Debtor was -- was basically you can -- I mean, from the

     24   funds, Advisors, was you can take A or B.      A was, in essence,

     25   the same arrangement we had prior in the week, but Mr. Dondero




                                                                   Appx. 02356
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                                  Seery - Direct                       60


      1   could come in the office.    We'd already told them that was

      2   untenable, it didn't work.

      3        B was you could -- we could do the same arrangement except

      4   the Advisors would not be responsible for any of the rent.

      5   Recall that I mentioned that this was a 75/25 split on the

      6   rent.   Roughly, that's about a million dollars to the estate.

      7        We spent time Friday morning with the IT folks and with

      8   the operations folks on can this be done?     Can we actually

      9   provide -- can you provide the services?     Can these funds be

     10   run if they're not in the office?    And the answer was so long

     11   as the operations people can have access to the office and so

     12   long as the IT people can have access to the office, we could

     13   largely run it.   So this was just really a retrade on

     14   economics.

     15        We determined that, fine, we'll take Option B, even though

     16   it cost the estate.   We didn't have the luxury of being able

     17   to continue to waste time and negotiate this with the

     18   impending dates coming up.    So we agreed to Option B on

     19   Friday.   I, in fact, sent my term sheet to counsel to deliver,

     20   and it was scheduled, I think, as you mentioned earlier in

     21   your opening, for the afternoon of Friday for a call to go

     22   through wire transfers, which included an initial payment plus

     23   a deferred payment, a monthly payment, plus the cost payments

     24   that would be made under the agreement, and certain offsets

     25   that we had previously agreed to.




                                                                   Appx. 02357
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                                   Seery - Direct                       61


      1   Q     And are you aware, did the Debtor, through counsel, inform

      2   the Advisors, through counsel, that the Debtor had accepted

      3   Option B?

      4   A     Yes.   My counsel told me that they had sent over notice to

      5   them, that the call to walk through the final points and to

      6   assure that wires were being sent and to engage in the

      7   exchange of signatures was set up and everything was agreed

      8   to.

      9   Q     And what happened later in the day?

     10   A     I would say shockingly, but it wasn't, we were told that

     11   the call was off.    Mr. Hogewood advised that, through email,

     12   that there would no longer be a necessity of a call and he

     13   would be reaching out directly to Debtor's counsel.

     14   Q     And did you learn after -- after -- in the afternoon that

     15   the Advisors had withdrawn Option B, the one that the Debtor

     16   had accepted?

     17   A     Initially, it was withdraw Option B, and then it was

     18   accompanied I think with a basic statement that we don't

     19   really need you anymore, which was surprising, only because it

     20   --

     21         (Interruption.)

     22   A     -- a transition like this, you would -- you would run

     23   systems side by side, make sure that your IT folks were

     24   heavily involved.    You would assure that your -- your human

     25   resources and operations folks were involved.     And none of




                                                                   Appx. 02358
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                                    Seery - Direct                        62


       1   that had been done because it was assumed that the transition

       2   would happen.

       3   Q   Is it your understanding that the Advisors were still at

       4   that time willing to do Option A, the one that would allow Mr.

       5   Dondero back in the office?

       6   A   I believe they were, yes.

       7   Q   Do you know if the Advisors made any further offers in

       8   respect of a transition of services over the weekend?

       9   A   Well, that was one of the things that was odd and belied

     10    their statement that they could operate without any assistance

     11    from the Debtor, is that they left Option A on the table.       If

     12    they had alternate arrangements, why was Option A still on the

     13    table?   So that was puzzling, but counsel made the

     14    representation to us and we took it.       And then other counsel

     15    over the weekend just started lobbing in proposals.

     16    Q   Did those proposals contemplate in any way the continued

     17    provision of services by the Debtor to the Advisors?

     18    A   That's -- that's what they were, yes.

     19    Q   Okay.   All right.   Why did the Debtor commence this

     20    lawsuit?

     21    A   Well, I -- as I explained earlier, we believe that we've

     22    done everything we were supposed to do or required to do under

     23    the contracts, the shared service arrangements, in terms of

     24    both operating under those agreements and terminating them

     25    according to their terms.   We believe we've done everything




                                                                     Appx. 02359
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                                   Seery - Direct                       63


      1   that we'd be required to do under the Bankruptcy Code with

      2   respect to filing a plan, making clear what the provisions are

      3   with respect to executory contracts, and making that plan --

      4   making it even more clear what the provisions dealt with, how

      5   the provisions of the plan would impact executory contracts

      6   and how those contracts would be deemed rejected if they

      7   weren't explicitly accepted and assumed.     And we made clear,

      8   we wanted to make clear that we'd properly terminated the

      9   agreements in accordance with their terms.

     10        So we filed this action because of the, frankly, the back-

     11   and-forth negotiations as well as the accusations and threats

     12   from earlier in the negotiations that I previously described,

     13   where we're seeking now a declaration that the shared services

     14   were properly terminated in accordance with their terms, that

     15   the shared services were not assumed pursuant to the contract,

     16   and although they'd been terminated, even if they had not been

     17   terminated, they would -- they would be deemed rejected.      That

     18   the Debtor is permitted, because of the terms of both the plan

     19   and the contracts, which have been terminated, to cease all

     20   access and support and has no further responsibility for

     21   providing any services to the shared service counterparties

     22   under those terminated agreements, and that the shared service

     23   parties, the Advisors, come forth and tell the Court, tell the

     24   world, tell the investors, and tell the SEC that they have an

     25   alternative arrangement.




                                                                   Appx. 02360
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                                   Seery - Direct                       64


      1        And, again, our concern is while, yes, we are good

      2   corporate citizens and we want to make sure that we don't

      3   leave, if you will, a mess because of the actions that are

      4   happening in the court, we're very concerned that our

      5   counterparties may not be as concerned about the mess they

      6   leave.

      7        And we -- one of the reasons we reached out to the SEC was

      8   to make sure that they were on notice of this proceeding and

      9   the potential impact on retail investors, and we think that

     10   it's something that the Court should require these Advisors,

     11   who have been in antagonistically fighting the case, knowing

     12   the specific provisions of the case, and not making

     13   arrangements until the last 24-48 hours, we do -- we do

     14   believe that, as corporate citizens and as responsible

     15   fiduciaries in a bankruptcy, we have some responsibility to

     16   make sure these terminations are handled correctly.      While we

     17   may not be able to force them to do so, we should have them

     18   tell us how they're doing it.

     19   Q    Does -- did the Debtor have any concerns that the failure

     20   of the Advisors to adopt and implement a transition plan, that

     21   that might have negative impacts on the Debtor's ability to

     22   implement its plan of reorganization?

     23   A    Well, as I said earlier, the SEC, in our experience and

     24   our counsel's experience, takes a particular focus on retail

     25   funds.   And where those funds have blown up for various




                                                                   Appx. 02361
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                                   Seery - Direct                       65


       1   reasons, whether they are unable to make a redemption or

       2   they're caught in some kind of security that doesn't match the

       3   investment parameters of the fund or whatever those are, the

       4   SEC takes a particular focus, and investigations can take

       5   significant time and have significant cost for all parties who

       6   are anywhere near the retail funds.   And, clearly, as the

       7   provider of shared services to the Advisors, while we didn't

       8   have any agreement with the funds, if the SEC came in to

       9   investigate or if they do come in to investigate what's gone

     10    on here, there will be a significant cost, and it will, if not

     11    derail, it will certainly slow down our implementation of our

     12    plan.

     13    Q   What exactly does the Debtor want the Court to -- what

     14    relief is the Debtor seeking now that the Debtor has learned

     15    of the four-legged plan that was described yesterday in the

     16    deposition?

     17    A   The declaratory relief that I just stated would be

     18    essential for the Debtor.   One, that the contracts were

     19    properly terminated, in accordance with their terms.     Two,

     20    that they were not assumed pursuant to the plan.     And three,

     21    that the Debtor is permitted to cease all services and all

     22    access to the shared service counterparties.

     23        To the extent that they need assistance, we'll help them

     24    out, we'll give them information.   If they have third-party

     25    professionals that they want to send over, we'll help them




                                                                   Appx. 02362
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                                   Seery - Direct                       66


      1   with data retrieval.   But we do have a plan to implement, and

      2   we don't have necessarily the full staff to provide services

      3   that they were otherwise receiving from us.      So we would like

      4   a declaration that we do not owe them any of those prior

      5   services from the terminated contracts.

      6   Q    Did you hear in the opening Mr. Hogewood mention that the

      7   Advisors do want continued access to the Debtor's books and

      8   records?   Or to their, I guess, to their own books and

      9   records?

     10   A    They'll be able to get access, but that doesn't mean that

     11   it's access 24 hours a day.    That doesn't mean they get to

     12   continue to use the systems without paying for them.      That

     13   doesn't mean they get to use employees without paying for

     14   them.   If they have data requests, we would certainly get to

     15   them, but we have to maintain and employ people to do that.

     16   Q    And is part of the injunction that the Debtor seeks here

     17   is to have the Court direct the Advisors to implement and

     18   adopt a transition plan that would include taking -- taking

     19   their books and records so that the Debtor isn't in that

     20   position for a long-term -- on a long-term basis?

     21   A    Well, we certainly don't want to be in that position for a

     22   long-term basis.   We -- we're certainly not going to be the

     23   party that has to maintain their records.     If they can lift

     24   them off, we will do that.

     25        The challenge has been, according to our IT professionals,




                                                                   Appx. 02363
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                                    Seery - Direct                       67


      1   who are quite good, separating the data is difficult.

      2          Now, we know that the Advisors' employees were extracting

      3   a lot of data off the system over the last week.     And whether

      4   it was on thumb drives or direct transfers, we know that a lot

      5   of data has been taken, which is fine.      We just don't -- we

      6   don't know what else they might need and we're not in a

      7   position to provide a full level of service to them at --

      8   after today.

      9   Q      Is the Debtor asking the Court to force the Advisors to

     10   adopt any particular plan?

     11   A      Not at all.   If they -- if their plan works, that's great.

     12   If they went to a third-party service, some other fund --

     13   outside fund advisors or shared service providers that can do

     14   the job, that's fine.     We would like to just have the least

     15   amount of burden on our estate going forward, and a

     16   declaration that we have no responsibility to provide any

     17   particular services, I think, is essential.

     18   Q      And would the mandatory injunction that required the

     19   Advisors to adopt and implement a transition services plan,

     20   would that -- how does that advance the Debtor's goals?

     21   A      Well, it sets forth exactly what the Advisors and the

     22   funds think they need.     And if it's something other than that,

     23   then they're going to have to come talk to us, and we'll

     24   figure out whether we can provide it and then how it gets paid

     25   for.




                                                                   Appx. 02364
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                                      Seery - Cross                          68


      1               MR. MORRIS:    Your Honor, I have no further questions

      2   of Mr. Seery right now.

      3               THE COURT:    All right.     Pass the witness.   Mr.

      4   Rukavina?

      5               MR. MORRIS:    Your Honor, may I just ask for a short

      6   break?

      7               THE COURT:    All right.     Does everyone need a break?

      8               MR. RUKAVINA:    Your Honor, I won't -- Your Honor, I

      9   won't have much for this witness, so I might suggest if Mr.

     10   Morris can wait five or ten minutes.         But whatever is good for

     11   the Court.

     12               MR. MORRIS:    Go right ahead, sir.

     13               THE COURT:    All right.

     14               MR. MORRIS:    Thank you.

     15               THE COURT:    Ten minutes.     If you take more than ten,

     16   we're going to break.       Thank you.

     17               MR. RUKAVINA:    Yes.

     18                               CROSS-EXAMINATION

     19   BY MR. RUKAVINA:

     20   Q    Mr. Seery, very quickly, I just want to make sure that the

     21   record here is complete.       You were discussing Option A and B

     22   that was put on the table on Friday, and you were discussing

     23   then how Option B was taken off.         Do you recall that?

     24   A    Yes.

     25   Q    And you did mention to the judge that Option A was that my




                                                                         Appx. 02365
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                                       Seery - Cross                          69


      1   clients would take all of the leasehold space, correct?

      2   A    I don't think I mentioned that, no.

      3   Q    Okay.    Well, I just want to make sure the judge

      4   understands that Option A, my clients would have paid for a

      5   hundred percent of the rent going forward.           Correct?

      6   A    I don't believe that's how Option A worked, no.            I believe

      7   that Option A was structured that, in essence, the Debtor

      8   would get out and the shared -- the Advisors would keep all of

      9   the space as well as all of the systems and all of the

     10   records.

     11   Q    Correct.    But the Advisors would pay a hundred percent --

     12   okay.

     13                MR. RUKAVINA:    Let's just pull up Exhibit 19, Mr.

     14   Vasek, please.

     15   BY MR. RUKAVINA:

     16   q    And I just want the -- I just the record to be clear here,

     17   Mr. Seery.

     18                MR. RUKAVINA:    Mr. Vasek, are you there?     (Pause.)

     19   And then scroll down to Page 5 of 7.         Okay.   Stop there.

     20   BY MR. RUKAVINA:

     21   Q    Mr. Seery, can you see this to refresh your memory?

     22   A    Yes.    I didn't need it to be refreshed.        That's what I

     23   said.

     24   Q    Well, doesn't Option -- doesn't Option A here say NexPoint

     25   parties take one hundred percent of the leased premises and




                                                                          Appx. 02366
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                                        Seery - Cross                      70


       1   one hundred percent of the rental cost?

       2   A      It does, but the key part of it is that the Debtor gets

       3   out.

       4   Q      I understand that.

       5   A      It gives up control of that stuff.

       6   Q      I understand that.    I was just trying to clarify for the

       7   record, because you didn't mention it before, that NexPoint

       8   would pay a hundred percent of the rent.        And I am correct

       9   about that, right?

     10    A      That's correct.

     11    Q      Okay.   And Option B, you mentioned in your direct

     12    testimony that in Option B my clients would pay no rent.        Do

     13    you recall that?

     14    A      Yes.

     15    Q      But do you also recall that under Option B my clients

     16    would vacate the premises?

     17    A      I believe -- yes.    I think I said that, yes.

     18    Q      Okay.   I believe you also mentioned that the Dondero

     19    access issue was a last-second issue.        In fact, that had been

     20    a lingering issue for weeks, had it not?

     21    A      I don't believe so.    I don't think it came in until after

     22    January 31st.

     23    Q      Are you not aware that with each turn of the draft

     24    agreement your lawyers would change it to make it clear that

     25    Dondero couldn't have access while the Advisors' lawyers would




                                                                      Appx. 02367
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                                    Seery - Cross                       71


      1   change it to make clear that Dondero could have access?

      2   A    I'm aware that those went on, but I believe that was after

      3   January 31st.

      4   Q    Okay.    I think I have very few questions, since Mr. Morris

      5   really, I think, went over it in quite some detail.      Please

      6   confirm for the Court that my clients' employees have vacated

      7   the premises as of last Friday?

      8   A    That's my understanding, but they still are accessing

      9   services.

     10   Q    Okay.    And please confirm for the Court that the Debtor

     11   has not and will not provide any transition services after

     12   last Friday, February 19th.

     13   A    We actually have provided assistance, and certain of the

     14   employees of the Debtor are doing things for the -- your

     15   clients.

     16        So, for example, trades were conducted yesterday by

     17   clients of HCMLP for your clients.    Data was accessed by your

     18   clients.     Equipment was taken from the office and used by your

     19   clients.     The systems were maintained by the Debtor and

     20   accessed by your clients.    It's a pretty extensive list.

     21   Q    But that's because you have decided to allow that to

     22   facilitate the transition, correct?

     23   A    That's correct.

     24   Q    Yeah.    You're not doing that because there's an agreement

     25   in place; you're doing it out of good faith but not because




                                                                   Appx. 02368
Case 3:21-cv-00881-X Document 138-79 Filed 07/14/23    Page 73 of 240 PageID 10950



                                   Seery - Cross                         72


       1   there's any kind of requirement to do that, correct?

       2   A   That's correct.

       3   Q   Okay.   As of February 19th, the Debtor is no longer

       4   required to provide any of the shared services, and it will

       5   not, unless you on a one-by-one basis agree to permit it,

       6   correct?

       7   A   I haven't been doing it on a one-by-one basis.      We did it

       8   on a blanket basis.

       9   Q   Okay.   And as of the end of today, that's over, right?

     10    A   I hope so.   We'll have an order that will give us the

     11    declarations we desire and we can move forward.

     12    Q   Well, let me clarify my question.      If the judge does not

     13    enter a mandatory injunction, the Debtor has nevertheless told

     14    the Advisors that any of the shared services are done as of

     15    the end of the day, correct?

     16    A   I don't believe that's the case.       We'll consult with our

     17    counsel, both bankruptcy and regulatory.

     18    Q   I think you mentioned this, but you can confirm for the

     19    Court that some of the data held by the Debtor is actually the

     20    property of the Advisors, correct?

     21    A   I don't -- I don't know that it's the property of the

     22    Advisors.   I think they're entitled to receive it, but we're

     23    entitled to keep a copy.

     24    Q   Okay.   Well, I'm not going to waste the Court's time by

     25    reading the transition services agreement, but if that -- I'm




                                                                    Appx. 02369
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                                        Seery - Cross                        73


       1   sorry, the shared services agreement -- but if that agreement

       2   provides that my clients' data is its property, you wouldn't

       3   disagree with that, would you?

       4   A   No, I wouldn't --

       5               MR. MORRIS:    Objection.

       6               THE WITNESS:     If that's what it says, I wouldn't

       7   disagree with it.

       8   BY MR. RUKAVINA:

       9   Q   Okay.    And in fact, the Advisors have already copied a

     10    large amount of data and have taken that copy for their own

     11    use, correct?

     12    A   That's what I've been advised.

     13    Q   Okay.    And with respect to their own data, not the

     14    Debtor's data, you will continue to, with reasonable access,

     15    permit them to copy the balance of whatever their own data

     16    remains, correct?

     17    A   To the extent that we can, yes.

     18    Q   Yeah.    Yeah.   Okay.    And just to confirm, other than the

     19    employees that you determined will be retained by the

     20    Reorganized Debtor, the remaining employees will be terminated

     21    effective February 28th?

     22    A   Not -- not all, no.       There's a -- there are some changes

     23    to that.

     24    Q   Okay.    Well, some employees are going to be terminated on

     25    February 28th, correct?




                                                                     Appx. 02370
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                                      Seery - Cross                         74


      1   A   Yes.

      2   Q   Okay.    And the Debtor doesn't have a problem with my

      3   clients either directly or indirectly retaining those

      4   employees, correct?

      5   A   No problem at all.

      6   Q   Okay.    Thank you.

      7               MR. RUKAVINA:    Your Honor, I'll pass the witness.

      8   Thank you.

      9               THE COURT:    Any redirect?

     10               MR. MORRIS:    I have no redirect, Your Honor.

     11               THE COURT:    All right.   Thank you, Mr. Seery.

     12       We'll take a ten-minute break.        It's 10:51 Central.   We'll

     13   come back a minute or two after 11:00.

     14               THE CLERK:    All rise.

     15               MR. MORRIS:     Thank you, Your Honor.

     16               MR. POMERANTZ:    Thank you, Your Honor.

     17       (A recess ensued from 10:51 a.m. until 11:05 a.m.)

     18               THE CLERK:    All rise.

     19               THE COURT:    All right.   Please be seated.   All right.

     20   We're back on the record in the Highland-Advisors matter.          Mr.

     21   Morris, you may call your next witness.

     22               MR. MORRIS:    Thank you, Your Honor.    The Debtor calls

     23   (audio gap) Dondero.

     24               THE COURT:    I'm sorry.   Did you say Mr. Dondero?

     25               MR. MORRIS:     Yes.




                                                                       Appx. 02371
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                                                                             75


     1               THE COURT:    All right.   Mr. Dondero, could you speak

     2   up?   Please say, "Testing, one, two" so we pick up your video.

     3               MR. DONDERO:    Testing, one, two, three.

     4         (Feedback.)

     5               THE COURT:    All right.   Well, I heard you.     I don't

     6   see the video yet.       There you are.   Okay.    We're going to hope

     7   we've got some good audio.      I was hearing a little bit of

     8   feedback.    Please raise your right hand.

     9               MR. DONDERO:    Oops, I'm sorry.      I can't hear anybody.

    10               THE COURT:    All right.   I need you to please raise

    11   your right hand to be sworn in.        Well, this is a problem.      Mr.

    12   Dondero, --

    13               MR. DONDERO:    Take off the headphones?

    14               MR. WILSON:    Judge, we're trying to get his

    15   headphones to get the sound through them.          Should just be just

    16   a second.

    17         (Pause.)

    18               THE COURT:    All right.   Do I need to be speaking to

    19   see if they can hear me clearly?

    20               A VOICE:   How's it going?

    21               THE COURT:    All right.   What's going on?

    22               MR. WILSON:    I can hear you, Judge.      We're just

    23   working through a technical issue with Mr. Dondero's

    24   headphones.

    25               THE COURT:    All right.




                                                                        Appx. 02372
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                                     Dondero - Direct                      76


      1               MR. WILSON:    Hopefully we can resolve that

      2   momentarily.    (Pause.)     We can try that.

      3       (Pause.)

      4               MR. WILSON:    Your Honor, we're going to move Mr.

      5   Dondero to another room so that we can get this issue resolved

      6   without the need for headphones.

      7       (Pause.)

      8               MR. DONDERO:    Testing, one, two, three.

      9               THE COURT:    All right.   We got you.    Well, we've got

     10   your sound.    Can you hear us okay, Mr. Dondero?

     11               MR. DONDERO:    Yes.

     12               THE COURT:    All right.   Please raise your right hand.

     13       (The witness is sworn.)

     14               THE COURT:    All right.   Mr. Morris, go ahead.

     15               MR. MORRIS:    Thank you, Your Honor.     John Morris;

     16   Pachulski, Stang, Ziehl & Jones; for the Debtor.

     17                JAMES D. DONDERO, DEBTOR'S WITNESS, SWORN

     18                              DIRECT EXAMINATION

     19   BY MR. MORRIS:

     20   Q   Can you hear me okay, Mr. Dondero?

     21   A   Yes.

     22   Q   Okay.     Just a few questions.    You were aware in November

     23   that the Debtor had given notice of termination of the shared

     24   services agreements with the Advisors, correct?

     25   A   Yes.




                                                                       Appx. 02373
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                                  Dondero - Direct                      77


      1   Q    Okay.    And you understood that the Debtor was going to

      2   terminate all shared services to the Advisors as of January

      3   31, 2021, correct?

      4   A    Yes.

      5   Q    And were Dustin Norris and D.C. Sauter authorized by you

      6   to try to negotiate with the Debtor the terms of a transition

      7   services agreement?

      8   A    Yes.

      9   Q    And had the Debtor adopted a transition plan as of January

     10   31, 2021 pursuant to which it would not need any services from

     11   the Debtor?

     12   A    I don't know.

     13   Q    Okay.    You're not aware of the Advisors having a plan in

     14   place as of the termination date that would have allowed the

     15   Advisors to obtain back-office and middle-office services from

     16   somebody other than the Debtor, correct?

     17   A    I don't know.    They were always working on a Plan A and a

     18   Plan B.

     19   Q    Okay.    Are you -- did you become aware that the Debtor had

     20   agreed to extend the termination deadline by a couple of

     21   weeks?

     22   A    Yes.

     23   Q    And is it your understanding that that extension was

     24   granted in order to give the Advisors more time to develop a

     25   transition services plan?




                                                                   Appx. 02374
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                                     Dondero - Direct                     78


      1   A    I -- I think it was to continue negotiations.       I don't --

      2   I don't know if the plan was part of the reason.

      3   Q    Okay.    Did you learn at some point early last week that

      4   the Debtor and the Advisors had reached an agreement on all

      5   material terms of a transition services agreement but for your

      6   access to the Debtor's offices?

      7   A    Yes.    I believe over a thousand line items.

      8   Q    Okay.    And did you learn that the Debtor had tendered a

      9   term sheet that reflected the entirety of the parties'

     10   agreement but for your access, with a demand that the

     11   agreement get signed or the Debtor would commence a lawsuit?

     12   A    I became aware of that Wednesday, in the middle of the ice

     13   storm, middle of the day.

     14   Q    Okay.    Let's pull up Exhibit 17 and see if I can refresh

     15   your recollection as to the timing and the substance.

     16                MR. MORRIS:   And if we could go to the bottom of the

     17   email string.

     18   BY MR. MORRIS:

     19   Q    This is an email string between lawyers for the debtor

     20   and the Advisors.     Do you see that there's an email from Mr.

     21   Demo there dated Tuesday, February 16th?

     22   A    Yes.

     23   Q    Okay.    And the lawyers on this email from K&L Gates, those

     24   were the lawyers who were representing the interests of the

     25   Advisors; is that right?




                                                                     Appx. 02375
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                                  Dondero - Direct                       79


      1   A    Yes.

      2   Q    And do you understand that Timothy Silva of WilmerHale and

      3   my colleague, Mr. Demo, were representing the interests of the

      4   Debtor?

      5   A    Yes.

      6   Q    And do you see in the first paragraph that Mr. Demo

      7   informs Mr. Hogewood that the Debtor is prepared to sign the

      8   attached term sheet, in the absence of which it would be

      9   filing an adversary proceeding?

     10   A    Yes.

     11   Q    Okay.    And does that reflect your recollection that, in

     12   fact, it was on Tuesday afternoon that the Debtor made the

     13   demand to either sign the term sheet or there would be

     14   litigation?

     15   A    It doesn't change my testimony.    The first time I heard

     16   about it was -- about a suit coming at 6:00 was on Wednesday.

     17   Q    Okay.    Let's go up to the -- Mr. Hogewood's response.    Did

     18   you learn that -- did you have any communications with anybody

     19   on Tuesday about the possibility of the Debtor filing a

     20   lawsuit?

     21   A    No.

     22   Q    Okay.    Can you go -- can you go to the email above?   Do

     23   you see -- let me see if this refreshes your recollection.          Do

     24   you see that Mr. Demo sent to Mr. Hogewood on Tuesday, just

     25   before 5:00 p.m., drafts of the Debtor's adversary proceeding




                                                                   Appx. 02376
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                                     Dondero - Direct                     80


      1   papers?

      2   A    Yeah, I've never -- except for I think you gave me these

      3   emails yesterday, but until yesterday I've never seen these

      4   emails before.

      5   Q    So, so the lawyers who were representing the Advisors'

      6   interests weren't keeping you informed last week about the

      7   status of negotiations; is that your testimony?

      8   A    Generally.    Again, I delegated it to Dustin and D.C. to

      9   handle the details.

     10   Q    Okay.

     11                MR. MORRIS:   And scroll up to the -- to Mr.

     12   Hogewood's response.

     13   BY MR. MORRIS:

     14   Q    Did you learn that Mr. Hogewood had asked for an extension

     15   of the deadline from 6:00 p.m. to midnight at any time last

     16   week?

     17   A    No.

     18                MR. MORRIS:   Let's go -- let's go -- let's go to Mr.

     19   Silva's email, the next one up.

     20   BY MR. MORRIS:

     21   Q    Were you aware that the parties were negotiating and

     22   trying to finish up the agreement last Tuesday as the Debtor's

     23   deadline for filing a lawsuit was drawing near?

     24   A    I knew they were in negotiations on Tuesday and Wednesday,

     25   but I didn't know the deadline was growing near until




                                                                      Appx. 02377
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                                 Dondero - Direct                      81


      1   Wednesday.

      2   Q    Did you learn -- did you learn what the open issue or open

      3   issues were as of that time?

      4   A    I believe there was only one open issue.     It was regarding

      5   my occupancy.

      6   Q    And what is your understanding of what the issue was as of

      7   that time last week?

      8   A    Since the beginning of the case, the Highland employees

      9   have been told to work from home so that the estate didn't

     10   have any COVID liability.    There hasn't been a Highland

     11   employee in the office in a year except for occasional visits.

     12   NexPoint employees have worked every day through COVID, full

     13   staff every day.

     14        With us taking over either a hundred percent or 75 percent

     15   of the lease, and the supervisory leadership strategy that I

     16   deserve, and on a regulatory basis have a responsibility to

     17   provide for the RIAs, I needed to be in the office on a going-

     18   forward basis.   And I believe grand efforts were made on the

     19   part of Dustin and D.C. to create a wall for a section of the

     20   office for the Highland employees -- who have never come in

     21   for the last year, probably aren't coming in for the next year

     22   -- but if they were to come in, they would have private egress

     23   and ingress, and nobody else in the office, including myself,

     24   would ever see them come and go.

     25        And I know there were clear negotiating representations




                                                                   Appx. 02378
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                                 Dondero - Direct                       82


      1   made on their part, but there's never anything that I've been

      2   accused of that's been in-person activity.      There have been a

      3   couple texts, a couple emails, but nothing ever in-person.         So

      4   the separation for employees who probably were never going to

      5   come in the office, and as NexPoint was paying 75 or a hundred

      6   percent of the lease, it made inordinate sense -- in fact, it

      7   was only tenable -- if I was able to come in and provide

      8   leadership and oversight to the (audio gap) Advisors.

      9   Q    Did you testify last night that it was Judge Jernigan who

     10   ordered the Debtor's employees to stay out of the office

     11   because of COVID?

     12   A    That's what I remember from early in the case, so that

     13   there wouldn't be any COVID liabilities in the estate, but

     14   that's why the Highland employees haven't been around for a

     15   year.

     16   Q    So it's your -- it's your memory that Highland employees

     17   haven't been around for a year and that the reason for that is

     18   because Judge Jernigan issued an order telling them to stay

     19   out of the office because of the COVID risk; is that right?

     20   A    That's -- that was my recollection.

     21   Q    Okay.   You haven't been in the office in the calendar year

     22   2021 except for the day that you went to give your deposition

     23   early in January; is that right?

     24   A    Yes.

     25   Q    And have the Advisors functioned, notwithstanding your




                                                                   Appx. 02379
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                                     Dondero - Direct                     83


      1   absence from the office?

      2   A    Yes.

      3   Q    Okay.    And in fact, at the end of the day, notwithstanding

      4   everything you just said, is it fair to say that the only

      5   issue that you're aware of that separated the Debtor and the

      6   Advisors as of last Wednesday was your access to the offices?

      7   A    I believe that's the case.

      8                MR. MORRIS:   And can we just scroll up a little bit

      9   to Mr. Hogewood's -- the next email on the next page?        Yeah.

     10   Right there.

     11   BY MR. MORRIS:

     12   Q    In fact, that's -- to put a fine point on it, the

     13   Advisors' lawyer says specifically is keeping Jim Dondero away

     14   from the office worth losing out on the financial advantages?

     15   Is that the position that the Advisors took at that time?

     16   A    Again, I've never seen these emails before and I'm not

     17   aware of the specific back-and-forth negotiations.

     18   Q    Okay.    But that's consistent with your understanding, that

     19   the only issue that was outstanding as of that moment in time,

     20   the only material issue, was your access to the office.

     21   Right?

     22   A    As of that moment in time, yes.

     23   Q    And otherwise, the Advisors, but for your desire to have

     24   access, the Advisors would have had a fully-negotiated

     25   complete transition services agreement with the Debtor and




                                                                     Appx. 02380
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                                   Dondero - Direct                      84


      1   there would have been no lawsuit, fair?

      2   A      I believe, yeah, I believe that's largely what -- the

      3   status at that point.

      4   Q      Okay.   And so -- and so, because you weren't given access,

      5   the Advisors didn't agree to the proposal that was otherwise

      6   acceptable, correct?

      7   A      Yes.

      8   Q      Okay.   And did you lose interest in the negotiations after

      9   the Debtor made it clear that they wouldn't provide access to

     10   you?

     11   A      Lose interest?   Yeah, but I mean, the two parallel paths

     12   for discretion I had given Dustin and D.C. to work on was

     13   either complete the negotiated settlement that really would

     14   have been, I think, the best transition for everybody and a

     15   win-win for everybody, but if not, be prepared for us to go it

     16   alone or the Advisors to be able to go it alone and operate

     17   without Highland and without being in the space.

     18   Q      And did you give that instruction last Thursday after the

     19   -- after the Debtor refused to give you access?

     20   A      Yeah.   They knew that that -- those were -- those were the

     21   only two -- the only two -- the only two that I had approved.

     22   They were the only two directions I had approved.

     23   Q      Are you aware that on Friday -- withdrawn.   On Friday, the

     24   lawyers at K&L Gates made a proposal to the Debtor that

     25   contained two options; is that correct?




                                                                   Appx. 02381
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                                     Dondero - Direct                     85


       1   A   Yes.

       2               MR. MORRIS:   Can we please put up on the screen

       3   Exhibit #19, please?      And if we could go to the bottom.

       4   BY MR. MORRIS:

       5   Q   Mr. Hogewood wrote to my colleague, Mr. Demo, just before

       6   noon on Friday, February 19th.     Do you see that?

       7   A   Yes.

       8   Q   And this -- Mr. Hogewood presented two options.       You were

       9   -- were you aware on Friday morning that Mr. Hogewood was

     10    going to be presenting two options?

     11    A   I was generally aware, which I think is what I testified

     12    to in my depo yesterday, that D.C. and Dustin were

     13    enthusiastically trying to come up with a settlement.       They

     14    believed it was close enough to try and get something done,

     15    and they were going to work, you know, an A and a B, but

     16    consistent with my direction that there was really only two

     17    alternatives, but they were still optimistic, because, besides

     18    it being a win-win for everybody, it would be less risk and

     19    less work for the Advisors if something like the original

     20    transaction could get done.

     21    Q   Okay.    Do you see --

     22                MR. MORRIS:   If we could take a look at Option B.

     23    BY MR. MORRIS:

     24    Q   Option B, as written by Mr. Hogewood, would have had the

     25    Debtor assume the entire lease and have NexPoint vacate at the




                                                                     Appx. 02382
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                                     Dondero - Direct                     86


      1   end of the month.     Do you see that?

      2   A    Yes.

      3   Q    And that's an offer that was made by Mr. Hogewood on

      4   behalf of the Advisors on Friday just around noontime; is that

      5   fair?

      6   A    I believe so.

      7   Q    Okay.    Do you know --

      8                MR. MORRIS:   Can we scroll up, please?

      9   BY MR. MORRIS:

     10   Q    And Mr. Demo responds just a few moments later by saying

     11   that he would discuss the options, right?

     12   A    Yes.

     13   Q    Okay.    And then the very next moment, if you scroll to the

     14   next one, Mr. Hogewood actually informs Mr. Demo that he had

     15   been informed, "There may be an edit needed to Option B, so I

     16   need to pull that back momentarily."      Do you see that?

     17   A    Yes.

     18   Q    Do you know what edit was being considered by the Advisors

     19   early in the afternoon on Friday?

     20   A    No.

     21   Q    Okay.

     22                MR. MORRIS:   Let's scroll up to the next email,

     23   please.

     24   BY MR. MORRIS:

     25   Q    And Mr. Demo just responds and he says, "Understood."




                                                                     Appx. 02383
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                                    Dondero - Direct                     87


       1   Fair?

       2   A   (garbled)

       3   Q   Let's -- okay.    And then the next email from Mr. Hogewood

       4   says, "I am authorized to put Option B back on the table as

       5   stated below.    Both A and B are on the table for your

       6   consideration."    Do you see that?

       7   A   Yes.

       8   Q   Do you believe that Mr. Hogewood was acting without

       9   authority when he made that statement to the Debtor?

     10    A   I don't know.

     11    Q   Did you ever ask Mr. Sauter or Mr. Norris whether Mr.

     12    Hogewood was acting outside the scope of his authority when he

     13    made this offer?

     14    A   No.

     15               MR. MORRIS:   Can we scroll up to the email -- the

     16    next email, please?

     17    BY MR. MORRIS:

     18    Q   Do you see that Mr. Silva on behalf of the Debtor was

     19    looking for a time to discuss?

     20    A   Yes.

     21    Q   And then if we go to the next email in this string,

     22    they're asking for dial-in.    Did you learn early in the

     23    afternoon on Friday that the Debtor had accepted Option B as

     24    presented by Mr. Hogewood on behalf of the Advisors?

     25    A   I -- I don't know when I became aware of that.




                                                                     Appx. 02384
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                                     Dondero - Direct                     88


      1   Q    Did you learn --

      2                MR. MORRIS:   Let's go ahead and take this down and go

      3   to the next exhibit, please.      And start at the bottom.

      4   BY MR. MORRIS:

      5   Q    Do you see that Mr. Hogewood is writing to my colleagues

      6   again, and in the middle paragraph he says, "As you know, the

      7   term sheet preserves everyone's rights on various claims and

      8   other litigation, and Davor suggested it would be appropriate

      9   to track that language in the body of the agreed settlement

     10   order in addition to attaching the term sheet to the order"?

     11        Were you aware early Friday afternoon that the lawyers for

     12   the parties were discussing the form of an agreed settlement

     13   order that would embody the Option B approach?

     14   A    No.

     15   Q    Do you see in the next paragraph there's a question as to

     16   whether John is preparing the order or an offer for the K&L

     17   Gates firm to take that on?      Do you see that?

     18   A    Yes.

     19   Q    Were you aware that the law firm representing the Advisors

     20   that you own and control were offering to prepare a settlement

     21   offer -- a settlement order that would include the Option B

     22   approach that had been accepted by the Debtor?

     23   A    Nope.    I wasn't involved in any of these details, nor had

     24   I seen any of these emails.

     25   Q    Okay.    Let's go to the next email and see if you know




                                                                     Appx. 02385
Case 3:21-cv-00881-X Document 138-79 Filed 07/14/23     Page 90 of 240 PageID 10967



                                     Dondero - Direct                     89


      1   anything about the facts or the assertions in that email.         Do

      2   you see Mr. Demo responds, and at the end of his first

      3   sentence, there is enough -- there's a reference to having

      4   enough room on the wires.      Do you see that?

      5   A    Yes.

      6   Q    Are you aware -- were you aware on Friday afternoon that

      7   the lawyers for the Advisors that you own and control and the

      8   lawyers for the Debtor were having discussions about how to

      9   timely effectuate a wire transfer?

     10   A    No.

     11                MR. MORRIS:   Can we go up to the 3:33 p.m. email?

     12   BY MR. MORRIS:

     13   Q    And just to move this along, did you learn that the

     14   parties -- that lawyers for the parties were expecting to go

     15   through the final draft of the document?

     16   A    No.

     17   Q    Were you aware that the lawyers representing the entities

     18   that you own and control wanted more time to be able to do

     19   that?

     20   A    I wasn't involved in this at all.

     21   Q    Okay.

     22                MR. MORRIS:   Can we scroll up to the email at 3:43

     23   p.m.?

     24   BY MR. MORRIS:

     25   Q    And do you see where Mr. Hogewood informs Mr. Demo that he




                                                                     Appx. 02386
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                                   Dondero - Direct                      90


      1   needs to push the call further because he is "having trouble

      2   connecting with someone to be sure they are in a position to

      3   review."    Do you see that?

      4   A    Yes.

      5   Q    Was Mr. Hogewood trying to reach you on the afternoon of

      6   February 19th in order to make sure you had the opportunity to

      7   review the term sheet that was about to be signed?

      8   A    I don't know.

      9   Q    Do you see, if you scroll up, Mr. Demo asks Mr. Hogewood

     10   if he needs a little bit more time?

     11   A    Yes.

     12   Q    And then, finally, the last email in this deck, do you see

     13   at 4:15 Mr. Hogewood says to Mr. Demo, "We should cancel this

     14   call and I should just call you and John."       Do you see that?

     15   A    Yes.

     16   Q    And that's because the Advisors pulled Option B that the

     17   Debtor had agreed to; is that right?

     18   A    Yes.

     19   Q    And it's your testimony that you had nothing to do with

     20   that decision; is that right?

     21   A    No.    It -- no.   I didn't say that.   Once I became fully

     22   aware of what A and B were, I had no interest in A or B, and I

     23   pointed the team back to the conversations we had had on

     24   Wednesday regarding either it's the win-win scenario for

     25   everybody and continuity and the office and me being in the




                                                                    Appx. 02387
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                                  Dondero - Direct                      91


      1   office or it's a -- it's a divorce.    And -- but I didn't have

      2   an interest in A or B.

      3   Q    And yet it is fair to say, though, that the Advisors'

      4   outside counsel and the Debtor's counsel spent the whole day

      5   on Friday pursuing Options A and B, including preparing

      6   settlement orders and for wire transfers, right?

      7   A    They'd been working tirelessly Wednesday, Thursday,

      8   Friday, Saturday, Sunday, trying to strike a deal, trying to

      9   be reasonable, but to no avail.    I think now it's --

     10   everybody's comfortable with the divorce and being out of the

     11   office.

     12   Q    Did -- do you know whether the Advisors made any proposals

     13   to the Debtor over the weekend for an a la carte menu of

     14   services that might be considered?

     15   A    Yes.    I believe -- yes.

     16   Q    Okay.   Does the Debtor -- withdrawn.    Do the Advisors have

     17   a plan pursuant to which it will obtain all of the back-office

     18   and middle-office services that it needs that were previously

     19   provided by the Debtor in order to fully perform under the

     20   advisory agreements with the funds?

     21   A    I believe they have a plan.

     22   Q    And is that plan sufficient to enable the Advisors to

     23   fully perform their services under the advisory agreements

     24   with the funds?

     25   A    I believe so.   The major gating item, which I think




                                                                   Appx. 02388
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                                   Dondero - Direct                      92


      1   changed over the weekend, was the historic data for the funds

      2   was being held hostage, and I think over the weekend, for the

      3   first time, it was agreed that the funds could have their

      4   historic data that they were entitled to.      And I think that

      5   improved the quality of their alternative plans.

      6   Q    Does the -- do the Advisors need anything from the Debtor

      7   today?

      8   A    I believe very little, if nothing.      They just need data

      9   and information and software that they're entitled to that

     10   they've paid for, paid for in full over the years.

     11   Q    And does the -- do the Advisors have a plan in place to

     12   obtain that information that it contends it's entitled to?

     13   A    I don't have the specific -- specifics.      Dustin is your

     14   person there.

     15   Q    Do you personally believe that the Debtor had the right to

     16   terminate the shared services agreement as of last Friday?

     17             MR. RUKAVINA:    Your Honor, I'll object to that

     18   question as that calls for a legal conclusion.       And I will

     19   note for the record that we are not trying today their

     20   declaratory action Count One, and we do not consent to that

     21   being tried.

     22             THE COURT:   Okay.   I overrule.    He can answer if he

     23   has an answer.

     24             THE WITNESS:    I don't know.

     25   BY MR. MORRIS:




                                                                    Appx. 02389
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                                 Dondero - Direct                       93


      1   Q    Do you believe that there is anything defective about the

      2   termination notices that you testified being aware to as of

      3   last November 30th?

      4   A    I don't know.

      5   Q    Do you have any reason to believe that those termination

      6   notices are unenforceable?

      7   A    I don't know.

      8   Q    Do you have any reason to believe that the Debtor has any

      9   continuing obligation to the Advisors following last Friday,

     10   after last Friday?

     11   A    I do believe there's an overall industry standard practice

     12   in terms of transitioning.    I do think there's a

     13   responsibility of all parties to do things in a regulatorily-

     14   compliant way.    So I do believe that that overrides and

     15   supersedes some of this contract dancing.

     16   Q    How much -- what regulatory regime are you referring to?

     17   A    The SEC.

     18   Q    Are you aware of any particular rule that would require

     19   the Debtor to provide services of any kind to the Advisors

     20   after the termination of the shared services agreements?

     21   A    No.   I'm going based on experience.

     22   Q    Okay.   So you don't have anything specific in mind; is

     23   that fair?

     24   A    I have specific historic experience --

     25   Q    All right.   I'm asking you --




                                                                   Appx. 02390
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                                 Dondero - Direct                        94


      1   A    -- of the --

      2   Q    I'm sorry.

      3   A    And then, I mean, I do have in mind, you know, based on

      4   our historic experience, like when we moved from State Street

      5   to SCI, I think it took nine months longer than anybody

      6   expected, and there wasn't a hard break in anybody's

      7   activities or attitudes toward each other.      It was -- it

      8   delayed for issues that were -- some were beyond everybody's

      9   control, some of them were faults of the different parties,

     10   but in no case did anybody try and cause damage or allow

     11   damage to happen to regulated funds.

     12   Q    How long is the Debtor, in your view, how long is the

     13   Debtor obligated to make the data available to the Advisors?

     14   How long does this obligation stay in effect?

     15   A    I don't have a specific timeline.      I did hear Seery say a

     16   few minutes ago that you would give it all and they would just

     17   keep a copy.   I think to the extent that that happened, that

     18   cures quite a bit of it.    But, again, the data had been held

     19   hostage as a negotiating point up until this weekend.

     20   Q    Hmm.   Have the Advisors made arrangements to make the copy

     21   of the data that you just referred to?

     22   A    I don't know.

     23   Q    Do you know if there is a monetary amount that the Debtor

     24   is required to incur in order to continue to maintain the data

     25   until the Advisors can get a copy?




                                                                   Appx. 02391
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                                    Dondero - Direct                     95


       1   A      I don't know, but I -- I don't believe it's material at

       2   all.

       3   Q      Okay.   Have you done any analysis to -- if you don't know

       4   how long it's going to take to get the copy, how do you know

       5   how much it's going to cost to maintain the copy until it's

       6   retrieved?

       7   A      I don't, but large files up on the cloud in general are

       8   not that complicated to move around.

       9   Q      But it's your view, as the owner and controller of the

     10    Advisors, that the Debtor has a continuing obligation,

     11    notwithstanding the termination of the shared services

     12    agreement, to maintain the data for some indefinite period of

     13    time until the Advisors obtain a copy.      Is that right?

     14    A      I'm saying there needs to be reasonable business

     15    transition in these circumstances.     And I don't -- I don't --

     16    I'm not the systems person, I don't know the details, but I

     17    know the costs are minimal.     The monthly storage charge and --

     18    what, is the Debtor going to delete everything to save $100 of

     19    storage charge on the cloud to intentionally harm investors?

     20    I mean, that's -- that's an alternative, but none of that

     21    makes any sense to me.

     22    Q      Let me ask you this.   Under the shared -- under the

     23    transition services agreement that was fully negotiated as of

     24    last Tuesday or Wednesday, but for your access, was the whole

     25    issue of data access addressed in that document?




                                                                     Appx. 02392
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                                     Dondero - Direct                        96


      1   A    I don't know.    I assume so.

      2   Q    Okay.    And do you also assume that the data issue would

      3   have been fully and completely addressed under the Option B

      4   that the Debtor accepted on Friday afternoon?

      5   A    I have no idea what was in Option -- I mean, I have no

      6   idea what was in Option B regarding the data.

      7   Q    Okay.

      8                MR. MORRIS:     Your Honor, I have nothing further.

      9                THE COURT:    All right.   Pass the witness.    Mr.

     10   Wilson?

     11                MR. RUKAVINA:    I think, actually, Your Honor, he's my

     12   witness on this one, since we're the Defendants.

     13                THE COURT:    Oh, I'm sorry.   He's in Mr. Wilson's

     14   office.     I got confused.     Go ahead, Mr. Rukavina.

     15                MR. RUKAVINA:    No problem.   No problem.

     16        Mr. Vasek, if you'll please pull up Debtor Exhibit 2, and

     17   if you'll please go to Section 6.02.        Well, make it so we can

     18   see 6.03 as well.

     19                                CROSS-EXAMINATION

     20   BY MR. RUKAVINA:

     21   Q    Okay.    Mr. Dondero, can you hear me?

     22   A    Yes.

     23   Q    Mr. Morris was asking you about data and return of data.

     24   I'd like for you to read with me Section 6.02, the second

     25   half, where it starts, "For the avoidance of doubt."           Can you




                                                                        Appx. 02393
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                                  Dondero - Cross                          97


      1   see that, sir?

      2   A   Yes.

      3   Q   (reading)    "For the avoidance of doubt, all books and

      4   records kept and maintained by Service Provider on behalf of

      5   Recipient shall be the property of Recipient, and Service

      6   Provider will surrender promptly to Recipient any such books

      7   or records upon Recipient's request."       And then there's a

      8   parenthetical about retaining a copy.       Do you see that, sir?

      9   A   Yes.

     10   Q   Did I read that correctly?

     11   A   Yes.

     12   Q   Okay.   And Service Provider here is the Debtor, and

     13   Recipient is one of the Advisors, correct?

     14   A   Yes.

     15   Q   Okay.   And now let's quickly read Section 6.03.      (reading)

     16   "Upon expiration or termination of this agreement, Service

     17   Provider will be obligated to return to Recipient as soon as

     18   is reasonably practicable any equipment or other property or

     19   material of Recipient that is in Service Provider's control or

     20   possession."    Did I read that correctly?

     21   A   Yes.

     22   Q   Okay.   And are the Advisors relying on these provisions

     23   when you mentioned in response to Mr. Morris that the Debtor

     24   had some obligation to provide them their own data?

     25   A   Yes.    I -- again, I'm not involved in the details or the




                                                                    Appx. 02394
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                                   Dondero - Cross                      98


      1   specifics, but that's a very standard clause you'd expect to

      2   see in a service agreement, and I'm -- in some form or

      3   fashion, I'm sure D.C. and Dustin are aware of that and have

      4   negotiated accordingly.

      5   Q     Well, let's talk about that briefly.    Mr. Morris asked you

      6   several questions with respect to the negotiations in the last

      7   few weeks on the transition services agreement and with

      8   respect to the weekend's events, to which you responded that

      9   you don't know the answer.    Do you recall those questions

     10   generally?

     11   A     Yes.

     12   Q     And is that because you delegated those decisions to both

     13   D.C. and Dustin and outside counsel, or is that because you're

     14   incompetent?

     15   A     I've found that I am mischaracterized whenever I talk to

     16   Seery directly or deal with things directly, and there's too

     17   much of an intent in this case to make this personalized about

     18   me.   And there was over a thousand line items to negotiate.

     19   Dustin and D.C. are very capable executives.      And again, to

     20   avoid mischaracterization and personalization of this stuff, I

     21   let them handle it.

     22   Q     Okay.   And you were also asked by Mr. Morris about the

     23   Advisors' current backup plan or divorce plan, whatever we

     24   want to call it, and you didn't know some of those answers.

     25   Is that also because you delegated that to Mr. Norris, Dustin




                                                                   Appx. 02395
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                                       Dondero - Cross                     99


       1   Norris?

       2   A    Yes.

       3   Q    Okay.    It's not because you don't take an interest in it;

       4   it's because you delegated it to someone that you just called

       5   a very capable executive, correct?

       6   A    Yes.

       7   Q    Okay.    And Mr. Morris asked you about certain events of

       8   last Tuesday and Wednesday.       What was going on, sir, here in

       9   North Texas last Tuesday and Wednesday?

      10   A    Well, it was the ice storm.      I couldn't get in touch with

      11   my lawyers on Wednesday, including yourself, you know, and

      12   people didn't have electricity, they didn't have coverage.

      13   Q    Is it fair to say, sir, --

      14   A    I couldn't --

      15   Q    Is it fair to say, sir, just to speed this up, that last

      16   Tuesday, Wednesday, and Thursday, the Advisors and you and

      17   outside counsel, primarily me, were having a very hard time

      18   getting in touch, and in fact, we really couldn't get in

      19   touch?

      20                MR. MORRIS:    Objection to the form of the question.

      21   I mean, if Mr. Rukavina wants to testify, he's welcome to do

      22   that, but I think he's leading.

      23                THE COURT:    I'll overrule.

      24                THE WITNESS:    The answer is yes.   The world wasn't

      25   functioning --




                                                                       Appx. 02396
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                                     Dondero - Cross                       100


       1   BY MR. RUKAVINA:

       2   Q    Okay.

       3   A    -- in Dallas, Texas, or in my legal ecosystem.

       4   Q    Is it possible that, as a result of that, certain

       5   miscommunications between all of us took place?

       6   Misunderstandings?

       7   A    Lack of --

       8   Q    Misunderstandings?

       9   A    Yeah.    A lack of communication, period.

      10   Q    And Mr. Morris discussed your physical presence on the

      11   premises.     In fact, other than that one time that was

      12   mentioned when you went to the office for the deposition, you

      13   have not been at NexPoint or the other Advisor's corporate

      14   offices for almost two months now; is that correct?

      15   A    Correct.

      16   Q    Has that caused disruption to the business of the

      17   Advisors?

      18   A    It's definitely affected the efficiency.        And again, I

      19   don't think it's compliant on a long-term basis for a

      20   registered investment advisor to not have its oversight

      21   employees, you know, or oversight most senior employee on

      22   staff.

      23   Q    Thank you, Mr. Dondero.

      24                MR. RUKAVINA:   Your Honor, I'll pass the witness.

      25                THE COURT:   All right.   Mr. Morris?




                                                                      Appx. 02397
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                                      Dondero - Redirect                     101


       1                              REDIRECT EXAMINATION

       2   BY MR. MORRIS:

       3   Q    Sir, notwithstanding last week's weather, you knew that

       4   the lawyers for both the Advisors and the Debtor had reached

       5   an agreement on every single material term except for your

       6   access to the office, correct?

       7   A    Yes.

       8   Q    The weather doesn't change anything about that, right?

       9   A    Correct.

      10   Q    And the only reason that the Advisors refused to sign the

      11   agreement and this lawsuit was commenced is because you

      12   personally would not reach an agreement that didn't allow you

      13   into the offices, correct?

      14   A    I mean, yes, largely.

      15   Q    Okay.

      16                MR. MORRIS:     No further questions, Your Honor.

      17                THE COURT:    Any --

      18                MR. RUKAVINA:    Isn't it --

      19                THE COURT:    -- recross?

      20                MR. RUKAVINA:    Thank you, Your Honor.

      21                              RECROSS-EXAMINATION

      22   BY MR. RUKAVINA:

      23   Q    Isn't it also true, Mr. Dondero, that the same can be said

      24   about Mr. Seery, that the only reason why the Debtor didn't

      25   enter into that agreement was because he would not permit you




                                                                         Appx. 02398
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                                     Dondero - Recross                       102


       1   to be on the premises for the next couple of years?

       2   A    Yes.

       3               MR. RUKAVINA:    Thank you, Your Honor.

       4               THE COURT:    All right.   That concludes Mr. Dondero's

       5   testimony for now.

       6        Mr. Morris, any more witnesses?

       7               MR. MORRIS:     No, Your Honor.   The Debtor rests.

       8               THE COURT:    All right.   Mr. Rukavina, you may call

       9   your first witness.

      10               MR. RUKAVINA:    Your Honor, just to give you a heads

      11   up, I'm probably going to have an hour, hour and a half with

      12   Mr. Norris.     So I don't know what the Court's plan is for

      13   working through lunch or not, but I'll just give you that so

      14   that you can make the appropriate decision.

      15               THE COURT:    All right.   Well, I would like to go

      16   ahead and get started and get some of that accomplished before

      17   lunch.    My situation is I'm hoping to get an update, but I

      18   have another 1:30 matter that I think is going to be very,

      19   very short, but I'm waiting to -- you know, my courtroom

      20   deputy was going to reach out to the lawyers involved in that

      21   matter.     So my point is I may have to break from this for a

      22   few minutes at 1:30, so I'd like to time our lunch break so

      23   that it occurs a little bit before 1:30.        I think that'll make

      24   this easier.

      25        So let's go ahead and get started.       You wanted to call Mr.




                                                                       Appx. 02399
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                                       Norris - Direct                         103


       1   Norris?

       2                MR. RUKAVINA:    Yes, Your Honor.     Dustin with a D,

       3   Norris.

       4                THE COURT:    All right.   Dustin Norris, would you

       5   please say, "Testing, one, two"?

       6                MR. NORRIS:    Testing, one, two.

       7                THE COURT:    All right.

       8                MR. NORRIS:    Testing, one, two.

       9                THE COURT:    I hear you loud and clear.     I'm not

      10   seeing you yet.     Oh, there you are.     Okay.     Please raise your

      11   right hand.

      12                MR. NORRIS:    Hello.

      13        (The witness is sworn.)

      14                THE COURT:    All right.   Thank you.    Mr. Rukavina?

      15                 DUSTIN NORRIS, DEFENDANT'S WITNESS, SWORN

      16                              DIRECT EXAMINATION

      17   BY MR. RUKAVINA:

      18   Q    Mr. Norris, can you hear me?

      19   A    Yes, I can.

      20   Q    Okay.    Are you able to close the blinds behind you or

      21   somehow make that room a little darker?

      22   A    Let me reposition.      Is that better?

      23   Q    Yes, thank you.       For the record, sir, what is your name?

      24   A    Dustin Norris.

      25   Q    And what is your educational background?




                                                                         Appx. 02400
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                                    Norris - Direct                      104


       1   A    I have a bachelor's and master's degree in accounting from

       2   Brigham Young University.

       3   Q    Okay.    Do you hold any professional licenses or

       4   certifications?

       5   A    Yes.    CPA license, as well as FINRA License Series 7, 63,

       6   and 24.

       7   Q    Have you ever been disciplined by any regulatory body with

       8   respect to your licenses?

       9   A    No.

      10   Q    Have you ever had a crime, even a speeding ticket?

      11   A    No, never -- never had a crime.    Not even a speeding

      12   ticket.     For the record, I did get pulled over for not coming

      13   to a complete stop at a stop sign, but was dismissed through

      14   defensive driving.    This is actually my first experience or

      15   interaction with a court other than the same interaction with

      16   the Court in December of last year.

      17   Q    Have you ever had your honesty or integrity challenged or

      18   questioned?

      19   A    No, I haven't.

      20   Q    Okay.    And are you familiar with the two Advisors who are

      21   my clients here today?

      22   A    I am.

      23   Q    And how are you or why are you familiar with them?

      24   A    So, I am the executive vice president of each Advisor.

      25   Q    Okay.




                                                                    Appx. 02401
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                                    Norris - Direct                     105


       1   A    And --

       2   Q    Go ahead.

       3   A    I've been working for the Advisors since 2012.

       4   Q    So you have been employed by the Advisors since 2012?

       5   A    That's correct.

       6   Q    Okay.    And what does your role as executive vice president

       7   entail?

       8   A    So, I oversee the marketing, sales, distribution, business

       9   development for our investment products, private placements,

      10   registered products, the funds that we've -- been talked about

      11   in this, this hearing.

      12   Q    Okay.    And who do you report to?

      13   A    To Mr. Dondero.

      14   Q    Okay.    And briefly, for the record, what is the business

      15   of these two Advisors that are Defendants today?

      16   A    Yeah.    So, they primarily provide investment advice and

      17   management of various investment vehicles.     That's private

      18   investment vehicles, it's public investment vehicles,

      19   publicly-registered closed-end funds, REITs, BDC, ETFs, and

      20   mutual funds.

      21   Q    Can you give the judge an estimate of the order of

      22   magnitude of all of the underlying investments managed or

      23   advised through all these vehicles that you mentioned?

      24   A    It's several billion dollars under management for NexPoint

      25   and Highland Capital Management Fund Advisors.




                                                                    Appx. 02402
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                                    Norris - Direct                       106


       1   Q    And is Mr. Dondero the fund manager, the guy in charge for

       2   all those investments?

       3   A    Most of them, yes.

       4   Q    Okay.    And do you understand yourself to be a fiduciary?

       5   A    I do, both to the funds and to our Advisors.

       6   Q    Okay.    What do you mean, the funds?    And in particular,

       7   what -- what are the retail funds that Mr. Seery talked about

       8   earlier?

       9   A    Yeah.    So, we have a number of publicly-registered mutual

      10   funds, closed-end funds, and ETF.     And those are, as Mr. Seery

      11   pointed out, available to anyone that really wants to buy

      12   them, anybody that has a brokerage account or the ability to

      13   buy them through a financial advisor.      And so those are the

      14   funds that I'm talking about.    Primarily, they're 1940 Act--

      15   registered mutual funds and closed-end funds.

      16   Q    Do any of those funds have their own boards?

      17   A    Yes.    All of the '40 Act funds have their own board.     It's

      18   an independent board of trustees.

      19   Q    What do you mean by an independent board of trustees?

      20   A    Yeah.    So the majority of the board members are

      21   independent, and it's actually a -- 75 percent of the board

      22   members are independent trustees, as defined by the rules and

      23   regulations of the SEC.     And so they actually hire us as the

      24   advisor.     On an annual basis, they review our advisory

      25   agreements.     And they control the day-to-day operation -- not




                                                                      Appx. 02403
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                                   Norris - Direct                       107


       1   the daily operations, but control the oversight of those

       2   funds.   And on an annual basis, they renew or choose not to

       3   renew our advisory agreements.

       4        And so it is an independent process and an independent

       5   board.   And each one of them have independent legal counsel as

       6   well that advises them on all matters that they incur,

       7   including everything we're talking about today.

       8   Q    Who is that independent legal counsel, if you know?

       9   A    Yeah.   Blank Rome is the name of the law firm, and Stacy

      10   Louizos is the partner that represents them.

      11   Q    Does Mr. Dondero sit now, or since this bankruptcy case

      12   was filed, has he sat on any of these independent boards?

      13   A    He has not, no.

      14   Q    Okay.   For these funds with independent boards, are you

      15   also any kind of employee or officer of them?

      16   A    Yeah.   So, the funds themselves don't have individual

      17   employees.   They have officers that oversee the operations.

      18   And I am executive vice president of each of the funds.

      19   Q    Okay.   And as the executive vice president of each of

      20   those funds, who do you report to?

      21   A    So, I regularly report to the board on matters pertaining

      22   to the funds.   I'm the liaison between the funds and the board

      23   on a number of matters.   So I've been attending board meetings

      24   since December 2012 for these funds.

      25   Q    Okay.   Have those boards met and had meetings in the last




                                                                    Appx. 02404
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                                   Norris - Direct                       108


       1   couple of months regarding the shared services agreements and

       2   any transition thereof?

       3   A   Extensive meetings.     They've held eight meetings since the

       4   beginning of the year, board meetings.      And those weren't just

       5   short.   Some of them were very long.      Last year, there were 24

       6   recorded board meetings, and a number of conversations in

       7   between, a number of discussions with their legal counsel, a

       8   number of discussions with the chairman of the board.      So it's

       9   -- they've been extensively involved through the process.

      10             MR. MORRIS:     Your Honor, I move to strike the hearsay

      11   that we're hearing here about discussions that the boards had

      12   with other folks.   If Mr. Norris has personal knowledge,

      13   that's one thing, but I think he's gone well beyond that.

      14             THE COURT:    Okay.   Response, Mr. Rukavina?

      15             MR. RUKAVINA:    I'm not sure what testimony Mr. Morris

      16   is talking about, third-party testimony.       I think the witness

      17   just said that the board has met many, many times to discuss

      18   the issues that are up for today.

      19             THE COURT:    Okay.

      20             MR. MORRIS:    And I think to the extent that the

      21   witness participated in such meetings, that's fine, he can

      22   specifically testify about that, but I don't think he should

      23   be otherwise testifying about what other people did who aren't

      24   here today to testify as to their own personal conduct.

      25             THE COURT:    Okay.   Okay.




                                                                     Appx. 02405
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                                     Norris - Direct                        109


       1                MR. RUKAVINA:   I can rephrase the question, Your

       2   Honor.

       3                THE COURT:   I sustain.   Rephrase.

       4   BY MR. RUKAVINA:

       5   Q    Have you personally participated in meetings of those

       6   boards, Mr. Norris, at which those boards and you discussed

       7   the transition services agreement potentially being negotiated

       8   with the Debtor and the shared services agreements that were

       9   being terminated by the Debtor?

      10   A    Yes.    I participated in eight board meetings this year.

      11   There's been five of them in February alone.       And there were

      12   24 board meetings last year, and I was a participant in each

      13   one of those meetings.

      14   Q    Okay.    And did you advise those boards at some point in

      15   time about the termination of the shared services agreements?

      16   A    Yes, we did.

      17   Q    When did you start advising those boards that that was

      18   something that may happen or that has actually been noticed as

      19   happening?

      20   A    So, throughout the fall last year, I think the expectation

      21   was that there would be a -- I mean, obviously, there had been

      22   a plan filed with the Court.      That was discussed with the

      23   board.   Mr. Seery testified that he joined the board meetings

      24   in the fall and in the summer and talked about those.       The

      25   discussions were around the transition of services.       There was




                                                                      Appx. 02406
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                                    Norris - Direct                     110


       1   discussion about a new company.    And so the discussions were

       2   ongoing.

       3        When the filing actually -- from when the filing actually

       4   happened, that was ongoing, of how would we be able to

       5   continue the services.    And so, from the beginning, those were

       6   discussions that were had.

       7        We did notify the board when the termination occurred.       As

       8   well, we had a board meeting, a one-and-a-half day board

       9   meeting on December -- I think the dates were December 10th

      10   and 11th -- where the termination was discussed in detail.

      11   Q    Now, obviously, the Debtor sent notices of termination of

      12   these shared services agreements in late November.      You're

      13   obviously familiar with that, right?

      14   A    Correct.

      15   Q    Separate and apart from the Debtor's decision to terminate

      16   these agreements, were you and the Advisors considering

      17   terminating these agreements?

      18   A    We were.   We had discussion --

      19   Q    Let me ask -- let me ask the next question.     I appreciate

      20   you answering, but let me -- let me do my job.      When were the

      21   Advisors considering making such a move, and why?

      22   A    This was in the October-November time frame of last fall,

      23   as the -- particularly around the services we had been

      24   receiving related to the shared services agreement and the

      25   payroll reimbursement agreements.      We didn't think that the




                                                                    Appx. 02407
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                                    Norris - Direct                       111


       1   service was fulsome, we didn't think we were getting the

       2   service that was under the agreements, and the service had

       3   dropped off.

       4        And in particular, the -- there was -- there were

       5   conflicts involved between the Debtor and between the service

       6   providers, particularly legal and compliance services, given

       7   all that was going on.    And there were a number of matters

       8   they couldn't participate on.     Historically used their legal

       9   and compliance services significantly.

      10        And that, in addition to discovering that there were a

      11   number of employees we were reimbursing for in payroll

      12   reimbursement agreements that were no longer employed by the

      13   Debtor, yet we were paying for the full services.

      14        So, with that, we had discussions internally about if and

      15   when or how we could terminate them, and --

      16   Q    Let me stop you.

      17   A    -- termination --

      18   Q    Let me stop you.    Ultimately, I take it, the Advisors

      19   never tried to terminate these shared services agreements,

      20   correct?

      21   A    That's correct.

      22   Q    Why?

      23   A    There was an order specifically that Jim or anybody

      24   related to Jim could not terminate an agreement with the

      25   Debtor.     And he specifically pointed that out to us when we




                                                                    Appx. 02408
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                                    Norris - Direct                       112


       1   discussed this, and so we knew we couldn't take action.     There

       2   was also -- counsel discussed that the stay with the Court --

       3   Q    Let's not -- let's not talk about counsel.     Let's not talk

       4   about counsel, --

       5   A    Sorry.

       6   Q    -- Mr. Norris.    Okay.   But the point is, at least as of

       7   last October, would you agree, that the notion that these

       8   agreements would be terminated by one or the other parties was

       9   known to you?

      10   A    Yeah.    So, the -- we expected that at some point there

      11   would need to be a termination.     I -- that was discussed.    And

      12   there was a plan, and I'm sure we'll talk about it, but a plan

      13   to transition the employees and the services to a new company

      14   and to new service providers.     And I think both sides had been

      15   working for quite a while to ensure there was a smooth

      16   transition, and we expected that to happen.     But there would

      17   need to be a termination of that agreement -- either a

      18   transfer of that agreement or a termination to a new company

      19   that would be providing new services, or transferred those

      20   services directly to us.

      21   Q    So I'd like you to pick what word you'd like to use, but

      22   what I've called a backup plan in my objection or what Jim

      23   called a divorce plan in his testimony, how -- what shall we

      24   call this backup plan?

      25   A    All-contingency plannings.    Or we'll call it backup plan.




                                                                    Appx. 02409
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                                   Norris - Direct                      113


       1   Q    Okay.

       2   A    I think that works.

       3   Q    So is it fair to conclude that since at least last

       4   October, the Advisors have known about the possibility of

       5   having to do a backup plan?

       6   A    Yeah.   And I think even before then we knew there was a

       7   possibility.   But the plan, the strong Plan A of everything

       8   that had been communicated to us by the Debtor and their

       9   employees was that the intent was to transfer all those

      10   services to a new company, with the same individuals providing

      11   the same services.    There was no significant indication to us

      12   that that would be any different.

      13        Yet we still had then begun planning, well, what if,

      14   right, Plan B was implemented or began many months ago and in

      15   recent weeks, in recent months, it's been expedited to be able

      16   to ensure that we have a solid Plan B.     But yes, it's been

      17   ongoing for months.

      18   Q    So if there is an implication or allegation made that the

      19   Advisors were negligent with respect to transitioning from the

      20   shared services agreements because they didn't start taking it

      21   seriously last August or September, would you agree or

      22   disagree with that allegation?

      23   A    I would disagree, because there were assurances or

      24   discussions that made it very clear that everybody was working

      25   together towards a Plan A.    Yet we were still discussing -- I




                                                                    Appx. 02410
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                                   Norris - Direct                        114


      1   know Mr. Seery mentioned he's a Boy Scout.     I agree in that.

      2   Be prepared.     I'm an Eagle Scout.   And so we have been

      3   preparing, but the preparations weren't needed in the manner

      4   that we thought they were needed until in the last month,

      5   right, and -- because everything was moving in the right

      6   direction for a clean transition plan, and even up until last

      7   week.

      8        However, the last month and a half we've had to prepare in

      9   earnest for Plan B, and that involved a tremendous amount of

     10   effort.   And I'm happy to go into that now.    But yes, there's

     11   -- there has been -- we have 80 employees across our Advisors,

     12   and almost every single one of them have been involved in Plan

     13   B, and a group of about 18 of us for several weeks, planning,

     14   game-planning, and thinking through all the contingency plans.

     15   Q    Well, let's round off the discussion about these boards.

     16   Did you make the boards aware since last fall and into this

     17   year about both the ideal plan, which was, I guess, you know,

     18   an agreement with the Debtor, but also a backup plan, in case?

     19   A    Yeah.   So, in -- in August, --

     20   Q    When --

     21   A    -- when the Court -- oh, sorry, yeah.

     22   Q    No, no.   Well, go ahead.

     23   A    Go ahead.

     24   Q    I was going to ask you how and when, but you -- you -- go

     25   ahead.




                                                                       Appx. 02411
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                                     Norris - Direct                     115


       1   A   Yeah.     Yeah.   So, up until August, there was, I think, a

       2   view that there would be a negotiation, a negotiation reached.

       3   Things had been pushing along.     We know that in August there

       4   was a plan filed with the Court.     And Mr. Seery even joined

       5   our board meeting.     And so in that meeting he discussed with

       6   us, as well as the legal team of the Debtor, discussed with us

       7   the Plan B at that point, which was defined with the Court.

       8   That the goal and objective was a grand bargain, as he

       9   explained it, and that he -- that was the Plan A.      But even

      10   under either plan, there would be a transition of services.

      11   He joined again, I believe, one or two more times, to

      12   additional board calls that fall.     There was mediation we were

      13   aware of and had discussed with the board to help resolve some

      14   of these items.

      15       And so, you know, just in the same time frame Mr. Seery

      16   shared earlier, it corresponded with those discussions that we

      17   were having.

      18       In addition, D.C. Sauter and other individuals at our

      19   firm, as well as individuals from the Debtor, were working

      20   throughout the fall and into the winter on the various

      21   discussions on transition.     And so that's --

      22   Q   Did you hear Mr. Dondero testify about over a thousand

      23   line items?

      24   A   Yeah, I did.

      25   Q   Do you know what -- what is he referring to, do you know?




                                                                     Appx. 02412
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                                    Norris - Direct                     116


       1   A    So, within the transition services agreement, there --

       2   there's about 11 or 12 pages in an exhibit that are a number

       3   of agreements.     That's -- that's the remaining agreements that

       4   we've agreed that are needed.     He may have had a little

       5   hyperbole in his thousand, but there is -- there were -- there

       6   was at least a thousand points of discussion that had to be

       7   resolved.     Most of them were minor, right, and we came to a

       8   quick agreement on most of those, and there was only a handful

       9   of things that needed to be resolved.      And because of that, I

      10   felt comfortable and confident, particularly from the middle

      11   of January on, where I became much more involved, that there

      12   would be an orderly agreement on those points.

      13   Q    Did you tell the boards that the Debtor would enter into

      14   the agreement that had been negotiated only on the condition

      15   that Mr. Dondero not be permitted to be on the premises?

      16   A    Sorry.    You said the Debtor would enter into or -- oh,

      17   that he wouldn't be permitted onto the premises?

      18   Q    Well, we'll go more -- we'll go in detail later, but I

      19   want to round off the board discussion here.     Obviously, you

      20   heard from Mr. Seery and in my paper that we had an agreement

      21   done except for one issue, right?

      22   A    Yes.   Yes.

      23   Q    And that issue was whether Mr. Dondero would be on the

      24   premises or not, right?

      25   A    Yes.




                                                                    Appx. 02413
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                                    Norris - Direct                      117


       1   Q   Did you discuss that with the board, that issue?

       2   A   We did.     We --

       3   Q   And did you get any instructions from the board that have

       4   led you to do anything other than you've actually done?

       5   A   No.     No, we -- they -- the board, as I mentioned, we've

       6   had eight board meetings this year discussing in detail our

       7   backup planning.    They understood the Jim access issue and

       8   they felt comfortable with our backup planning.     But also, you

       9   know, our view, and I think that they shared that, that he

      10   should have access --

      11   Q   Well, let's stop there.    Let's stop there.   Let's stop

      12   there.    I'll ask -- I'll ask more of those questions later.       I

      13   don't -- I don't want to invite Mr. Morris's objections here

      14   based on you talking outside the scope --

      15   A   Yeah.

      16   Q   -- of my question.    Let's move on now to the shared

      17   services agreements themselves.    You heard Mr. Seery's

      18   characterization of them from a top level.     Would you agree

      19   with his characterization, or how would you characterize what

      20   the shared services agreements actually did?

      21   A   Yeah.    I think he called them middle- and back-office

      22   services.    I think, to add a little bit more to that, it's IT

      23   services, including the systems and computers that we all use.

      24   It's HR.    It is accounting and back-office services, many of

      25   those for our advisors and some of them for our funds.      We do




                                                                    Appx. 02414
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                                    Norris - Direct                         118


       1   outsource a number of accounting functions to other service

       2   providers, and have for years, and they provide an oversight

       3   function for the accounting and the books and records for our

       4   funds.   They also provide tax services and things like that

       5   for our advisors and funds.

       6   Q    Now, in --

       7   A    And as well legal and compliance services.      Legal and

       8   compliance services as well.

       9   Q    In our exhibits that have been admitted are two employee

      10   or payroll reimbursement agreements.       We don't have to go

      11   through those in detail, but you're -- are you aware of those

      12   agreements?

      13   A    I am, yes.   And I would add that -- and those are in

      14   addition to the services that are provided under the shared

      15   services agreement.    Those are front-office or investment

      16   services.

      17   Q    Okay.    Now, did there come a time when a dispute arose

      18   between the Debtor and the Advisors as to how much an amount

      19   was owing by the Advisors to the Debtor under the shared

      20   services agreement?

      21   A    That's correct.

      22   Q    What was the basis of that dispute?

      23   A    Yeah.    So, in particular, as I mentioned earlier, certain

      24   of the services we believe we are no longer receiving.       Many

      25   of those related to legal and compliance.      We've had to shift




                                                                     Appx. 02415
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                                   Norris - Direct                     119


      1   a lot of those responsibilities in-house and to outside

      2   counsel.

      3        And particularly related to the payroll reimbursement

      4   agreements, we hadn't realized that we were overpaying for

      5   employees that -- and again, they're payroll reimbursement

      6   agreements for employees that are dual-hat employees, dual

      7   employees of the Debtor and our Advisors, providing investment

      8   services.    And there's a list or exhibit that shows the number

      9   -- the actual employees with their names and the allocations

     10   of their time.    And so two-thirds of those employees, when we

     11   realized or saw the list or received the list on the exhibit

     12   in the agreement, which was around the end of November or

     13   early December, two-thirds of them are no longer employed by

     14   the Debtor.    And we continue -- and they continue to bill us

     15   based on historical averages, not based on the actual amounts.

     16        So we inquired of that, we asked for email --

     17   Q    Let me -- let me pause you.

     18   A    Oh, sorry.

     19   Q    Let me pause you.

     20   A    Yeah.

     21   Q    Let me pause you.    So, during the negotiations with the

     22   Debtor in December, January, and February, did you ask for any

     23   kind of clarification or reconciliation of these amounts?

     24   A    Yeah.    So, on multiple occasions, we asked for the detail

     25   of what they were invoicing us for, and then, in particular,




                                                                    Appx. 02416
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                                  Norris - Direct                       120


       1   in late January and again a couple times in February, I asked

       2   multiple employees for reconciliation.     Two reconciliations.

       3   One was a reconciliation of the employees that they were

       4   charging under the expense -- I'm sorry -- payroll

       5   reimbursement agreement, to the actual amounts that they

       6   charged us, and then separately I asked for a reconciliation

       7   of amounts billed to us under the shared services agreement to

       8   what they actually incurred on their end.

       9       And the rationale for the latter was because the expense

      10   reimbursement -- or, sorry, the shared services agreement for

      11   Highland Capital Management Fund Advisors is actually a cost

      12   plus a margin of five percent.   So they are to charge us what

      13   their costs are plus a margin of five percent, yet they

      14   continue to bill us the same amounts based on historical

      15   averages.

      16       And so the amounts in dispute were particularly in the

      17   last few months, where those amounts hadn't changed and where

      18   we raised this concern.

      19   Q   Did you get a response or a reconciliation from the Debtor

      20   on these overpayment issues?

      21   A   No.

      22   Q   Okay.   Now, when did you become -- well, you heard Mr.

      23   Dondero say that he delegated the primary responsibility for a

      24   transition of services to you, correct?

      25   A   Yes.




                                                                    Appx. 02417
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                                   Norris - Direct                       121


       1   Q    When was that?

       2   A    Yeah.   So, January -- in mid-January, I became very

       3   involved.    I had less of authorization prior to that.    I was

       4   involved in some of the negotiations on contracts and things

       5   like that in early December.    Had a meeting with Debtor

       6   employees on that, and that they had been working on for

       7   months, along with Mr. Sauter.    Mr. Sauter had taken more of

       8   an active role prior, in December and October and even

       9   September, and before -- before all that.

      10        So, in January, mid-January, they actually came to me on

      11   January 12th with permission from Mr. Seery to interact

      12   directly with me and to negotiate the additional terms of the

      13   transition with me.   And Jim authorized me at that time to

      14   move forward.

      15   Q    Okay.   Did you discuss with Mr. Seery whether you would be

      16   permitted to talk to Debtor employees as part of this?

      17   A    So, I did not talk to Mr. Seery, but I talked to J.P.

      18   Sevilla, Brian Collins, David Klos, and Frank Waterhouse, who

      19   they had told me explicitly that Mr. Seery had authorized them

      20   to negotiate with me.

      21   Q    Okay.   Was there some impediment prior to that

      22   authorization to being able to discuss Newco issues with the

      23   Debtor's employees?

      24   A    So, there were a number of things.    And as this Court is

      25   very well aware, that three weeks prior to that, there were a




                                                                     Appx. 02418
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                                   Norris - Direct                      122


       1   number of events.   There was a TRO for Mr. Dondero and our

       2   Advisors, there was a preliminary injunction for Mr. Dondero,

       3   and there were claims of interference.     And we took a very

       4   cautious approach and didn't want to interfere in any manner.

       5   And so in these regards, and in many, I mean, everyone was

       6   very cautious.   And so those were -- those were steps that it

       7   was challenging.

       8        In addition, I should note that Mr. Scott Ellington was

       9   helping the Debtor and negotiating this transition agreement

      10   before he was let go in early January.

      11        And so with all those events, we had to take a more

      12   cautious approach to communication.

      13   Q    Okay.   And approximately when did Mr. -- did the Debtor,

      14   to your satisfaction, authorize direct interaction with the

      15   employees so that you could negotiate a more fulsome

      16   agreement?

      17   A    Yeah.   It was when they called me on January 12th --

      18   Q    Okay.   And is it fair to say --

      19   A    -- and notified me of that.

      20   Q    Is it fair to say that that's the date when the

      21   negotiations really got going?

      22   A    Absolutely, yes.   Yeah.

      23   Q    Okay.   Did you ever ask the Debtor for a draft agreement

      24   or term sheet or whatever you want to call it as far as a

      25   transition of services would be?




                                                                    Appx. 02419
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                                   Norris - Direct                      123


       1   A   I did, on multiple occasions.

       2   Q   When did you finally receive one?

       3   A   So, it was on January 28th, which was the last business

       4   day of the shared services agreement term.     Sorry, January

       5   29th, a Friday.   And January 12th, we engaged, as I mentioned.

       6   We came to quick resolution on various items.     And we began

       7   asking for a term sheet.   I actually asked them whether they

       8   -- who they wanted to draft it, their counsel or our counsel.

       9   They checked with their counsel.    I thought it was a good idea

      10   and agreed that it was a good idea for their counsel to draft

      11   it, because, as they put it, this was their baby for many

      12   months.   They had -- because the Debtor employees and DSI,

      13   their consultants, had been very involved, in taking 15 months

      14   to that point, in figuring out what contracts were needed,

      15   analyzing what needed on a --

      16   Q   Let me stop you.

      17   A   -- go-forward basis --

      18   Q   Let me stop you, --

      19   A   Yeah.

      20   Q   -- Mr. Norris.    The point being, it was agreed between you

      21   and the Debtor that the Debtor would take the first stab at a

      22   term sheet, and you received that on or about January 29th of

      23   this year?

      24   A   Correct.

      25   Q   Okay.    Now, obviously, the Debtor extended the




                                                                    Appx. 02420
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                                      Norris - Direct                        124


       1   termination, first to February the 14th, and then, second, to

       2   February 19.    Correct?

       3   A    That is correct.

       4   Q    Okay.    Did the Advisors pay the Debtor for those delays,

       5   pay cash money to the Debtor for those delays?

       6   A    We did.    And we -- yes, we did.

       7   Q    Okay.    And without belaboring the point or taking any more

       8   time than necessary, the numbers that I have in my objection

       9   are that, for the first extension, we paid --

      10   A    I believe it was around $560,000.

      11   Q    Thank you.   Thank you.    And for the second extension, do

      12   you recall?

      13   A    Around two hundred -- just over $200,000.

      14   Q    Okay.    Why were those extensions necessary?

      15   A    They were necessary for multiple reasons, but it was

      16   necessary to get a transition agreement completed, and that

      17   was our goal and intent.      It was also necessary to protect our

      18   funds and our investors, to have a smooth transition.         But

      19   primarily, we were in a great spot until -- up until January

      20   29th, we hadn't received a term sheet.       So we couldn't

      21   negotiate a term sheet that was pages long, with schedules

      22   that were 10 or 15 pages long, in a day, and so we asked, in

      23   good faith, can we have an extension?        And they also were

      24   agreeable to that, and it made sense for all parties.

      25        Prior to that receiving the term sheet, though, there were




                                                                      Appx. 02421
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                                   Norris - Direct                       125


       1   concerns that we would lose those services.     They threatened

       2   to pull those services.   However, at the end, all parties

       3   agreed.

       4        And then the extension, the second extension was needed in

       5   order to continue those -- those agreements, negotiations as

       6   well, as they had pushed the termination date of the employees

       7   from the anticipated January 31st to January 19th, and so we

       8   asked that they moved the termination date of the shared

       9   services in line with the termination of the employees,

      10   because our understanding was those employees would be

      11   transitioning to a new company providing those same services.

      12   Q    Okay.   Maybe I misunderstood something because of the

      13   video nature of this, but you mentioned something like pushing

      14   the termination of the employees from January 30th to January

      15   19th.   Just for the record to be clear, because, again, I

      16   might have misunderstood or misheard, but when was the Debtor

      17   going to terminate nonessential employees originally and up to

      18   what date was that pushed?

      19   A    Yeah.   So our understanding is they were going to

      20   terminate them on the 31st of January.     They did end up

      21   receiving termination notices that said January 19th.     And so

      22   that was pushed from what our understanding was, but that was

      23   the first time I believe the employees received termination

      24   notices for the 19th.   Thereafter, after we negotiated an

      25   extension of our shared services agreement one more week




                                                                    Appx. 02422
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                                    Norris - Direct                     126


       1   before the 14th, to the 19th, the very next day they extended

       2   the termination dates to the 28th for all employees, which

       3   would extend it one week beyond the negotiated termination

       4   date for the shared services agreement.

       5   Q    Well, here's my fundamental question.    To your knowledge,

       6   was that the Debtor's separate business decision as to when to

       7   terminate employees or did you request that the Debtor extend

       8   it to February 28th?

       9   A    That was their separate business decision.     Um, --

      10   Q    That's fine.

      11   A    That was -- that was their separate business decision to

      12   extend it.    We didn't even anticipate them extending it --

      13   Q    I just want the record to --

      14   A    (overspoken)

      15   Q    I just want the -- I just want the record to be clear, Mr.

      16   Norris.     Let me direct you, please.

      17   A    Yes.

      18   Q    That that decision to extend the employee termination was

      19   not at our request?

      20   A    Correct.

      21   Q    Now, let's talk about these negotiations a little bit.     To

      22   go back to this agreement that we had other than the Dondero

      23   access issue as of last Tuesday, you agree that there was an

      24   agreement other than the Dondero access issue as of last

      25   Tuesday, right?




                                                                    Appx. 02423
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                                    Norris - Direct                      127


       1   A    Yes, that's correct.

       2   Q    Okay.    How, if at all, was the amount of money that we

       3   owed to the Debtor issue resolved between you and your

       4   counterparts at the Debtor?

       5   A    Yeah.    So, they, at the end of January, demanded that --

       6   and this was the first time that I was aware of the extent of

       7   the amounts or that they were going to include payment of

       8   past-due or disputed amounts as part of this agreement.       That

       9   came in on, I believe, January 27th.       And they demanded we pay

      10   it or they would cut off all shared services effective Friday,

      11   the 29th.    And that included our access to the -- to our

      12   websites, our domains, our emails.    It would include access to

      13   the office.    And so that was a major item.

      14        They demanded five point -- approximately $5.2 million in

      15   payments from our Advisors and a number of other entities.

      16   And so, as part of that, that was a -- that was a problem,

      17   because we can't speak for the other entities.

      18        In addition, now we were commingling a financial dispute

      19   with the peaceful transition of services.      And so that was

      20   resolved.    We agreed with the Debtor and ultimately agreed

      21   that, okay, we would pay these disputed amounts as part of

      22   this, reserving our rights for any additional -- any

      23   additional argument of that for another time, but we would

      24   agree to pay our portion, which is approximately $3 million,

      25   our disputed portion of what they were billing, with $1




                                                                     Appx. 02424
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                                    Norris - Direct                     128


       1   million up front.    They wanted it all up front, but they were

       2   willing to allow us to pay $1 million up front and the

       3   remainder over 14 months.

       4   Q    Okay.    Going back to this agreement save the one issue,

       5   how was the employee issue resolved?

       6   A    Yeah.    So, the employee issue was an important one, and it

       7   had been.    These employees had been working hard providing

       8   service for our funds and advisors for a very long time.      The

       9   plan all along was to transition them, as Mr. Seery said, to a

      10   new entity.    It would either by controlled by Mr. Dondero or

      11   by the employees themselves.

      12        And so we needed -- we need those services, right, in the

      13   long run.    And so that was resolved in that there would be a

      14   new company formed, which we've been calling Newco.     It would

      15   be employee-owned.    Initially, would be providing services

      16   exclusively to our Advisors, but then would have the ability

      17   to go out and provide the same services to other companies.

      18   And so we found that as -- from the beginning a great

      19   solution.    And the principals of what would become Newco have

      20   been interfacing with us and with Mr. Dondero regarding the

      21   combination of those services.

      22        So, as part of this agreement, the services would

      23   transition directly to Newco, with the same people providing

      24   the same services in the same seats.

      25   Q    Okay.    What about -- just so that the record is clear,




                                                                    Appx. 02425
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                                    Norris - Direct                      129


       1   there's a large corporate office over at Crescent Court here

       2   in Uptown Dallas, right?

       3   A    That's correct.

       4   Q    And the lease, obviously, just to speed things up, the

       5   lease is in the name of the Debtor, but for many years

       6   NexPoint and other employees have been on premises, correct?

       7   A    Yes.    We've been there since they opened the space.    I

       8   believe it was February 2012 when we moved there.     Maybe

       9   February 2011.    But our Advisors have been there in that space

      10   since then.

      11   Q    Okay.    So how was the future of this lease and resulting

      12   lease payments resolved as part of this tentative agreement as

      13   of last Tuesday?

      14   A    Yeah.    So, it was a 75/25 split, where the Debtor would

      15   pay 25 percent and we would pay 75 percent for the remaining

      16   lease term, which was approximately 14 months.

      17   Q    And approximately how much would our 75 percent over 14

      18   months have amounted to?

      19   A    I believe that's approximately one -- between $1-1/2 and

      20   $2 million.

      21   Q    Okay.    Now, we'll talk about this in some detail later,

      22   but there are certain third-party software and information

      23   providers -- Bloomberg, for example -- that the Debtor uses

      24   that we have access to under the agreements but that the

      25   Debtor must pay the third parties for, correct?




                                                                    Appx. 02426
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                                       Norris - Direct                      130


       1                MR. MORRIS:    Your Honor, I just object.    Again, if

       2   Mr. Rukavina wants to testify -- this is not a question.          This

       3   is testimony.

       4                MR. RUKAVINA:    Your Honor, --

       5                MR. MORRIS:    I mean, there's no foundation.    There's

       6   nothing.

       7                THE COURT:    Sustained.

       8                MR. RUKAVINA:    Okay.   Very well.

       9   BY MR. RUKAVINA:

      10   Q    Mr. Norris, does the Debtor -- or, did the Debtor provide,

      11   pursuant to shared services agreements, access to third-party

      12   software platforms?

      13   A    Yes.    They did.     There was a number of agreements --

      14   Q    Stop.    Stop.

      15   A    -- that were --

      16   Q    Stop.    Stop.   Stop.   Were these some of the things that

      17   you were negotiating with the Debtor as you were negotiating

      18   that transition of services?

      19   A    Yes.

      20   Q    Name a few of the most important of these third-party

      21   service providers that you were negotiating with the Debtor.

      22   A    Yeah.    Bloomberg, particularly the order management system

      23   of Bloomberg.     Oracle, which is an accounting system, to name

      24   a few.   Those were the most important ones.

      25   Q    Describe with some more specificity, please, what the




                                                                        Appx. 02427
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                                    Norris - Direct                      131


       1   order management system is.    OMS.

       2   A    Yeah.    An order management system is an operating system

       3   that allows you to trade various funds and asset classes all

       4   through one system.    And so we have a number of funds, we have

       5   a number of asset classes we trade, which include loans,

       6   bonds, and equities.    And so trading all of that through a

       7   system that then sorts it, allocates it, and does it all in an

       8   efficient manner -- in addition, it incorporates various rules

       9   and metrics for trading and efficiency -- so it's very

      10   customized, it's very customized for the rules related to our

      11   funds, very customized for the rules related to what we trade

      12   for our Advisors, and it's been used primarily by the traders

      13   from our Advisors or employed by our Advisors.

      14        So that's what the OMS is.    And it's Bloomberg that has

      15   the software, and it's been customized directly with

      16   Bloomberg.

      17   Q    Okay.    Did you come to an agreement with the Debtor as to

      18   how the future costs or license fees for these platforms and

      19   services would be allocated between the Debtor and the

      20   Advisors?

      21   A    We did.    It would be, for most of them, which is

      22   approximately a hundred contracts, is about -- is a 60/40

      23   allocation.     We would pay 60 percent and they would pay 40

      24   percent.     There are some of them that they said they didn't

      25   use that we agreed we would pay a hundred percent of.      But




                                                                     Appx. 02428
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                                   Norris - Direct                      132


       1   most of them are a 60/40 split.

       2   Q    Okay.   And did you calculate approximately how much in

       3   payments pursuant to that formula we would make, the Advisors

       4   would make in the future under the draft agreement?

       5   A    Yeah.   So, it is approximately $240,000 per month,

       6   inclusive of the lease.   So, exclusive of the lease, it was

       7   about $120,000 per month.

       8        In addition, there were one-time payments for annual

       9   payments, which I think was around $200,000 or $300,000.

      10        So it is a -- it's a couple million dollars over the life

      11   of the contract.

      12   Q    Okay.   And to fast forward to last Tuesday, the one issue

      13   that had not been resolved was Mr. Dondero's physical presence

      14   on the premises, correct?

      15   A    That's right.   That's right.

      16   Q    Was this a last-second issue or had this been discussed

      17   for some time?

      18   A    No, it wasn't a last-second issue.     We actually included

      19   it in our first multiple drafts or responses to their term

      20   sheet.   We got the term sheet on the 29th of January and it

      21   did not include any specifics around Mr. Dondero's access, but

      22   we added that in early drafts of the term sheet and it was

      23   removed by their counsel and reinserted in the -- I know there

      24   was discussion between counsel on various aspects of it.      It

      25   was removed from what was their final version, and maybe even




                                                                    Appx. 02429
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                                   Norris - Direct                      133


       1   the draft before that, but it was added in by us again as --

       2   for all the reasons we mentioned before.     We thought it needed

       3   to be stated explicitly in the agreement.     And the attorneys

       4   had discussed that it could be handled --

       5   Q    Let's not talk about -- yeah, let's not talk about the

       6   attorney discussions.

       7   A    Okay.

       8   Q    You heard Mr. Seery say that the Debtor refused to permit

       9   Mr. Dondero onto the premises and you heard him say why.      Did

      10   the Advisors offer any compromise on this access issue?

      11   A    We did.

      12   Q    What was that offer?

      13   A    So, we offered to -- and in all this, it's thinking, what

      14   are the employees from the Debtor that are going to be using

      15   this?   We haven't even really received a good understanding of

      16   who that is.

      17        However, we offered to take approximately 25 percent of

      18   the office.    And there is a clear area where we could build a

      19   wall.   They could have their own separate access, their own

      20   separate restrooms, their own separate entrance, where they

      21   wouldn't have any involvement or connection to us.     And so we

      22   also offered with that, whenever you need access to the other

      23   portion, let us know.   We can even have Jim Dondero leave, if

      24   you're concerned.

      25        And so that was one option.   We could build a wall.    And




                                                                    Appx. 02430
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                                       Norris - Direct                         134


       1   we even put that in the written agreement.         We will build a

       2   wall at our expense.        That was the -- that was the -- what our

       3   offer was.

       4   Q    How did the Debtor respond to that offer?

       5   A    They removed it from the agreement and they told us that

       6   we had until 6:00 p.m. to sign their agreement with no Dondero

       7   access or they would file a lawsuit.

       8   Q    And this was last Tuesday?

       9   A    This was Tuesday.

      10   Q    Okay.    Were you able to respond by their deadline, which

      11   they -- then they later moved to midnight of that same day?

      12   A    I'm not sure if there was a response.         It was handled

      13   between attorneys.     Our counsel.     I had -- just as Mr. Dondero

      14   stated, I had rolling blackouts in my home from 2:00 a.m. on

      15   Monday until Thursday.       I -- I and D.C. were aware of the

      16   offer, as was our counsel, and I believe there was a -- and I

      17   believe there was a response from our counsel in time, but I'm

      18   not -- I wasn't certain at the time.          I knew that, as well,

      19   there was an extension, but I didn't find out until the next

      20   day because I did not have power.

      21   Q    And ultimately, the Debtor either rejected that last offer

      22   or let the offer expire by not accepting it.         It doesn't

      23   matter which.     But is that accurate?

      24                MR. MORRIS:    Objection to the form --

      25                THE WITNESS:    Yes.




                                                                        Appx. 02431
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                                       Norris - Direct                       135


       1                 MR. MORRIS:     -- of the question.

       2                 MR. RUKAVINA:    Your Honor, I'll ask it a different

       3   way.

       4                 THE COURT:    Sustained.

       5                 MR. RUKAVINA:    I'll ask it a different way.

       6   BY MR. RUKAVINA:

       7   Q      Did the Advisors accept the Debtor's last offer made on

       8   Tuesday of last week, the one you just referenced?

       9   A      No.

      10   Q      Why?

      11   A      As explained, I think, clearly by Mr. Dondero as well, it

      12   did not have the provisions that we thought necessary.          And

      13   when you think about this, we were going to be required to pay

      14   significant dollars for an office space where our president

      15   and principal was not permitted.

      16          We had an option to go other -- elsewhere, right?        Here,

      17   we're in a separation experience.         This agreement that they

      18   had, they had told us early on it was fill-or-kill.           They told

      19   us early on that it was not a la carte.         When we pushed them

      20   on that a couple weeks later, they said, well, the only thing

      21   that's not negotiable is the office, right?         If you want

      22   everything else, you've got to have the office.        That was in a

      23   discussion with various attorneys on the phone.

      24          And so, with this, we knew this was a kind of take-it-or-

      25   leave-it offer, and we could have gone elsewhere.         And we had




                                                                         Appx. 02432
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                                    Norris - Direct                     136


       1   already been preparing, in the event that we couldn't have a

       2   deal, to go elsewhere.    And so, with that, if they were not

       3   going to permit -- which we thought was very reasonable,

       4   specifically with all of the additions, you know, the

       5   consideration -- sorry, my battery is about to die on my

       6   computer.   I'm plugging in the charger here.

       7        So, with all of those considerations, we couldn't sign

       8   that deal, especially as -- without that key access.

       9   Q    You personally, Dustin Norris, now, personally, as an

      10   officer and a fiduciary, did you think that it was appropriate

      11   or inappropriate that Mr. Dondero be allowed on the premises

      12   in the future?

      13   A    I thought it would be appropriate for him to be there.

      14   Q    Why?

      15   A    So, I've been working for Mr. Dondero for a long time.      I

      16   know the way he operates, and I know that the way that he

      17   manages his organization, which is a complex organization, he

      18   needs to be there in person.    We haven't been in the office

      19   because of a -- a disregard for COVID.     We are an essential

      20   business, and we have been, as a financial services business.

      21   But the way we operate is very in-person, and that's how Jim

      22   operates.

      23        In addition, I've never heard of a situation where the

      24   principal or the control person of a company -- there's no

      25   question that Mr. Dondero controls the organization -- cannot




                                                                    Appx. 02433
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                                   Norris - Direct                      137


       1   be there in person.

       2        And so, from that perspective, given and knowing all of

       3   our other plans, given the ability for many people to

       4   relocate, given the abundance of office space elsewhere, if we

       5   were forced to accept an agreement that did not allow Mr.

       6   Dondero for the next 14 months to be there in person, it was

       7   -- it was going to be a challenge for us from a business

       8   perspective.

       9   Q    Do customers or investors or prospective customers and

      10   investors come to the offices historically to meet with the

      11   Advisors and their personnel?

      12   A    Pre-COVID, yes.   Regularly.

      13   Q    Okay.   Would Mr. Dondero participate in those meetings?

      14   A    He would, yes.

      15   Q    Were you concerned that him being unable to participate in

      16   those meetings would affect future business and profitability?

      17   A    Yeah.   I think if you look at this -- key investors come

      18   in and see this big cavernous open office and ask why the

      19   manager of the funds is not even allowed to be in your office,

      20   you know, or is that impacting the way you operate, then yes,

      21   I think he needs to interact with people that are coming

      22   through the office.

      23   Q    He has not been in the office since about the beginning of

      24   this year; is that correct?

      25   A    Correct.




                                                                    Appx. 02434
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                                    Norris - Direct                      138


       1   Q    Do you feel like that has caused any harm or disruption to

       2   the Advisors' business?

       3   A    Yeah.    I don't know that I would characterize it as harm,

       4   but it has been disruption, right?    I'm -- the way that we

       5   operate, having Jim there, being able to have consistent,

       6   regular meetings in person, which for me were multiple times

       7   per day on a regular basis, and many others, it was

       8   disruptive.    Being able to reach him, how to reach him.     Do I

       9   need to get in my car and drive to another location where he's

      10   at, which I did on many occasions.    We typically get people

      11   together very quickly in groups:     Let's go talk to Jim.    And

      12   that becomes a challenge to get things done quickly and in an

      13   efficient manner.

      14        So it has been a disruption, and it's not something that

      15   we would desire to do, if we had the choice, for another 14

      16   months.

      17   Q    Okay.    Now let's talk about the backup plan, please.    I

      18   guess let's start with:    What is our backup plan?   Well, let

      19   me start with this.

      20   A    Yeah.

      21   Q    Do we have a backup plan?

      22   A    And I think the key now, instead of calling it a backup

      23   plan, is an operating plan.

      24   Q    Okay.

      25   A    For --




                                                                    Appx. 02435
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                                     Norris - Direct                      139


       1   Q      Do --

       2   A      -- several weeks, --

       3   Q      Let me -- let me -- that's a very good point.     Prior to a

       4   few days ago, did we have a backup plan in place for what we

       5   would do if we were not able to enter into a transition

       6   services agreement with the Debtor?

       7   A      We did, yes.   And --

       8   Q      Since when -- let me -- let me direct you.    Let me direct

       9   you.    Since when did we have that backup plan?

      10   A      Yeah.   So, the backup plan -- the backup plan began many

      11   months ago, but as I mentioned earlier, it began in earnest in

      12   the end of January, right?     And over the last month

      13   especially, we've been putting in place all of the required

      14   systems and processes and procedures in order to continue

      15   doing all the duties under our advisory agreements.       And that

      16   includes all of the services that are provided for the Debtor

      17   -- by the Debtor.

      18          And our backup plan, a big part of that included the

      19   transition, and it still includes the transition of those

      20   employees to Newco.     We are in active negotiations and believe

      21   that Newco, once those employees are terminated on the 28th,

      22   they will be able to perform their same duties on March 1st of

      23   this year.

      24          And so we expect those services to happen.    In the

      25   interim, we've prepared for and have contingency plans in




                                                                     Appx. 02436
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                                   Norris - Direct                       140


       1   place in order to do all that we need to do.      We have systems

       2   and servers that are set up in an SEC-compliant manner.       We

       3   are operating on a new email system.       We have our files --

       4   Q    Let's go --

       5   A    -- that are essential.

       6   Q    Let's go step by step here so that the judge --

       7   A    Yeah.

       8   Q    -- has a very clear picture of what all is involved.         So

       9   I'm going to try to break it down.    I think both you and Mr.

      10   Seery talked about back-office and middle-office services.

      11   What are those?    What does that refer to in the industry?

      12   A    Yeah.   So, back-office -- back-office and middle-office

      13   includes HR, IT.    Accounting is a big part of that back-office

      14   services.    And in regards to our funds, it is the oversight of

      15   the accounting process on a day-to-day basis and on a monthly

      16   and quarterly basis, for annual reports, for audits.      It's the

      17   day-to-day valuation services that are provided to our funds.

      18   And so those are the key functions.    It's legal and compliance

      19   as well --

      20   Q    So let's --

      21   A    -- the Debtor has been providing for our funds.

      22   Q    Let's go step by step.   So let's assume that I'm -- I want

      23   to invest in your fund.   In a retail fund, pardon me.     Am I

      24   able to pop up daily or almost instant information regarding

      25   its assets, its valuations, et cetera?




                                                                     Appx. 02437
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                                    Norris - Direct                       141


       1   A    Yes.    So, most of our --

       2   Q    Is that -- is that --

       3   A    -- funds --

       4   Q    Is that part of what you were just describing about

       5   valuation and accounting services on a real-time basis?

       6   A    Yes, it's part.    It's more of the oversight function.

       7   Q    Okay.

       8   A    We outsource the daily processing and NAV-striking, or the

       9   actual accounting, day-to-day accounting, to an outside third

      10   party called SEI.    And the Debtor had provided oversight

      11   function as well as valuation services for that daily

      12   accounting process.

      13   Q    Okay.    So the Debtor, for accounting, wasn't actually

      14   crunching the numbers every day; it'll -- supervising third

      15   parties.     And that's been the historical norm, correct?

      16   A    That's correct.    I actually --

      17   Q    Now, let's --

      18   A    -- years ago filled that function.

      19   Q    Okay.    So let's -- so how are we, the Advisors, today,

      20   compensating for the lack of the Debtor's back-office and

      21   middle-office services, or how are we transitioning from that

      22   today?

      23   A    Yeah.    So, a key part of that is the transition to Newco,

      24   right, and as well that is planned for next week.     However, in

      25   the interim, we have very good plans and processes in place.




                                                                    Appx. 02438
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                                    Norris - Direct                     142


       1   We have -- on the accounting front, on a day-to-day basis, we

       2   have added our key personnel, our accounting teams, which has

       3   been actually bulked up in recent years.     We have a number of

       4   publicly-traded REITS that have SOX-compliant processes and

       5   procedures.

       6        And the CFO of our real estate platform, Brian Mitts, used

       7   to be the principal financial officer of all of these funds.

       8   He continues to be and operates as the principal financial

       9   officer for one of them, or had been throughout all of this

      10   time, and is a participant in all of the board meetings and

      11   regular valuation processes.    In addition, he has a team of

      12   accountants.

      13        And so they are now copied on all the day-to-day

      14   accounting emails from our third-party providers.     They have

      15   been for several days.

      16        In addition, as a backup measure, we hired on a consulting

      17   basis the former senior accounting manager who worked until

      18   April of about two years ago for the Debtor, providing these

      19   same services to our funds.    And so, on a contract basis, he's

      20   there as needed.

      21        In addition, we have received from the Debtor a list of

      22   employees, if they're needed, that we could hire.     There's

      23   about seven of them in the accounting and operations

      24   functions.    They gave us permission last week to do so.   And

      25   one for valuation.




                                                                    Appx. 02439
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                                    Norris - Direct                        143


       1        So, those functions, if they're needed in the interim

       2   period before Newco is in place, we'll have those.

       3        In addition, from an IT perspective, which is an important

       4   part here, they maintain -- the Debtor maintained our systems

       5   and servers.    We have contracted --

       6   Q    Let's not -- let's not -- we'll talk --

       7   A    Yeah.

       8   Q    We'll talk about -- we'll talk about IT momentarily.

       9   A    Yeah.

      10   Q    You mentioned -- so you just discussed accounting.      What

      11   about -- and I think you -- did your discussion right now

      12   include transition of the valuation services?

      13   A    Yeah.    So, in that regard, --

      14   Q    Okay.    What about -- what about -- what about legal,

      15   transition of legal services and compliance, regulatory

      16   compliance?

      17   A    Yeah.    That -- as I had mentioned before, the services we

      18   had been receiving from the Debtor have slimmed down

      19   dramatically, and particularly around legal services.      We

      20   still had been receiving significant support from Lauren

      21   Thedford, who is a very reliable team member of the Debtor.

      22   She was also serving as an officer of the funds, of our funds,

      23   until Friday, when she resigned.       But we have in place with

      24   SEI, they provide admini... regulatory and legal admin

      25   services to us, and have all along.      They're prepared to step




                                                                     Appx. 02440
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                                    Norris - Direct                     144


       1   up in her absence.

       2         And also K&L Gates, who already serves as advisor counsel

       3   and fund counsel, is set and has been already picking up the

       4   slack and prepared to do anything that Lauren was doing.      She

       5   is a valuable team member.     We hope that as we transition to

       6   Newco that she'll be able to, as mentioned earlier, step back

       7   on as an officer of the funds.

       8   Q     Now let's talk about IT, information technology.    What

       9   services was the Debtor providing to the Advisors in the

      10   nature of IT under the shared services agreements?

      11   A     Yeah.   So, our IT equipment, our computers, our screens,

      12   were their property, or at least that's -- that's the --

      13   that's what -- it's in their name.      Not all of it, but some of

      14   it.   In addition, they provide IT support.    So if we have an

      15   IT problem, we need to call the IT guy, they provide that.

      16   They provide support for the servers.      They own the servers.

      17   They own the system.    Or at least that's what -- that's what

      18   their -- their claim is.     And so they provide all of those

      19   kind of IT functions for us, or had until this past weekend.

      20   Q     Does that include email?

      21   A     That's right.   They -- they --

      22   Q     Does that include -- hold on.

      23   A     We have a number of --

      24   Q     Hold on.   Hold on.   Does that include Internet -- does

      25   that include Internet connectivity?




                                                                    Appx. 02441
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                                    Norris - Direct                       145


       1   A    It included the Internet connections at work.     It included

       2   the phones.    It included our emails and email servers and the

       3   --

       4   Q    What about --

       5   A    -- domain that, even though they're in our names -- yeah.

       6   Q    That's what I was going to ask next.    What about domain

       7   names?   How are those handled?

       8   A    They have claimed that those are theirs as well, that the

       9   domains we use for our websites and for our emails are theirs.

      10   Q    Okay.    And what about electronic data, just a wealth of

      11   internal books and records, kind of corporate data?     Did the

      12   Debtor provide --

      13   A    Yeah.

      14   Q    -- any services with respect to that?

      15   A    Yeah.    So, they retain all of the data that we use on

      16   their networks and servers, and all of that is stored on

      17   shared drives and on their system or on the computers that are

      18   owned by them.    And so even though they're our books and

      19   records, I believe you read earlier the provisions of the data

      20   provision, and so that is all stored on their systems.

      21   Q    Okay.    So we just kind of discussed the universe of the IT

      22   services that the Debtor provided.    Did we miss anything or is

      23   that kind of the stuff that really matters?

      24   A    I think that -- I think that covers the --

      25   Q    Okay.




                                                                    Appx. 02442
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                                  Norris - Direct                       146


      1   A    -- the main items.

      2   Q    How is that being handled by the Advisors today, or how is

      3   that -- or has it been transitioned from the Debtor?

      4   A    Yeah.   So, largely, we are handling it on our own and

      5   through a third-party provider.     So, we have bought and

      6   purchased our own domain names.    We've transitioned our emails

      7   to those new domain names.    We have made copies of our data,

      8   or a lot of our data.     There's still some stuff we need.   But

      9   our essential data.   And we have transitioned to a new server

     10   and systems that are -- that are secured and perform through

     11   this third party who does this for a number of asset managers,

     12   for endowments.   And the way he has set it up is in an SEC-

     13   compliant matter.   So, dual authentication.    All of the things

     14   that you would expect from a security standpoint are in place.

     15   And we are operating starting on -- we were mirroring for a

     16   couple weeks, but on our own beginning on Saturday, when the

     17   shared services were terminated, and have been sending those

     18   emails from those -- the new systems and servers.

     19   Q    So that was going to be my next question.     Is it that we

     20   just did this (snaps fingers) Saturday like that, or did we

     21   actually have a mirroring in place for quite some time?

     22   A    Yeah, we have for -- been working on this for multiple

     23   weeks with the outside IT service provider, and it's been done

     24   in phases.   And so we've been -- we had a certain small

     25   portion of the people start early, they tested it out, and




                                                                    Appx. 02443
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                                    Norris - Direct                      147


       1   then we rolled it out more broadly over the last couple of

       2   weeks.

       3   Q    Who is that third-party IT provider?     What was that --

       4   A    Siepe.

       5   Q    Is that -- that's not proprietary information, is it?

       6   A    It's not.

       7   Q    Okay.    Who is the third-party provider?

       8   A    It's Siepe.    And they're a outsource --

       9   Q    Well, let me -- let me -- let me --

      10   A    -- provider --

      11   Q    Let me --

      12   A    Yeah.

      13   Q    Let me direct you.    Will you please spell Siepe?    I'm not

      14   even sure how to spell it.    And then tell the Court what Siepe

      15   is and what it does.

      16   A    Siepe, it's S-I-E-P-E, and I believe it's Italian for

      17   hedge, and they are an outsourced IT and IT development

      18   provider.     And it was actually started by a former member of

      19   -- a former employee of Highland about a decade ago, I

      20   believe.     He spun out and created his own firm.   And they do

      21   this for a number of asset managers, including for Highland.

      22   So they understand our systems.    They understand their

      23   systems.     They're intimately familiar with what we need.

      24   They've been servicing our Advisors for years and have created

      25   a lot of the connections that we have with outside service




                                                                     Appx. 02444
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                                   Norris - Direct                       148


       1   providers.

       2   Q    This ain't their first rodeo?

       3   A    No.   I would think -- it would be -- have been challenging

       4   to do it without Siepe, and -- but they were able to execute

       5   very quickly because they knew and were already operating with

       6   us for years.

       7   Q    So can investors, clients, in these funds today get on the

       8   Internet and get whatever information they were able to get a

       9   week ago, can they still get that today regarding their

      10   investments?

      11   A    Yes, they can.   And I would add one other thing here,

      12   important, is the investors, all of their books and records

      13   and the data related to our advi... to our funds, the

      14   accounting data and the client data, are held at third

      15   parties.   So we have a third-party transfer agent that has all

      16   of the information on client records.      That is -- they don't

      17   come to us for their client statements.     They go to our

      18   transfer agent.

      19        In addition, our accounting functions, those data and

      20   files are all on their systems.

      21        And so as far as we're talking about data and what they

      22   can come to us, they never come to us for their systems and

      23   their data.    If they want to know what the value is, they can

      24   go to   Morningstar.com or Yahoo Finance and see daily the

      25   pricing of our funds, which are published daily, even




                                                                    Appx. 02445
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                                     Norris - Direct                         149


       1   yesterday, published there for them.        But their actual client

       2   data is held at third-party administrators.

       3   Q   The point being, do you, other than maybe a change in the

       4   email address, the point being do you think that investors or

       5   clients or customers are even aware of the transition away

       6   from the Debtor in the last few days?

       7   A   Based on business interaction --

       8               MR. MORRIS:    Object to the form of the question.

       9               THE COURT:    I'm sorry, was there an objection?

      10               MR. MORRIS:     There is an objection.   To the extent

      11   the question is asking for what other people think or believe

      12   or perceive, I think that's improper.       No foundation.

      13               THE COURT:    All right.   I sustain.

      14   BY MR. RUKAVINA:

      15   Q   Have you received any complaints from investors or

      16   customers or clients in the last few days about their ability

      17   to do anything with respect to their investments?

      18   A   Not that I'm aware of, no.

      19   Q   Okay.

      20               THE COURT:    All right.   Mr. Rukavina, it's about

      21   1:00.   How many more minutes do you have?

      22               MR. RUKAVINA:    I don't think I have more than ten

      23   minutes, Your Honor.      Fifteen minutes, tops.

      24               THE COURT:    Okay.   Well, we need to take a lunch

      25   break, so we're just going to break here.       It is 1:00 o'clock.




                                                                        Appx. 02446
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                                     Norris - Direct                        150


       1   I'm advised that my 1:30 matter is going to take maybe ten

       2   minutes.    So we will convene -- let me get a clarification.

       3        If we reconvene at 1:45, Mike, do we need to hang up?        Do

       4   we need to terminate this and --

       5               THE CLERK:    Yes.    We need to terminate this because

       6   she's already gotten one set up at 1:30, the other one.

       7               THE COURT:    Okay.

       8               THE CLERK:    So they could probably just call in to

       9   that one.    We just need to get them the information.       Let me

      10   see if I can contract Traci, see what the best way.        Because,

      11   like I said, we've already got one for them.

      12               THE COURT:    Okay.

      13               THE CLERK:    So this one is going to end.

      14               THE COURT:    All right.    So just stay, I guess,

      15   connected.    Is that what you're saying?

      16               THE CLERK:    Yes, stay connected.

      17               THE COURT:    Yes, stay connected.    We'll come back at

      18   1:45.   And my staff will let you know if by chance we need to

      19   terminate this and reconnect.         But I think you can just stay

      20   connected.    Operate under that assumption for now.

      21        All right.   So I will see you at 1:45.

      22               MR. MORRIS:    Thank you, Your Honor.

      23               THE CLERK:    All rise.

      24               MR. POMERANTZ:   Thank you.

      25        (A luncheon recess ensued from 1:01 p.m. to 2:14 p.m.)




                                                                       Appx. 02447
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                                       Norris - Direct                        151


       1                THE COURT:   Mr. Rukavina was examining Mr. -- I was

       2   about to say Dustin -- Mr. Norris.          So, are you ready to

       3   proceed, Mr. Rukavina?       You said you had a few more minutes.

       4                MR. RUKAVINA:    Your Honor?    Pardon me.   Your Honor,

       5   I'm ready.     Mr. Norris, can you hear me?

       6                THE WITNESS:    Yes, I can.    Thank you.

       7                THE COURT:   All right.   Mr. Norris, I'll remind you

       8   you are still under oath from your prior swearing in.

       9        All right.    You may proceed.

      10                THE WITNESS:    Thank you.

      11                        DIRECT EXAMINATION, RESUMED

      12   BY MR. RUKAVINA:

      13   Q    Mr. Norris, I think before we broke we rounded off a

      14   discussion about the previously backup/now-operational plan

      15   for IT and electronic data.       I'd like to move on now to office

      16   space.

      17   A    Okay.

      18   Q    What is the current status and plan for the Advisors to

      19   have office space, both for their current employees and for

      20   the Newco employees?

      21   A    Yeah.    So, from our perspective, we've been in talks with

      22   an organization that's willing to sublease a space that is

      23   approximately -- close to our current space.         And that is the

      24   current plan.

      25        In the interim period, all of our employees are working




                                                                        Appx. 02448
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                                      Norris - Direct                        152


       1   remotely, and are doing so without any major issues.          They're

       2   able to -- in this COVID environment, fortunately, there are

       3   systems and processes that have already been built out and

       4   we've been able to transition to that without any issues.

       5   Major issues.     Without any major issues.

       6   Q    Is there any temporary office space available this week

       7   for, you know, meetings or anything that might have to happen

       8   in-person?

       9   A    Yeah.    So, I'm actually sitting in a temporary office

      10   space for a meeting.       A company we have a relationship with is

      11   allowing -- and -- office space here.

      12   Q    Okay.    What about hardware, like computers, routers, all

      13   of that stuff you testified earlier, most of which was the

      14   Debtor's property that I'm taking it we left on the Debtor's

      15   premises when we vacated Friday?        What's the status of --

      16                MR. MORRIS:    Your Honor, objection.   Again, I don't

      17   know what the testimony is and the references to "we".

      18   There's no -- there's no evidence in the record that anything

      19   was left behind.     There's no evidence of any of this.

      20                MR. RUKAVINA:    I'll start again, Your Honor.

      21                THE COURT:    All right.   Sustained.

      22   BY MR. RUKAVINA:

      23   Q    Mr. Norris, you've heard Mr. Dondero testify or Mr. Seery

      24   testify that the employees of the Advisors that were onsite at

      25   Crescent Court vacated.       Did you hear that testimony?




                                                                        Appx. 02449
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                                    Norris - Direct                      153


       1   A    Yes.

       2   Q    Is that accurate testimony?

       3   A    That is accurate.   We all moved out by the end of day on

       4   Friday.

       5   Q    That's Friday, the 19th of February?

       6   A    Correct.

       7   Q    Did any employees, to your knowledge, or did you see

       8   anyone take any equipment, machinery, et cetera, that was not

       9   property of the Advisors?

      10   A    Yeah.   So, we were informed that we would have access to

      11   the systems, as they testified to earlier, until today.       So we

      12   held onto those.   They never told us they needed our laptops.

      13   They never told us to leave our stuff, or their stuff.       And so

      14   we're prepared to provide those and return those.      And we are

      15   actually operating now independent of those IT resources,

      16   being laptops, et cetera, and screens.

      17        So, there were a number of laptops that were assigned to

      18   us that we purchased just in the last few months, about 15 of

      19   them.   A number of screens as well.   We took those, and those

      20   continue to be used.

      21        For essential personnel, we had, over the last several

      22   weeks, purchased additional laptops.       As you know, laptops --

      23   you may know laptops are in short supply, and so we ordered

      24   them for the essential people that did not have a computer at

      25   home, so that they could be operating.       Those were outfitted




                                                                     Appx. 02450
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                                    Norris - Direct                       154


       1   and ready, many of them picked up last week, some picked up

       2   this morning.    And those that didn't have a laptop ready, we

       3   ensured that they had home access and are able to log in

       4   through the cloud.    So, all of our systems are hosted by AWS,

       5   which is an Amazon system, set up so that we can remote login

       6   through a VPN connection.     So, our employees are able to

       7   access their email and our systems through there.

       8   Q    Okay.    To the extent any of the Advisors' employees are in

       9   possession of computer equipment that belongs to the Debtor,

      10   will that be returned promptly?

      11   A    Yes.    As they request it, it will be, yes.

      12   Q    Okay.    Have the Advisors offered to purchase for cash

      13   money those used laptops and other equipment?

      14   A    We have, yes.

      15   Q    Did the Debtor accept?

      16   A    It was part of our, as we referred to earlier, a slimmed-

      17   down proposal over the weekend, which was very minimal, and it

      18   included the laptops.    And we offered a sum for that, and the

      19   OMS system.     The sum we offered was $300,000, and we also

      20   offered to take one hundred percent of the OMS invoice going

      21   forward, and offered the Debtor to continue using that, as we

      22   know they -- we believe they may or may not need use for it.

      23   But we offered that over the weekend, and they simply

      24   responded with, We don't even know why you need this.     And the

      25   answer was their offer was still on the table, with no access




                                                                    Appx. 02451
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                                    Norris - Direct                       155


       1   to Jim, and the whole agreement.

       2   Q    So, the Debtor wouldn't negotiate on an a la carte

       3   purchase?

       4   A    No.    We offered, actually, last Thursday as well, once we

       5   had received the -- kind of the -- Wednesday or Thursday, I

       6   can't remember the exact date, after the court filing had been

       7   made, for a small, very slimmed-down, which was primarily the

       8   OMS and certain data items, which they came back with some

       9   counters which weren't workable.    And then again, throughout

      10   the weekend, I worked all day Saturday.     They said they would

      11   be willing to consider a slim-down, but send them an

      12   agreement, and -- something that Jim Dondero had explicitly

      13   agreed to.    And we spent all day, discussed with Jim, and sent

      14   them to them Sunday morning, to which they -- they did not

      15   agree to.

      16   Q    Okay.   Did they counter, or did they just say no?

      17   A    I think that the -- the counter was the offer from Friday,

      18   and I can't remember which one it was.     But there was a

      19   counter, but it was not what Jim had authorized.

      20   Q    Okay.   Let's move onto the third-party software that we

      21   discussed before, Bloomberg, OMS, or Oracle.     What is the

      22   current status of that vis-à-vis our transition plan?

      23   A    Yeah.   So, from a trading perspective, trading has been

      24   done outside of OMS in the past, right?     And if you look at --

      25   it's not as easy.    There's also -- so, we have a manual




                                                                    Appx. 02452
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                                    Norris - Direct                        156


       1   process in place that we're able to, and that we've tested,

       2   that we're able to perform from a trading perspective, where

       3   our traders interface directly with the brokers, where they're

       4   able to manually input the trade.     They're able to be

       5   communicated to our custodians and our accountants, and then

       6   that is able to be settled manually.

       7          So, that's not ideal.   We would like to have an order

       8   management system.    That said, I know there's discussions with

       9   the Debtor, more employees of DSI, about getting copies of

      10   their OMS for the data that is ours within the OMS, or

      11   allowing us to get that data in order to actually enter into

      12   an agreement separately with Bloomberg, which we've been

      13   discussing with Bloomberg.     And Bloomberg is willing, with

      14   their approval, to get that copy and set it up without any

      15   setup fees for us, and we would have a new instance of that

      16   OMS.

      17          Separately, there are some other free off-the-shelf OMS

      18   solutions that our outside service providers have said they

      19   can quickly implement.    And so it's just determining based on,

      20   really, the events today, and the discussions going on on the

      21   OMS, what our path forward is.     But we have a plan, which

      22   we're executing on, to execute trades.

      23          As the Debtor said, they are still providing access to our

      24   -- their systems through the end of the case today.     And I

      25   think, as Mr. Seery said, there's -- they still see trades




                                                                      Appx. 02453
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                                   Norris - Direct                      157


       1   going through the system.      That's at their goodwill, and I

       2   think that's great.

       3        But the OMS is an area of continued focus.     Again, we have

       4   a plan to go forward or without it, but ideally we would have

       5   a smooth transition there.

       6   Q    So, if the OMS purchase -- the OMS system can't be

       7   purchased from the Debtor, you mentioned a potential agreement

       8   with Bloomberg where a new OMS system would be purchased or

       9   built?   Or explain more what you mean by that.

      10   A    Yeah.   So, Bloomberg has -- and this is their software,

      11   the order management system through Bloomberg -- but it has

      12   been highly customized over many years and has our historical

      13   data in there, our rules, our Advisors' rules set up that we

      14   use for trading.   And so it would take several months for us

      15   to go in and code exactly how we would like it.     However, my

      16   understanding is there's a backup where Bloomberg, with the

      17   authorization from the Debtor, could transfer the underlying

      18   data and setup.

      19        Or alternatively, like I said, we offered over the weekend

      20   to pay them a monetary sum to take over the Bloomberg

      21   contract, and not just the OMS, but others that I think it was

      22   approximately $450,000 a year in ongoing costs we would take

      23   one hundred percent of and still provide them access.

      24   Q    Access for a fee or access for free?

      25   A    Free.   Free of charge.




                                                                    Appx. 02454
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                                   Norris - Direct                        158


       1   Q    Okay.   So just so that the judge knows, are we able to

       2   execute trades today?

       3   A    Yes.

       4   Q    Will we be able to execute trades tomorrow?

       5   A    Yes.

       6   Q    Will we be able to execute trades into the future until we

       7   either purchase or develop an OMS electronic system?

       8   A    Yes.

       9   Q    And in the meantime, it's being done manually, I think you

      10   said?

      11   A    Yep, manually.

      12   Q    And do you have confidence that the manual system is going

      13   to be safe and accurate?

      14   A    I do.   There's -- there is multiple people involved.

      15   They've actually run tests -- not test trades, but actual

      16   trades, over the last couple of weeks through this system.

      17   And our trader has been trading for over two decades, and this

      18   is a system he used years ago before we put in place the OMS.

      19   There is some --

      20   Q    Stop, stop, stop, stop, stop.    What system did he use

      21   years ago?    I want you to be specific.

      22   A    This manual system --

      23   Q    Okay.

      24   A       -- that we're using today.   We call it manual. It's a

      25   direct with -- with a process that we used previously.




                                                                    Appx. 02455
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                                     Norris - Direct                     159


       1   Q    Okay.   Thank you.   I just wanted that clarification.

       2        Do we have -- the Advisors, that is -- do the Advisors

       3   have insurance in place for whatever it's called in your

       4   business, but for basically messing up a trade?      Whether it's

       5   professional negligence or O&E or whatever it is.      E&O.

       6   A    Yes.    Our funds have insurance that is through ICI, which

       7   is a -- they do this specifically for investment companies.

       8   So, we have a -- I think it's an errors and omissions

       9   insurance that covers, for example, if there was a NAV error.

      10   A NAV error is if a fund made a mistake.      In addition, we have

      11   NAV error correction policies, where, if it's the Advisors'

      12   fault, then the Advisor would have to kick in.      But the

      13   Advisor has insurance as well, as well, to cover things of

      14   that nature.

      15   Q    What's the policy limit?

      16   A    I believe it's $5 million.    I'm not certain, but I believe

      17   it's $5 million.

      18   Q    Okay.   So, over the course of the last several questions,

      19   I've gone through kind of various processes and services that

      20   the Debtor used to provide.     Have I missed anything big-ticket

      21   that you feel is of importance?

      22   A    As far as essential items, no.    There are some smaller

      23   items like HR, which is recruiting and hiring, those types of

      24   smaller things.    Cash management, communicating with

      25   custodians, where those are smaller, minor items, but aren't




                                                                     Appx. 02456
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                                    Norris - Direct                      160


       1   -- we're able to cover internally but you didn't mention in

       2   particular.    But those are -- those are the big items.

       3   Q    And do you have confidence or a lack of confidence that

       4   your backup plan, now the operating plan, is going to succeed?

       5   A    I do.    It's not the path that we all wanted to go down,

       6   right, as we wanted to have a transition.     We wanted to have

       7   all these systems and software, as evidenced by trying again

       8   to have the Bloomberg OMS through the weekend.     It's not going

       9   to be perfect, but I feel like we have everything in place to

      10   do the job that we're required to do.

      11        And we've tried to put in place, you know, controls to

      12   mitigate risks wherever possible, and so I feel confident in

      13   the plan.    I've spent weeks and weeks losing sleep,

      14   coordinating, you know, stressing over these items as a backup

      15   plan, in addition to trying to negotiate an agreement.      I've

      16   had a team of senior people across our firm who are from each

      17   area of our firm.    I have spoken with Debtor employees to

      18   consider what additional risks do we need to consider.      And so

      19   I think it's been very well-thought-out.     And I mentioned the

      20   last several weeks, that was when, again, when it became an

      21   earnest necessity to ensure we had something.

      22        Prior to that, you know, in December and November, we

      23   received a list of all agreements.    We reviewed a list of all

      24   of our agreements, all the Debtor's agreements.     And so we

      25   were thoughtful already then what we needed.     And so as we had




                                                                    Appx. 02457
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                                    Norris - Direct                      161


       1   to then execute quickly, we knew exactly what was necessary

       2   and what the Debtor was providing us.      And so, as well, with

       3   this transition agreement, there's about a hundred or so

       4   services in there, and discussing what were essential and what

       5   were not, what we could enter into by ourselves and what we

       6   couldn't.    And almost every one of them we could have entered

       7   into ourselves.    We would have loved to -- and I think we

       8   would have had a cost savings, and it would have been a

       9   benefit to them -- to reach this broad agreement, but for the

      10   one remaining issue that neither Jim would approve.

      11        So, we tried.    We went through the, as I said earlier, a

      12   thousand line items.    We negotiated, I believe, in good faith

      13   all along the way.    Whenever -- an ultimatum was given to us

      14   on Tuesday.     I continued pushing all the way through Friday,

      15   all the way through the weekend, and this is what I wanted.

      16   But along the way, we were preparing in every way for the

      17   backup, because I have '40 Act registered mutual funds, I have

      18   a board who's demanded it, and we were trying in every way to

      19   be able to continue these services in the event that HCMLP

      20   would no longer provide them.

      21   Q    I think we've established that the Debtor will be

      22   terminating the employees, some employees as of February the

      23   28th.   Do you expect to hire those employees through Newco

      24   come March 1?

      25   A    Yeah.    So, to make an adjustment there, there are about




                                                                    Appx. 02458
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                                   Norris - Direct                      162


       1   eight to ten employees that are investment professionals that

       2   we would need to hire directly at our Advisor.     Earlier on in

       3   the process, there was a question of whether we hire all

       4   employees directly, whether Newco hires them, whether Newco is

       5   owned by Jim or whether it's an independent business.      The

       6   current plan, which has been the last couple of months, is

       7   that Newco would be independent, they'd be run by an

       8   independent management team.    We would -- we would be --

       9   provide -- providing them or entering into a shared services

      10   agreement.

      11        And so our full understanding and expectation is that

      12   those employees for Newco will be hired or anticipated to be

      13   hired after they're terminated on the 28th.     All of that, I

      14   know, is in negotiations, but I believe that is what the

      15   Debtor is willing to do, and that those eight or ten employees

      16   will be hired by us once they're terminated.

      17   Q    So, approximately how many employees, through Newco or

      18   directly, do you expect to hire on or about March 1?

      19   A    I think there's approximately fifty or so.     I know that

      20   the Debtor is considering adding, I believe, somewhere around

      21   five to ten employees, or taking those.     I think we have -- we

      22   have not heard or been told.    We've been asked -- we've asked

      23   several times.   They haven't told us who those employees are.

      24   But I think we have a pretty good idea.

      25        But at this point, we think that the majority of the




                                                                    Appx. 02459
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                                   Norris - Direct                      163


       1   people providing services to us in the back office and middle

       2   office, again, because they'll want -- I believe they'll want

       3   or are going to be handful of front-office people that help

       4   with private equity and winding down those assets.     But the

       5   bulk, if not all, of the back-office personnel will transfer

       6   over to Newco, with a handful of the investment professionals

       7   to us.

       8   Q    Do you have any concern or is there anything outstanding

       9   that would give you concern that that will not happen on or

      10   about March 1?

      11   A    I sure hope it does, but one thing that may cause me --

      12   maybe the only thing that may cause me concern is they have

      13   twice moved back or maybe three times moved back the

      14   termination dates.    Now clearly know that our plan is to

      15   involve Newco and all those employees to continue providing

      16   services.

      17        In the event that happens, we're prepared to continue.

      18   The items that we're covering in the interim period are the

      19   essential items.    There's a number of services that -- that

      20   Newco would provide that are not essential for the operations

      21   of our funds.    They include things like tax services for our

      22   advisor or the books and records of our advisor, like the HR

      23   recruiting services.   You know, those could wait, or we could

      24   contract them elsewhere.

      25        And so -- but I do hope -- and our -- we don't anticipate




                                                                    Appx. 02460
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                                   Norris - Direct                      164


       1   any disruption here.   I know that they've said that Newco can

       2   hire whoever they want.   I think that that's going to be

       3   smooth and orderly.

       4   Q    Well, so let me ask, let me ask -- I'm down to two or

       5   three more questions, but let me ask a worst-case scenario

       6   question.    Come tomorrow or come Friday, you realize that you

       7   can't do OMS manually; for some reason, the Debtor doesn't

       8   release its employees; all of your planning turns out to have

       9   been inadequate, and essential functions are not able to get

      10   done:   Are there third-party providers that could immediately

      11   step in and provide basically every service that the Debtor is

      12   currently providing to the Advisors in such an event?

      13   A    There are.   I think the trading -- I think we have a good

      14   plan.   But to your point, your promise, if we couldn't pull it

      15   off or there were issues, you can outsource trading.     You can

      16   outsource that.    It's not a turn-on-the-switch, but we do have

      17   and have had discussions with service providers there.

      18        In the end, if Newco didn't work out, there are other

      19   service providers, which I know that people in our team and

      20   the Debtor have talked to, to provide outsourced accounting

      21   oversight.    There are -- there's multiple options.   We just

      22   have not --

      23   Q    So is it fair to say, is it fair to say that you have

      24   currently a Plan B to your Plan B?

      25   A    Yeah, well, there is, yes, but I feel very good about our




                                                                    Appx. 02461
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                                   Norris - Direct                       165


       1   current Plan B that we've implemented, to the extent I don't

       2   think we're going to need that.     But if there is a lack of

       3   cooperation for some reason, we do have other options to

       4   outsource those services.

       5   Q    Okay.   My final question --

       6   A    Again, I don't anticipate -- I don't -- I don't -- I don't

       7   think that's going to be the case, but --

       8   Q    My final question, Mr. Norris.    This backup plan and now

       9   the operational plan that you have, was it in any way

      10   motivated, sped up, anything by the filing of this lawsuit?

      11   A    No.   I think one thing the finalization -- the filing of

      12   the lawsuit did was make us realize that the backup plan we

      13   had been working on was absolutely needed.      I felt very good

      14   about where we were at that point, and we were prepared to

      15   move forward.

      16        It did change that I, over the next six days, me and

      17   several other of the critical employees that have been working

      18   on the backup plan would be involved in preparing for this

      19   exact situation.   Instead of continuing those discussions, I'd

      20   rather be boots on the ground, dealing with my employees, the

      21   senior management team and everyone else.      Luckily, you know,

      22   after my deposition, before my deposition yesterday, I was

      23   involved in how is everything going.       We had checkpoints and

      24   touchpoints.    We had calls in the afternoon.

      25        Fortunately, there were no significant issues, but there




                                                                     Appx. 02462
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                                      Norris - Direct                      166


       1   were a lot of minor issues.       There were things that needed to

       2   be approved or people had questions.         But that, I think, is

       3   the only thing that changed here.       It's -- we had to -- now we

       4   knew that, okay, they're going to pull the plug because of

       5   this.

       6       At that point, I was not expecting that really to happen

       7   at that point, that that would be the issue.

       8   Q   Well, Mr. Norris, --

       9   A   But luckily, we had planned for it.

      10   Q   Mr. Norris, if an allegation is made that it was the

      11   filing of this lawsuit that somehow spurred us into taking our

      12   responsibilities seriously, would you agree with any such

      13   allegation?

      14   A   No.   I would disagree.

      15   Q   Thank you.

      16               MR. RUKAVINA:    I'll pass the witness.

      17               THE COURT:   All right.    Mr. Morris?

      18               THE WITNESS:    I can't hear you.    I think you might be

      19   on mute, Mr. Morris.

      20       (Pause.)

      21                               CROSS-EXAMINATION

      22   BY MR. MORRIS:

      23   Q   Got it.     Can you hear me now?

      24   A   I can, yes.

      25   Q   Okay.     Super.   I have a few questions, sir.




                                                                       Appx. 02463
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                                    Norris - Cross                      167


       1   A    Yes.

       2   Q    You spent a fair amount of time testifying about how

       3   poorly the Debtor was performing under the shared services

       4   agreements last October and November.      Do you remember that?

       5   A    I remember I testified.    I wouldn't say it was some time,

       6   but yes.

       7   Q    You specifically mentioned the October and the November

       8   time frame, right?

       9   A    Correct.   I believe so.

      10   Q    And you said that during that October and November time

      11   frame, there were lots of conflicts of interest that were

      12   arising; is that right?

      13   A    I don't remember my specific wording, but if it's part of

      14   the record, then yes.

      15   Q    Uh-huh.    And you said that the Advisors weren't getting

      16   the same level of services that they thought they were

      17   entitled to; isn't that right?

      18   A    That's correct.

      19   Q    And you thought -- and the Advisors thought long and hard

      20   about terminating, about taking the initiative and terminating

      21   the shared services agreement, right?

      22   A    I don't know if I used the word "long and hard", but yes,

      23   we did consider and discuss the termination of the shared

      24   services agreements.

      25   Q    And the reason that you decided in October and November




                                                                    Appx. 02464
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                                        Norris - Cross                      168


       1   not to do that is because you knew there was an order in place

       2   that prevented a Dondero-related entity from terminating an

       3   agreement.     Isn't that right?

       4   A      That's -- that's one of the reasons, yes.

       5   Q      That's the only reason you identified before; isn't that

       6   right?

       7   A      I believe so.

       8   Q      And that --

       9   A      That was a determining -- that was a make-or-break point,

      10   yes.

      11   Q      And it was a -- and that was false testimony; isn't that

      12   right?

      13   A      No.

      14   Q      Well, just a month later, in December, the Advisors sent a

      15   letter to the Debtor threatening to terminate the CLO

      16   management agreement; isn't that right?

      17                MR. RUKAVINA:    Your Honor, I'll object to that, it's

      18   not in the evidence, and I'll object on the basis of the best

      19   evidence rule.

      20                THE COURT:    Response?

      21                MR. MORRIS:     You can answer, sir.

      22                THE COURT:    Response?

      23                MR. RUKAVINA:    Your Honor, I didn't hear a response.

      24                MR. MORRIS:     The witness is the executive vice

      25   president of the Advisors.        The Advisors were the subject of a




                                                                       Appx. 02465
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                                      Norris - Cross                       169


       1   preliminary injunction proceeding.       During that proceeding,

       2   against these very same Defendants, this letter was admitted

       3   into evidence where they -- where the Advisors did exactly

       4   what Mr. Norris said they would never do because they didn't

       5   think they had the authority to do that.       Mr. Norris is the

       6   best evidence right now, Your Honor.

       7               THE COURT:    Okay.   I overrule the objection.

       8               MR. MORRIS:    Your Honor, that's not --

       9               THE COURT:    I overrule the objection.    I remember the

      10   evidence from the December hearing.       So he can answer.

      11               THE WITNESS:    Yeah, so can you repeat the question,

      12   just so I make sure I answer appropriately?

      13   BY MR. MORRIS:

      14   Q   Sure.     In December, the funds and the Advisors for which

      15   you serve as the executive vice president, on, I think,

      16   December 23rd, sent a letter to the Debtor threatening to

      17   terminate, right?    Threatening to use what authority they

      18   thought they had to go in and terminate the CLO management

      19   agreements.    Isn't that right?

      20   A   I was not involved in the drafting of the letter, but my

      21   understanding is there was no threat.       It was -- and I believe

      22   the letter even said, subject to court approval or stay or

      23   process.    I would love for -- if there is a letter, if you

      24   want to bring it up, but I wasn't directly involved with the

      25   letter.




                                                                      Appx. 02466
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                                        Norris - Cross                      170


       1   Q    And the Advisors didn't send a letter to the Debtor in

       2   October or November saying, We want to terminate the agreement

       3   subject to whatever you just said.       In fact, you concluded

       4   that you couldn't do it because of the injunction, right?

       5   A    Correct.

       6   Q    Yeah.    You've spent an awful lot of time talking about

       7   this operational plan that the Advisors have today.         It was a

       8   much more modest plan during your deposition yesterday; isn't

       9   that right?

      10   A    I wouldn't --

      11                MR. RUKAVINA:    Your Honor, I'll object --

      12                THE COURT:   I'm sorry?

      13                MR. RUKAVINA:    I object to that characterization.

      14                THE COURT:   You object to --

      15                MR. RUKAVINA:    Your Honor, I'll --

      16                THE COURT:   -- the charac...

      17                MR. RUKAVINA:    I'll withdraw that.    I'll withdraw

      18   that objection, Your Honor.

      19                THE COURT:   All right.   Go ahead.

      20                THE WITNESS:    No, I answered the questions in the

      21   manner that you asked them in the deposition.         I don't think

      22   that you asked for detailed descriptions.          In fact, I know you

      23   didn't.   And so there was a lot more than what I discussed in

      24   my deposition yesterday.

      25   BY MR. MORRIS:




                                                                        Appx. 02467
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                                      Norris - Cross                      171


       1   Q   Okay.

       2   A   Nothing -- there's nothing that -- nothing that conflicts

       3   with what I said yesterday.

       4   Q   James Palmer was hired to provide accounting and audit

       5   services yesterday on a contract basis, correct?

       6   A   He was hired yesterday, yes.       And that was, yes, part of

       7   the additional oversight for our accounting function.        We're

       8   handling a lot of that internally, but Mr. Palmer was

       9   experienced with our platform and with our funds, and we

      10   thought it was prudent, in the -- if needed, to have somebody

      11   on call.    And our board actually requested it.    And so that's

      12   a -- you know, that is someone who we feel very comfortable

      13   with providing those services.

      14               MR. MORRIS:    I move to strike everything after "Yes,"

      15   Your Honor.

      16               THE COURT:    Sustained.

      17   BY MR. MORRIS:

      18   Q   Okay.     I'm going to ask you, sir.    This is cross-

      19   examination.    I'm going to ask you leading questions that are

      20   intended to elicit a yes or no answer.

      21   A   Got it.

      22   Q   Your counsel will have the opportunity to redirect if he

      23   think it's necessary.

      24       So, let me ask the question again.       Mr. Palmer was hired

      25   by the Advisors to provide audit and accounting services




                                                                     Appx. 02468
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                                    Norris - Cross                      172


       1   yesterday.    Isn't that correct?

       2   A    No.

       3   Q    Yesterday was his first day on the job.     Isn't that right?

       4   A    He is a contract employee.     So we didn't hire him.

       5   Q    Okay.    You did testify yesterday that yesterday was the

       6   first day he was providing services that had been provided by

       7   the Debtor.     Is that fair?

       8   A    Yes.

       9   Q    Okay.    And Siepe is another entity that the Debtor had a

      10   -- that the Advisors had a prior relationship, right?

      11   A    Correct.

      12   Q    And you don't have an agreement with Newco today, do you?

      13   A    Not yet.

      14   Q    So, Newco is not providing any services today, right?

      15   A    No.

      16   Q    And you don't have office space today, right?

      17   A    Not yet.

      18   Q    Okay.    So, when the sun rose on Saturday morning, to use

      19   the same analogy, I guess, you'd been kicked out of the house

      20   and you had no place to go.     Is that fair?

      21   A    No.

      22   Q    Everybody's working remotely right now, right?

      23   A    Yes.

      24   Q    And the Advisors have no lease for any office space on a

      25   long-term basis, right?




                                                                    Appx. 02469
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                                   Norris - Cross                          173


       1   A    No, but we've toured space and have a -- we are ready to

       2   sign a sublease as soon as we're ready.

       3   Q    Okay.   But you didn't have that as of Friday; is that

       4   fair?

       5   A    No.

       6   Q    Okay.   And you -- and you're doing trading now on --

       7   A    Actually, can I make a -- can I make a correction?      I --

       8   you said you didn't have that.    I said we had done a tour, and

       9   I had done a tour before Friday, and that we had a lot lined

      10   up, and I had them asking us, Are you ready to execute, will

      11   you be here Monday?

      12        So, that was there.   Again, realizing we were going to be,

      13   hopefully, the plan was to reach a full agreement with you,

      14   but having that backup plan in place, not to sign a lease and

      15   spend the money unless we knew we weren't going to be able to

      16   be in the office space.    So that's why.

      17   Q    All right.   So let me ask the question again.     As of

      18   Friday, the Advisors had no place to go at the end of the

      19   extended shared services period, correct?

      20   A    I disagree with that.

      21   Q    Okay.   They don't have an -- does the Advisors have an

      22   address today?

      23   A    We have an address, yes.

      24   Q    Yeah?   Where is the address?

      25   A    So, we -- we have been -- we have a -- so we have a -- our




                                                                     Appx. 02470
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                                   Norris - Cross                       174


       1   NexPoint Securities has an office on McKinney Avenue in

       2   Dallas, which is where we -- we have an ability to send our

       3   mail to and to have an office, which is where we intend to

       4   actually be subleasing.

       5   Q    Okay.   But you don't have a sublease today, and that

       6   address isn't the address of the Advisors, right?

       7   A    It is all but in place, waiting to not spend the

       8   significant expenditure in the event that we could, which our

       9   plan was to hope to reach an agreement.

      10   Q    Okay.   And you're doing trades manually?    Do I have that

      11   right?

      12   A    It is -- we call it a manual process, but it involves like

      13   -- there's a certain -- it doesn't involve the OMS system.

      14   That's right.

      15   Q    And when your operational plan is fully in place, would

      16   you expect it to have an OMS system?

      17   A    Yes.

      18   Q    But your operational plan today doesn't have one of the

      19   pieces that you expect it to have in the future; is that

      20   right?

      21   A    It has -- it has a usable option, but no.     We're close to

      22   entering into an OMS, and that's not the long term.     Yeah.   We

      23   aren't going to be doing a manual -- our manual process

      24   forever.

      25   Q    Yeah.   But you're very, very, very happy with your




                                                                    Appx. 02471
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                                    Norris - Cross                       175


       1   operational plan, right?    You're very proud of it?

       2   A    Given the constraints we were working under, I feel it's

       3   -- it is a plan that works.    Would I think that the

       4   alternative with what we were negotiating would be better?

       5   Probably.    Would it be better to have access to our systems,

       6   to our computers, without having to turn them back into you?

       7   Yes, absolutely.

       8        So I don't remember the word you just used, but I think

       9   very happy or very pleased, I wouldn't say that.     I would say

      10   it is functional, it helps us do our duty and our job, and

      11   we're going to get back to that ideal.     And the reason I

      12   negotiated all the way through the week and all the way

      13   through the weeks and all the way through the weekend is

      14   because there was a better alternative, which was a negotiated

      15   settlement.

      16   Q    All right.    We'll talk about that in a moment.   But

      17   notwithstanding the fact that there may have been a better

      18   alternative, as of today the Advisors have adopted and

      19   implemented an operating plan for the provision of all of the

      20   same back-office and middle-office services that the Debtor

      21   previously provided, correct?

      22   A    To cover -- and I would say they do, yes.

      23   Q    Okay.

      24   A    Yes.

      25   Q    And as of today, the Advisors are fully able to perform




                                                                    Appx. 02472
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                                    Norris - Cross                        176


       1   under their shared -- under their advisory agreements with the

       2   funds; is that correct?

       3   A    Yes.

       4   Q    There is nothing the Debtor has done that has prevented

       5   the Advisors from fully performing under their advisory

       6   committee -- advisory agreements with the funds, correct?

       7   A    It took great effort over the last several months, but no,

       8   not that I'm aware of.

       9   Q    Okay.   Other than access to the data, there are no

      10   services that the Advisors need from the Debtor.     Is that

      11   correct?

      12   A    No, but the peaceful transition of the data is important,

      13   right?   We have, as you mentioned, we have most of the data we

      14   need, but the peaceful transition of the data and the files in

      15   the systems -- not the systems, but the data backups of the

      16   systems -- will be critical, yes.

      17   Q    Okay.   But other than data, there are no services that the

      18   Debtor needs to provide to the Advisors as of today, correct?

      19   A    Not that I know of.

      20   Q    And having been as involved in the process as you've been,

      21   you would know if there was a service that the Debtor had to

      22   provide to the Advisors today; isn't that right?

      23   A    Yes.

      24   Q    Okay.   And you don't know of any service that the Debtor

      25   needs to provide to the Advisors as of today, right?




                                                                    Appx. 02473
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                                    Norris - Cross                         177


       1   A   I don't.     We mentioned data.   I think one of those --

       2   well, I'll leave it as yes.

       3   Q   Okay.

       4   A   Yeah.

       5   Q   Did you have this plan in place, this operational plan,

       6   was that -- were all of the pieces in place last Tuesday

       7   night?    No.   Withdrawn.

       8       Were all of those pieces in place as of January 31st,

       9   2021?

      10   A   No.

      11   Q   So is it fair to say that the Debtor didn't -- that the

      12   Advisors did not have an operational plan that would permit

      13   them to obtain all of the same services that the Debtor had

      14   been providing under the shared services agreement as of

      15   October -- as of January 31st?

      16   A   No.

      17   Q   They did have a plan in place at that time to get those

      18   services?   Is that what you're saying?

      19   A   Yes.    There was a plan, a Plan B.    It wasn't nearly what

      20   Plan B is today because we've -- we've had multiple additional

      21   weeks to ensure that everything's in place, but we had Plan B.

      22   But at the time -- maybe I'll leave it there.     But at the

      23   time, there was good faith negotiations up to that point,

      24   where Plan A looked like it was going to happen.     And so that

      25   was the full expectation with a backup plan which was not as




                                                                    Appx. 02474
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                                     Norris - Cross                     178


       1   intricate.

       2   Q    Did the Advisors ever inform the Debtor at any time during

       3   the negotiations that they had an operational plan pursuant to

       4   which it could obtain the same middle- and back-office

       5   services that the Debtor had been providing?

       6   A    If you include your Debtor employees, then yes.

       7   Q    Did you ever use it as a point of negotiation?     Did you

       8   ever try to tell the Debtor, you know, if you guys don't agree

       9   to our terms, we're going to walk away, because we've got this

      10   fully-operational plan to get the same services that you guys

      11   are providing?      You're not the only game in town?

      12   A    I never used that kind of exact approach, no.

      13   Q    Did you use any approach where you relied on the

      14   operational plan as leverage to try to drive a better deal

      15   with the Debtor?

      16   A    No.    I don't think so.

      17   Q    No?    Okay.   And fast-forward to that Tuesday night when

      18   the Debtor said take the plan without Mr. Dondero or we're

      19   going to sue you.      You remember that, right?

      20   A    Yes.

      21   Q    And every aspect of the agreement was in place except for

      22   Mr. Dondero, right?

      23   A    Except for his access to the office, --

      24   Q    And the --

      25   A    -- yes.




                                                                    Appx. 02475
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                                    Norris - Cross                       179


       1   Q     And the Debtor had told you time and time again, every

       2   time it appeared in a document, they removed it, and they told

       3   you every single time no access for Mr. Dondero, right?

       4   A     No.

       5   Q     Did you have any reason to believe that that was ever

       6   going to change?

       7   A     I did.   And I said no to your last question, right?    I

       8   didn't say yes.    I said no to your last question, that --

       9   Q     And did the Advisors make a decision to reject the

      10   Debtor's offer for the sole reason that Mr. Dondero wouldn't

      11   be permitted access?

      12   A     That was the last point.   As mentioned, every other point

      13   was agreed to.

      14   Q     And why didn't the -- why didn't the Advisors -- did the

      15   Advisors -- withdrawn.

      16         Did the Advisors say to the Debtor, we get it, you're not

      17   going to let Mr. Dondero in, but that's a line in the sand for

      18   us?   But please, there's no need for a lawsuit.     We've got a

      19   wonderful operating plan ready to go.      You're asking the Court

      20   to force us to adopt and implement the plan, we have one right

      21   here, so let's not litigate.     Let's just walk away and let

      22   bygones be bygones.    Did you ever offer to get rid of the

      23   lawsuit by showing the Debtor your plan?

      24   A     We would have loved to have gotten rid of the lawsuit, but

      25   I didn't see it until it was filed.    When the ultimatum was




                                                                    Appx. 02476
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                                     Norris - Cross                         180


       1   given, we had rolling blackouts.       My home didn't have

       2   electricity rolling from 2:00 a.m. on Monday until Thursday.

       3   And so by the time there was -- and everybody else, inclusive

       4   of our attorney, Mr. Rukavina.       And so to say that I -- I

       5   received it Thursday or Wednesday morning, when one of your

       6   employees forwarded it to us.        I hadn't seen drafts.   Maybe

       7   our counsel had.      But we didn't even have a chance to say, oh,

       8   let us -- let us pull this because we read what your report

       9   was.    The Advisors didn't even have a chance to respond.       At

      10   least that is my understanding.       I never had a chance to

      11   respond.    I never saw it.   Maybe counsel did.

      12   Q      Well, you saw the lawsuit eventually, didn't you?

      13   A      I did.

      14   Q      Did you ever -- did the Advisors -- after you saw the

      15   lawsuit, did the Advisors ever call up the Debtor and say,

      16   hey, look, let's not litigate?       We have exactly what you want.

      17   We've got this fully-operational plan that provides us with

      18   everything we need.     You don't need to do anything further.

      19   Did you ever say that to the Debtor?

      20   A      No, because the back -- the -- we still wanted to reach an

      21   agreement.      That was the goal.   And it was a surprise for us

      22   to have a shock, we're going to pull this or we're going to

      23   sue you on Tuesday evening.     And so, no, we still -- I -- and

      24   that's why I negotiated and continued to work all the way

      25   through the end of the week and through the weekend on




                                                                        Appx. 02477
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                                    Norris - Cross                      181


       1   something, because I still felt like that was the better plan

       2   for everybody.

       3       I don't know why we had to be sued, I don't know why it

       4   had to be urgent, because at that point we had been working

       5   for weeks and months.    And the weeks -- really good.   And the

       6   only difference was Jim Dondero's access.     And it was Tuesday.

       7   And they didn't even ask us, you know.

       8       Anyway, so that was -- I just -- I just disagree with your

       9   characterization of the process.

      10             MR. MORRIS:    I move to strike, Your Honor.   It really

      11   is a very simple question.

      12             THE COURT:    Sustained.

      13   BY MR. MORRIS:

      14   Q   Did the Advisors, after the commencement of the lawsuit,

      15   did the Advisors ever tell the Debtor that there was no need

      16   for litigation because the Advisors had a fully-operational

      17   plan that they had adopted and were prepared to implement,

      18   which is exactly what the Debtor was seeking from the Court?

      19   A   I don't know.

      20   Q   You're not aware of that, right?

      21   A   I'm not.

      22   Q   You don't -- you never thought that maybe we could avoid

      23   this whole thing by just sharing with the Debtor this

      24   operational plan that you've described in great detail, right?

      25   A   Well, on Friday, I know you put in, in a response to our




                                                                    Appx. 02478
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                                        Norris - Cross                           182


       1   board and Advisors, that you were made aware that we had a

       2   plan that felt good, yet there was no consideration or

       3   discussion on removing the lawsuit.

       4        So, I'll leave that to what counsel happened, but I would

       5   have loved to not be involved.         I'm not a legal expert.       There

       6   were many attorneys involved.         I wish that if that were an

       7   option, it would have been raised.         But here we are today.

       8   Q    Sir, not only did the Advisors not tell the Debtor that

       9   they had an operational plan that could avoid the lawsuit,

      10   instead, the Advisors made proposals on Friday, one of which

      11   did not even include having access to the office by Mr.

      12   Dondero.     Isn't that right?

      13                MR. RUKAVINA:    Your Honor, I object to that question

      14   as it mischaracterizes the evidence.          The question began with

      15   that the Advisors never told the Debtor that they had a backup

      16   plan.   I think the witness --

      17                MR. MORRIS:    Your Honor, --

      18                THE COURT:    Okay.    Sustained.    Rephrase.

      19                MR. MORRIS:    Yeah.   No problem.

      20   BY MR. MORRIS:

      21   Q    So, so to the best of your knowledge, the Advisors never

      22   told the Debtor that they thought litigation could be avoided

      23   because they had an operational plan.            Is that right?

      24   A    That's my -- that -- yeah, that's right.

      25   Q    Okay.    And instead, on Friday, the Advisors continued to




                                                                             Appx. 02479
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                                     Norris - Cross                      183


      1   try to pursue an agreement with the Debtor.       Is that right?

      2   A    I don't know about the "instead."      But, yes, we tried to

      3   continue reaching an agreement.

      4   Q    And are you familiar with the offer that was made by the

      5   Advisors to the Debtor on Friday morning?

      6   A    I am.

      7   Q    Did you authorize the sending of that offer to the Debtor?

      8   A    The request, yes.     Me and D.C. Sauter were involved with

      9   counsel, so we -- we did -- we did.

     10                MR. MORRIS:   All right.   Can we please put up on the

     11   screen Exhibit 19?     Can we start at the bottom, please?

     12   BY MR. MORRIS:

     13   Q    So, are these the Options A and B that were presented to

     14   the Debtor on Friday morning?

     15   A    Based on the email, yes.

     16   Q    Okay.    And Option B contemplated that the Advisors would

     17   completely vacate the space by the end of the month, right?

     18   A    Correct.

     19   Q    And that's an option that you and Mr. Sauter authorized

     20   the lawyers to send to the Debtor, correct?

     21   A    Yes.

     22   Q    Okay.    And you had that authority from Mr. Dondero, right?

     23   Mr. Dondero gave you the authority to negotiate; is that

     24   correct?

     25   A    He gave me the authority to negotiate in those final




                                                                     Appx. 02480
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                                       Norris - Cross                         184


       1   couple of days.    There were certain things he gave me

       2   authority to negotiate on.      And specifically -- and to things

       3   that shouldn't be included on this point, we discussed this

       4   beforehand as well.      But we had authority to negotiate.

       5   Q   And you had authority to make this proposal, right?

       6   Option B?

       7   A   Ultimately, no.

       8   Q   At the time you made it, you thought you had it, right?

       9   A   Yes.

      10   Q   You weren't acting outside of what you knew to be your

      11   scope of authority, were you?

      12   A   No.

      13   Q   Okay.    Did you discuss with Mr. Sauter these two options

      14   before they were delivered by your lawyers to the Debtor?

      15   A   Yes.

      16               MR. RUKAVINA:    Your Honor?     Your Honor?   Hold on.

      17       Your Honor, Mr. Sauter is an attorney.         He's in-house

      18   counsel.    So I think that to the extent that they're

      19   discussing business, that's not privileged.         To the extent

      20   they're discussing legal strategy, that is privileged.          So I

      21   would instruct the witness to be conscious of that --

      22               THE COURT:   All right.

      23               MR. RUKAVINA:    -- and to not disclose attorney-client

      24   privileged communications.

      25               THE COURT:   All right.




                                                                        Appx. 02481
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                                       Norris - Cross                       185


       1   BY MR. MORRIS:

       2   Q    Sir, did you discuss these two proposals with Mr. Sauter

       3   before it was delivered by your lawyers to the Debtor?

       4   A    Yes.

       5   Q    And did Mr. Sauter also agree with the substance of these

       6   two offers that were being presented to the Debtor?

       7               MR. RUKAVINA:    Mr. Norris, can you answer that

       8   question without invading the attorney-client privilege?

       9               MR. MORRIS:    I'm just asking about the offers.   I'm

      10   not asking about any legal advice or anything.       I just want to

      11   be that clear.

      12               MR. RUKAVINA:    That's why I'm asking Mr. Norris.    If

      13   they discussed business, I don't think we have a problem.         But

      14   if they discussed legal strategy, I think it's a problem.         So

      15   I think the witness just has to tell us whether --

      16               THE WITNESS:    There --

      17               MR. RUKAVINA:    -- they discussed business or legal.

      18               THE WITNESS:    There -- there was a -- there was some

      19   legal -- legal strategy as well, yeah.

      20               MR. RUKAVINA:    Your Honor, I would -- I would ask

      21   that that -- I would object to that question on that basis,

      22   that it calls for the invasion of the attorney-client

      23   privilege.

      24               THE COURT:    All right.   I sustain.

      25               MR. MORRIS:    I'll try -- I'll try and ask the




                                                                      Appx. 02482
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                                        Norris - Cross                       186


       1   question again, then.

       2   BY MR. MORRIS:

       3   Q      Mr. Norris, did Mr. Sauter agree and authorize the sending

       4   of these two proposals by the Advisors' lawyers to the Debtor

       5   on Friday morning?

       6   A      We both agreed with that approach.

       7   Q      Okay.    And you both -- is it fair to say that you both

       8   believed that you were acting within the scope of authority

       9   that Mr. Dondero had given you?

      10   A      We thought so, and -- well, I'm sure your questions will

      11   lead me to the -- to the ultimate of what happened here, but

      12   yes.

      13   Q      Yeah.    And this proposal didn't permit Mr. Dondero back

      14   into the Highland office space; is that right?

      15   A      It didn't prevent him?        Is that what you said?

      16   Q      Didn't permit him.     Didn't allow him.

      17   A      Option A just above did and Option B did not.

      18   Q      Okay.    So, you and Mr. Sauter, as the Advisors' designated

      19   negotiators, authorized the Advisors' lawyer to present as

      20   Option B an option that did not permit Mr. Dondero access to

      21   the Debtor's offices, right?

      22   A      Yes, but gave us full access to everything else.

      23   Q      Okay.    It was really --

      24          (Pause.)

      25                  THE COURT:   Uh-oh.




                                                                         Appx. 02483
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                                       Norris - Cross                           187


       1   BY MR. MORRIS:

       2   Q    How does Option B -- how does Option B, if you know, --

       3   A    Sorry, you froze.        You froze there for a minute, I think.

       4                THE COURT:    Yes.    I think you did.

       5                MR. MORRIS:    No, I think I just paused.

       6                THE WITNESS:     Oh, you were just thinking?     Oh, that

       7   was really talented.        Wow.

       8   BY MR. MORRIS:

       9   Q    No, it's -- it's not that good.         Do you know how Option B

      10   differs from the term sheet that the Debtor provided on

      11   Tuesday night?

      12   A    It would not include the access -- it wouldn't include

      13   access to the office for anybody.         The, as it says there, the

      14   Debtor would take a hundred percent of the lease.

      15   Q    Okay.    So, it was going to be complete walkaway?        The

      16   Advisors were going to completely walk away at the end of the

      17   month, right?

      18   A    Correct.

      19   Q    And that was -- that was an offer that you believed you

      20   were authorized to make to the Debtor, right?

      21   A    Yes.

      22   Q    Okay.

      23                MR. MORRIS:    Can we go two emails up to Mr.

      24   Hogewood's?     Oh.   Yeah.    The one at 12:04.      Yeah.

      25   BY MR. MORRIS:




                                                                         Appx. 02484
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                                      Norris - Cross                      188


       1   Q   Were you aware that there came a time early in the

       2   afternoon that the Debtor was informed that there may need to

       3   be an edit to Option B, so they pulled that back for a bit?

       4   A   I wasn't aware, no.

       5   Q   No?    All right.     Do you have any knowledge as to what edit

       6   Mr. Hogewood was referring to in his email there?

       7   A   I don't.

       8   Q   Okay.    Were you aware -- did you get a copy of Mr.

       9   Hogewood's email?    Was it forwarded to you?     Do you know --

      10   withdrawn.    Let me ask a better question.

      11       Do you know if Mr. Hogewood delivered -- withdrawn.

      12       Did you know on Friday morning that Mr. Hogewood had

      13   delivered the two options, the two proposals, that you and Mr.

      14   Sauter had authorized?

      15   A   Yes.

      16   Q   Okay.

      17               MR. MORRIS:    Can we go up an email or two, please?

      18   BY MR. MORRIS:

      19   Q   And then Mr. Hogewood wrote back and he said that he was

      20   authorized to put Option B back on the table, as stated above.

      21   Do you see that?

      22   A   I do.

      23   Q   Do you know who authorized Mr. Hogewood to put Option B

      24   back on the table?

      25   A   I don't remember.      I don't know.    I wasn't on the chain.




                                                                      Appx. 02485
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                                    Norris - Cross                      189


       1   Q    Okay.   But it's fair to say at this point in time, midday

       2   on Friday, as far as you knew, your lawyer had communicated

       3   Option A and Option B to the Debtor, and they were authorized

       4   to do that, right?

       5   A    Yes.

       6   Q    Okay.   And did you learn subsequently that there was a

       7   phone call between the lawyers for the Advisors and the lawyer

       8   for the Debtor during which the Debtor indicated that it was

       9   prepared to accept Option B?

      10   A    I don't know, no, I don't know about that.

      11   Q    You were never told that?

      12   A    No.    Not that there was a phone call.

      13   Q    Uh-huh.    Did you learn at any point on Friday that the

      14   Debtor had accepted Option B, the Option B that you and Mr.

      15   Sauter had authorized the Advisors' lawyers to make?

      16   A    Yes.

      17   Q    Okay.   So, there did come a time when you knew that the

      18   Debtor had accepted Option B, right?

      19   A    Yes.

      20   Q    And are you aware that, after accepting Option B, the

      21   lawyers discussed turning the agreement into a settlement

      22   order to resolve the litigation?

      23   A    No.    I wasn't aware of that.

      24   Q    Are you aware that the lawyers were discussing plans for

      25   the transfer of -- by wire of cash that would be due under the




                                                                    Appx. 02486
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                                   Norris - Cross                       190


       1   agreement?

       2   A    I was not.

       3   Q    Okay.   After the Debtor accepted Option B, the Advisors

       4   withdrew it, correct?

       5   A    I don't know if we with... we did withdraw it, yes.

       6   Q    And after it was presented, Mr. Dondero said that he

       7   hadn't personally approved it, correct?

       8   A    In the terms of which -- the actual offer, yes, that's

       9   correct.

      10   Q    So, Mr. Dondero, having given you and Mr. Sauter the

      11   authority to negotiate, learned that the Debtor had agreed to

      12   your proposal pursuant to which he wouldn't be allowed access

      13   to office space and he made the decision to withdraw the

      14   offer, correct?

      15   A    I wouldn't agree with exactly the phrasing, no.

      16   Q    Sir, Mr. Dondero is the person who decided that he had not

      17   approved of Option B, and that's why it was retracted,

      18   correct?

      19   A    That's right.

      20   Q    So, on Tuesday night, the Advisors had a fully-negotiated

      21   agreement for the provision -- for the transition of all of

      22   the back-office and middle-office services, but for access to

      23   Mr. Dondero, correct?

      24   A    Correct.

      25   Q    And the only reason that didn't get signed is because of




                                                                    Appx. 02487
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                                       Norris - Cross                     191


       1   that issue, right?

       2   A    That's my understanding, yes.

       3   Q    And the Debtor continued to negotiate with the Advisors,

       4   even after filing the lawsuit, correct?

       5   A    Yes.

       6   Q    The Debtor was never told that the Advisors had a fully-

       7   operational plan pursuant to which it had an alternative to

       8   obtain the same services, correct?

       9   A    That's incorrect.

      10   Q    After negotiations broke down, is that the moment that a

      11   reference was made to alternative plans?

      12   A    No.

      13   Q    Sir, on Friday, you personally reached an agreement with

      14   the Debtor on Plan B, right?       You authorized the making of an

      15   offer that the Debtor accepted, correct?

      16               MR. RUKAVINA:    Your Honor, I'm going to object at

      17   this time based on a legal conclusion.       The witness is not a

      18   lawyer and he's not qualified to opine on whether an

      19   agreement, which to me suggests is something binding and

      20   enforceable, was ever reached.

      21               THE COURT:    Response?

      22               MR. MORRIS:    Your Honor, I'm not looking to enforce

      23   any agreement, so let me try and restate and --

      24               THE COURT:    All right.   Sustained.

      25               MR. MORRIS:     -- address Mr. Rukavina's --




                                                                      Appx. 02488
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                                      Norris - Cross                     192


       1               THE COURT:    He'll rephrase.

       2               MR. MORRIS:    Yeah.

       3   BY MR. MORRIS:

       4   Q    Even as late as Friday, after starting the lawsuit, you

       5   had made an offer.       You had authorized the making of an offer

       6   that the Debtor had agreed to again, correct?

       7   A    I had auth... I had said we should -- yes, I had

       8   authorized the offer and then your fax saying on the

       9   acceptance.     I wasn't involved in the back-and-forth

      10   communication among the attorneys.

      11   Q    But you knew it was accepted, subject, let's say, subject

      12   to the execution of definitive documentation.      How's that?

      13   A    I was told that they were willing to take the offer.        And

      14   so, yes.    And --

      15   Q    And sometime later that day, it got pulled because of Mr.

      16   Dondero, correct?

      17   A    Correct.

      18   Q    And even on Saturday, the Advisors made proposals on an a

      19   la carte basis for the provision of services, correct?

      20   A    Yes.   And we have made very similar a la carte provisions

      21   on Thursday and Wednesday, which were also rejected by the

      22   Debtor.

      23   Q    And -- okay.    So it wouldn't have been the full kind of

      24   deal that was contemplated in the term sheet; it would have

      25   been a selection of very specific services.      Do I have that




                                                                     Appx. 02489
Case 3:21-cv-00881-X Document 138-79 Filed 07/14/23    Page 194 of 240 PageID 11071



                                    Norris - Cross                       193


       1   right?

       2   A    That's right.    On Wednesday, it was Oracle and Bloomberg,

       3   which was authorized by Mr. Dondero.       We were to offering to

       4   continue with our offer to take over the lease and all the

       5   other terms, or a slim-down, which would include no disputed

       6   amounts or payments, which at that time I think we called Plan

       7   B or Option B.    And that was -- I believe that was Thursday.

       8   Or Wednesday night.    So, yes, those continued.    And then we

       9   had a similar, very similar proposal again on Sunday, with the

      10   same -- very similar services to what we asked for on

      11   Wednesday night or Thursday.    And those were rejected both

      12   times.

      13   Q    And is it fair to say that the services that the Debtor

      14   was seeking -- withdrawn.

      15        Is it fair to say that the services of the Advisors were

      16   seeking from the Debtor on Thursday, Friday, and Saturday were

      17   services that the Advisors had not yet engaged anybody else to

      18   provide?

      19   A    The two -- we already talked about Bloomberg and where our

      20   status is there.     And on Oracle, it would be a nice to have

      21   instead of transitioning, and that is more for the Advisors'

      22   books and records and would be nice to have.

      23   Q    So, --

      24   A    Yes.

      25   Q    Okay.    You have a Plan B for the new operational plan.




                                                                     Appx. 02490
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                                   Norris - Cross                       194


       1   Did I hear that part right?

       2   A   As I mentioned -- oh, I said our operating plan was a

       3   hypothetical from -- from Mr. Rukavina, that in these other

       4   events fall through, are there other people that you could

       5   hire to do these services?    And I said yes.

       6   Q   Okay.   So if any part of the operational plan fails, the

       7   Advisors would look to third parties to provide, you know,

       8   whatever service they wouldn't obtain and they wouldn't look

       9   to the Debtor to provide any services, correct?

      10   A   That's correct.

      11   Q   Is it fair to say that, other than access to the data, the

      12   Advisors will never seek any services of any kind from the

      13   Debtor going forward?

      14   A   As we sit here today, I believe your employees are set to

      15   have three more operating business days and then will be

      16   terminated, those -- the employees that services our accounts.

      17   So, with the expectation that Newco will be formed, I have no

      18   expectation we'll be asking for any significant services,

      19   other than data, transfer of emails, et cetera.

      20   Q   Well, that's a pretty qualified answer.     What do you mean

      21   by no significant services?

      22   A   Most of them -- well, the data, emails, et cetera, are all

      23   minor items, and I think they're -- you say data, but I think

      24   there's -- there's a handful of things that probably fall

      25   under that data and books and records that are what I'm




                                                                    Appx. 02491
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                                     Norris - Cross                       195


       1   talking about, yes.

       2   Q    You know, one of the things that the Debtor is very

       3   concerned about here is having no future obligation.     The

       4   Debtor -- do you understand that the Debtor believes that it

       5   has terminated the shared services agreements as of Friday?

       6   A    I do, yes.

       7   Q    Do you understand that, other than the data that it holds,

       8   the Debtor wants the comfort of knowing that it has no future

       9   obligations to the Advisors of any kind, other than to provide

      10   access to the data?

      11   A    Yeah, that's fair.    Yes, I understand that.

      12   Q    As the executive vice president of the Defendants, as the

      13   executive vice president of the Advisors, can you, under oath,

      14   give the Debtor comfort that the Advisors will not look to the

      15   Debtor for any services of any kind after today?     Other than

      16   the access to the data?

      17   A    Data and books and records, yes.

      18   Q    Okay.   So access to data and books and records is the only

      19   thing that the Advisors will look to the Debtor for at any

      20   time in the future after today; is that fair?

      21   A    I would say it's not fair, because to say there's not

      22   other significant -- insignificant or minor items -- as Mr.

      23   Dondero testified, there's usually a smooth transition.        I

      24   don't anticipate there will be significant items that would

      25   take a lot of your time or we need to invade you, but I would




                                                                    Appx. 02492
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                                    Norris - Cross                         196


       1   hope there would be a fair and orderly transition.      And I

       2   can't predict the minor items, but I don't think -- I can't

       3   envision anything significant.

       4   Q     Do you believe, as the executive vice president of the

       5   Advisors, that the Debtor has an obligation to perform any

       6   services for the Advisors after today, other than giving

       7   access to the data and the books and records?

       8   A     No.

       9   Q     What happens if Newco isn't formed?    Is there any scenario

      10   that you're aware of where the Advisors would look to the

      11   Debtor for any services in the event that Newco is not formed?

      12   A     No.   Not that I'm aware of.   I don't know.   I don't think

      13   so.

      14   Q     I think you mentioned earlier about the transfer of data.

      15   What does the Debtor need to do, from your perspective, in

      16   order to transfer the data and the books and records?

      17   A     We need the Debtor to authorize its IT director to

      18   transfer the data.    We stand by ready.    I sent an email to

      19   your IT team asking for him to get the required approvals on

      20   Friday morning, and our -- CFA, the outsource team, stands by

      21   ready, at our cost, to transfer any remaining data.

      22         So we just need you and Mr. Seery and -- to authorize the

      23   free transfer of data.    Not necessarily you, but Mr. Seery,

      24   and then your IT team and your employees can feel comfort.

      25   Because over the last few weeks they have not provided any




                                                                     Appx. 02493
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                                      Norris - Cross                        197


       1   data or any assistance providing data because they're

       2   concerned.    They're concerned about their liability, they're

       3   concerned about things that the Debtor has told them.        And so

       4   I just -- if you and Mr. Seery can tell them any data that is

       5   -- I mean, yeah, we're prepared to send a request of what we

       6   need, but they need Mr. Seery, because he has been holding

       7   that over them.

       8   Q   And what data are you referring to specifically?

       9   A   Yeah.    We're talking about historical emails, emails that

      10   are held in what's called the vault.        It is files in our

      11   systems.    We've been able to copy, we think, most of what we

      12   have, but there is a number of records.       We would like a copy

      13   of the database that backs up home (phonetic).        We'd like a

      14   copy of the Bloomberg OMS, which I mentioned before.        The data

      15   that backs up our data.      Just a backup copy.

      16       And there's a number of other items which we'll request,

      17   but these are all very simple items that don't take very long.

      18   I would imagine, with proper approval, and almost no work from

      19   your end, maybe your one IT guy, these can be transferred in a

      20   very efficient, effective, quick manner, most of it this week

      21   or within a couple days.

      22   Q   Okay.

      23               MR. MORRIS:    I have no further questions, Your Honor.

      24               THE COURT:    All right.   Redirect?

      25               THE WITNESS:    Thank you, Mr. Morris.




                                                                      Appx. 02494
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                                      Norris - Redirect                     198


       1                MR. MORRIS:    Thank you.

       2                              REDIRECT EXAMINATION

       3   BY MR. RUKAVINA:

       4   Q    Mr. Norris, you mentioned that Debtor employees knew of

       5   our backup plan.     Give some more specificity, meaning how and

       6   why you think they knew that and who did you talk to about

       7   that and when.

       8   A.   Yeah.    So, the individuals authorized to discuss with me

       9   were David Klos, Frank Waterhouse, Brian Collins, and J.P.

      10   Two of those individuals are members of the -- well, one's

      11   still an officer, two or both were officers of our funds.          And

      12   so in our discussions as well throughout, I mentioned, hey,

      13   we're working on backup plans.       There were aspects of those

      14   they couldn't be involved in because they were negotiating for

      15   the other side.     But they were aware that we were working on

      16   things.

      17        In addition, Mr. Seery represented they knew we were

      18   taking data off or copying data off the system, leaving it all

      19   on their system, and that we were backing up emails and that

      20   we were working on a backup plan.

      21        So I don't think it was a surprise to anybody.         Their IT

      22   team knew and was very aware.       We purchased new domains.     We

      23   requested domains.     We even had requested if they would

      24   forward domains to ours, which I think the answer was no.          If

      25   they would forward emails.




                                                                        Appx. 02495
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                                    Norris - Redirect                      199


       1       And so I don't think there was any surprise that there was

       2   backup planning going on.     And so there were discussions.      It

       3   wasn't -- we didn't discuss the details.        We didn't discuss

       4   the details because we were entered into a negotiation with

       5   millions of dollars at stake, and if I show or we discuss all

       6   of our alternative plans, then there is less ability to

       7   negotiate.

       8   Q   Okay.

       9               MR. RUKAVINA:   Mr. Vasek, if you will please pull up

      10   that letter that I sent you.

      11   BY MR. RUKAVINA:

      12   Q   Okay.     If we have to scroll down, Mr. Norris, we can, but

      13   are you familiar with this letter from the Debtor's attorneys

      14   to the boards and us the evening of February 19th, Friday?

      15   A   I am.

      16   Q   Okay.     Is this the letter that you referenced when Mr.

      17   Morris was asking you about why we didn't just tell the Debtor

      18   that we had a backup plan and therefore we could dismiss this

      19   litigation?

      20   A   I believe so, yes.

      21   Q   Okay.

      22               THE COURT:   Is this an exhibit?

      23               MR. RUKAVINA:   No, Your Honor.    I'm about to move for

      24   its admission.    Your Honor, I'd ask that this be admitted as

      25   my Exhibit O.




                                                                       Appx. 02496
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                                       Norris - Redirect                     200


       1                 THE COURT:    All right.   Any objections?

       2                 MR. MORRIS:    Sorry.   No, Your Honor.

       3                 THE COURT:    All right.   It'll be admitted.

       4         (Advisors' Exhibit O is received into evidence.)

       5                 MR. RUKAVINA:    And Your Honor, we will --

       6                 THE COURT:    You'll have to supplement the docket with

       7   it.

       8                 MR. RUKAVINA:    Thank you.   We will.

       9                 THE COURT:    Okay.

      10                 MR. RUKAVINA:    Mr. Vasek, if you'll please scroll

      11   down to Page 3 of 4, the paragraph that begins, "During the

      12   course of this conversation."         Actually, the next paragraph

      13   that says, "We understand."

      14   BY MR. RUKAVINA:

      15   Q     Do you see that there, Mr. Norris?

      16   A     Yes.

      17   Q     Okay.

      18                 MR. RUKAVINA:    What is that there, Mr. Vasek?    I'm

      19   seeing a square.      Okay.

      20   BY MR. RUKAVINA:

      21   Q     So that paragraph begins, "We understand, based on this

      22   conversation, that HCMFA and NPA have made arrangements to

      23   obtain the resources they need to provide the services on a

      24   continuous and seamless basis to their clients, including the

      25   registered investment companies to which they serve as




                                                                         Appx. 02497
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                                      Norris - Redirect                        201


       1   investment advisor.        We plan to proceed with our request for a

       2   mandatory injunction at the February 23rd, '21 hearing."            And

       3   then it keeps going.

       4        Did I read that accurately?

       5                MR. MORRIS:    Can you please --

       6                THE WITNESS:    Yes.

       7                MR. MORRIS:     -- keep going, because I think it's

       8   important?

       9                MR. RUKAVINA:    Well, you get to ask him next.

      10   BY MR. RUKAVINA:

      11   Q    Did I read that accurately, Mr. Norris?

      12   A    Yes.

      13   Q    Okay.    So tell me, then --

      14                MR. RUKAVINA:    Well, strike that.    I'll move on.

      15        You can leave that up, Mr. Vasek, if Mr. Morris needs to

      16   use it.

      17   BY MR. RUKAVINA:

      18   Q    Now, do you recall you were asked about that Option A and

      19   Option B from last Friday, and Option B had been withdrawn?

      20   Do you recall that?

      21   A    Yes.

      22   Q    And do you recall that, under that Option B that was

      23   withdrawn, that the Debtor accepted that Mr. Dondero wouldn't

      24   be on the premises, right?

      25   A    Yes.




                                                                        Appx. 02498
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                                      Norris - Recross                      202


       1   Q    Okay.    But would NexPoint have been on the -- on the

       2   premises?

       3   A    No.    No.

       4   Q    So, under both Option A and Option B, would Mr. Dondero

       5   have been with his employees?

       6   A    Yes.

       7   Q    Okay.

       8                MR. RUKAVINA:   I'll pass the witness.     Thank you.

       9                THE COURT:    Recross?

      10                MR. MORRIS:    Can we put that exhibit back up on the

      11   screen, please?

      12                              RECROSS-EXAMINATION

      13   BY MR. MORRIS:

      14   Q    First of all, sir, you have no idea what was discussed in

      15   the conversation that's referenced in the first sentence,

      16   correct?

      17   A    I don't.     I was not a part of it.

      18   Q    Okay.    Do you know if the Debtor in this instance was

      19   trying to hold the Advisors' feet to the fire?

      20   A    Again, I was not part of the conversation.

      21   Q    So you don't know the motivation for sending this letter;

      22   is that fair?

      23   A    I don't.

      24   Q    Can you read out loud the letter -- the --

      25                MR. MORRIS:    I can't see it, actually.   Can you just




                                                                       Appx. 02499
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                                   Norris - Recross                      203


       1   push it down a little bit, because I've got the little box in

       2   the upper right corner?   No, the other way.    I'm sorry.   Yeah.

       3   Perfect.

       4   BY MR. MORRIS:

       5   Q   Do you see -- can you read out loud the sentence that

       6   begins, "We plan to proceed"?

       7   A   (reading)    "We plan to proceed with our request for a

       8   mandatory injunction at the February 23rd, 2021 hearing and

       9   hope that we can submit to the Bankruptcy Court a consensual

      10   order incorporating HCMFA's and NPA's acknowledgment of

      11   HCMLP's right to terminate services under the shared services

      12   agreement as provided for herein and their commitment to

      13   provide services to their clients on a go-forward basis."

      14   Q   So in fact, as of -- do you know when this -- do you know

      15   when on Friday this letter was sent?

      16   A   I don't know the time.

      17   Q   Okay.    It's -- it's -- based on what you just saw, the

      18   reference to the conversation, is it fair to say that this

      19   occurred after the Debtor was informed that the Advisors were

      20   withdrawing Option B?

      21   A   I believe so.

      22   Q   Right.    And here, in fact, the Debtor is asking the

      23   Advisors to join it in providing a consensual order that would

      24   resolve this motion, right?

      25   A   I don't know.    They're -- it said, "hope that we can




                                                                    Appx. 02500
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                                      Norris - Recross                       204


       1   submit a consensual order incorporating HCMFA's and NPA's."

       2   This was sent to our counsel.       So it was hoping that counsel

       3   would agree to that, yes.

       4   Q    Well, counsel is not going to agree to anything without

       5   the client's authorization; --

       6   A    Correct.

       7   Q    -- is that fair?

       8   A    Correct.

       9   Q    And did the Advisors ever authorize their counsel to try

      10   to negotiate a consensual order?

      11                MR. RUKAVINA:    Your Honor, I object to that.     That's

      12   clearly attorney-client privilege.

      13                THE COURT:    Sustained.

      14                MR. MORRIS:    All right.   I'll ask a different

      15   question.

      16   BY MR. MORRIS:

      17   Q    Did the Advisors ever engage in negotiations with the

      18   Debtor over a consensual order, as was offered by the Debtor

      19   in this letter?

      20   A    I defer to legal counsel on that.

      21   Q    Okay.    You're not aware of any such negotiations, right?

      22   A    I know there were discussions, particularly around our

      23   plans over the weekend, where there were offers of something

      24   related to the lawsuit.       Removal or what -- I don't know the

      25   specific terms, but there were offers made, and I deferred to




                                                                       Appx. 02501
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                                      Norris - Recross                     205


       1   counsel on that.

       2   Q   But we're here today because there is no consensual order

       3   pursuant to which the Advisors would present their plan to the

       4   Court and state specifically that the Debtor had no further

       5   obligation, correct?

       6               MR. RUKAVINA:    Your Honor, that's an irrelevant

       7   question.    And again, it's litigation strategy and attorney-

       8   client privilege.    And we're here today on a mandatory

       9   injunction.

      10               THE COURT:    Sustained.

      11               MR. RUKAVINA:    Not because --

      12               THE COURT:    Sustained.

      13               MR. MORRIS:    Withdrawn.    I have no further questions,

      14   Your Honor.

      15               THE COURT:    All right.    That concludes Mr. Norris's

      16   testimony.    Thank you.

      17               THE WITNESS:    Thank you, Your Honor.

      18               THE COURT:    All right.    What else do you have, Mr.

      19   Rukavina?    Your next witness?

      20               MR. RUKAVINA:    I have nothing further, Your Honor.

      21   The Defendants rest on this motion.

      22               THE COURT:    All right.    Mr. Morris, anything further

      23   from you?

      24               MR. MORRIS:    No, Your Honor.    I'm prepared to proceed

      25   to closing argument.




                                                                       Appx. 02502
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                                                                           206


      1              THE COURT:    All right.   I'll hear it.

      2               CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

      3              MR. MORRIS:    Okay.   Your Honor, thank you for taking

      4   the time to listen today.     We regret that we had to come down

      5   this path, but the Debtor felt that it had no choice at the

      6   time that it filed the action.

      7        We think the evidence conclusively establishes that the

      8   Debtor had the contractual right to terminate the shared

      9   services agreements.     It exercised that right.     It exercised

     10   that right after putting the world on notice that it wouldn't

     11   be providing shared services after a specified period of time.

     12        The Court is fully familiar with the Debtor's plan of

     13   reorganization, the asset monetization plan, the downsizing of

     14   employees that was expected.      And it was the Debtor who had

     15   concerns about the funds, the investors, the marketplace, and,

     16   frankly, the Debtor's ability to implement its own plan of

     17   reorganization, as Mr. Seery so fully testified to.

     18        You know, trying to do the right thing here, the Debtors

     19   extended the termination date by a couple of weeks.       They

     20   engaged in earnest negotiations.      I don't think there is any

     21   dispute at all that the parties actually reached an agreement

     22   on every single business term, every single business term,

     23   except Mr. Dondero's insistence for access to the Debtor's

     24   offices.

     25        I think the Court is familiar with the record in this




                                                                      Appx. 02503
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                                                                        207


       1   case.    There's already an injunction in place barring him from

       2   the Debtor's offices.    The reasons for that are also familiar

       3   to the Court.    I don't think the Debtor was at all

       4   unreasonable in taking the position that it did.

       5        They did what they could, but they came to a point where

       6   they couldn't continue to provide services consistent with the

       7   plan of reorganization that had been presented to the Court.

       8   And in order to avoid the substantial risk of being impeded

       9   from executing on its plan, in order to avoid the substantial

      10   risk that would have occurred had it simply exercised its

      11   right and walked away -- the risk of market disruption, the

      12   risk of potential involvement by the SEC -- it had no choice

      13   but to file this lawsuit.

      14        And honestly, Your Honor, for the life of me, I don't know

      15   why they didn't try to use this wonderful operating plan as

      16   negotiating leverage.    I've never heard of such a thing.   But

      17   that's their choice.    We're not here today because they failed

      18   to do that.     But had they done that, this lawsuit wouldn't

      19   exist.

      20        Had Mr. Dondero not injected himself on Wednesday and

      21   decided that his access was more important than the rest of

      22   it, we wouldn't be here today.

      23        Had the Advisors said, when we gave them the take-it-or-

      24   leave-it option on Wednesday, we're leaving it, thanks for the

      25   effort, we tried hard, this stuff means a whole lot to us, but




                                                                    Appx. 02504
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       1   we have a great plan here, let's not litigate, there's no

       2   reason to do this, we wouldn't be here today.

       3       We wouldn't be here today had they not withdrawn Option B

       4   on Friday.

       5       I don't think -- again, this is summary judgment

       6   territory.   There's no dispute about the facts.    There's no

       7   dispute that, for the fourth time, the reason that we're here

       8   is because Mr. Dondero completely undermined the people who he

       9   had authorized to negotiate on behalf of the Advisors and the

      10   lawyers who did diligent work, who tried very hard to bring

      11   this to fruition, who were engaged in negotiations, as the

      12   record shows, not just getting to a deal but going further and

      13   preparing settlement documents, preparing wire transfers, only

      14   to have the rug pulled out from under them again.

      15       The Debtors had no knowledge of any plan whatsoever for

      16   the transition of services.   I think -- I have respect for Mr.

      17   Norris.   I think that he overstates things, but that's okay.

      18   Everybody's allowed to -- their perspective.     But clearly,

      19   there's a lot of pieces to that operating plan that aren't in

      20   place.    But here, at the end of the day, Your Honor, we don't

      21   care.

      22       What we want to do is complete the divorce, as Mr.

      23   Hogewood said.   And I've got a proposal now that, you know, I

      24   hope will be acceptable to both the Court and to Mr. Rukavina.

      25   And the proposal would be to allow us to submit to Your Honor




                                                                    Appx. 02505
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       1   by the end of the day tomorrow a proposed form of order that

       2   will contain a limited number of factual findings and will

       3   render this motion moot.   And it would be moot because the

       4   Advisors have now put into evidence an operational plan that

       5   they have -- that they are committed to.     They have said on

       6   the record that they no longer need any services of any kind

       7   from the Debtor, except access to the data, and we would be

       8   good with that.   We would be prepared to just say this is moot

       9   because of the operational plan that Mr. Norris described in

      10   such great detail.

      11        I don't want to burden the Court with a lot more.     I think

      12   that that's a way to just resolve this to the satisfaction,

      13   really, of everybody.

      14        I'll just briefly say on the jurisdictional issue and the

      15   arbitration, because they are issues out there, it's

      16   inconceivable that the Court doesn't have jurisdiction here.

      17   This matter concerns the Debtor greatly.     You know, we're here

      18   precisely because we need the relief that we requested

      19   initially, and that -- and that, apparently, the -- that was

      20   the adoption and the implementation of a plan so that the

      21   Debtor knew it would have no further liability.     It was the

      22   Debtor's plan of reorganization that was at issue here, its

      23   ability to downsize in the way it told this Court and its

      24   creditors that it would do.

      25        So I don't think -- I don't think there's a question of




                                                                    Appx. 02506
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      1   jurisdiction at all.

      2        And with respect to arbitration, you know, I'll note,

      3   firstly, of course, that the Advisors, they filed the claim

      4   against the Debtor.    They didn't move to lift the stay.     They

      5   haven't relied on the arbitration clause when -- when it's

      6   good for them.

      7        But more importantly, Your Honor, I don't think a motion

      8   of this type in particular is the subject of any arbitration

      9   provision.   It only applies to one of the agreements, as I

     10   understand it, in any event.    But it's the arbitration clause.

     11        This isn't about the interpretation of the agreement.      I

     12   don't think there's any dispute about the Debtor's right to

     13   terminate.   I don't think there's any dispute about any, you

     14   know, language in the agreement.    There's no interpretive

     15   provision of the agreement that we're talking about here.

     16   What we're -- all we're talking about is making sure that, you

     17   know, the Debtor wouldn't be taking on a potential liability.

     18   And I've gotten comfort from Mr. Norris that we're not,

     19   because, you know, Mr. Norris said that the Debtor -- that the

     20   Advisors can fully perform under the advisory services

     21   agreement, that there's nothing that the Debtor did to prevent

     22   the Advisors from fully performing under the Advisors'

     23   agreement, that they don't need any services from the Debtor

     24   going forward.   And I think that's -- that really is what I

     25   think appropriately does render this motion moot.




                                                                    Appx. 02507
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       1         And what I would propose, again, just to be clear, is that

       2   we could give a proposed order to Your Honor tomorrow at the

       3   end of the day, give Mr. Rukavina until the end of the day

       4   Thursday to make whatever edits he believes are appropriate,

       5   and then Your Honor will do whatever Your Honor thinks is

       6   best, as always.

       7              THE COURT:    All right.   Well, while I like the

       8   concept, and I haven't heard from Mr. Rukavina yet, I'm really

       9   worried about false hope that you would prepare something, Mr.

      10   Rukavina would be fine, and I'd simply sign it without much

      11   time spent on it.

      12         Let me start with this.   You said the order, it would be

      13   something like an order resolving the motion.      It'll contain

      14   certain findings of fact, you said, such as the Advisors have

      15   an operating plan, the Advisors need no services from the

      16   Debtor going forward except access to data.      Okay.   Would I

      17   really get an order that has 14 additional findings, and if

      18   so, what would those be?

      19              MR. MORRIS:    I think we would just go through -- I

      20   don't think that there's really any dispute as to these facts.

      21   There would be no findings in there about, you know,

      22   withdrawal of Plan B or we gave them an ultimatum or any --

      23   there would be nothing like that, Your Honor.      It would simply

      24   be:   The parties were signatories to shared services

      25   agreements.   The Debtor exercised its right of termination.




                                                                     Appx. 02508
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       1   The parties have agreed to extend the termination date twice.

       2   The Debtor -- the Advisors have prevented -- I'm doing this

       3   off the top of my head, of course -- but the Advisors have

       4   prevented -- has -- have prevented -- presented uncontroverted

       5   testimony that they have an operational plan pursuant to which

       6   they will obtain all of the back-office and middle-office

       7   services that were previously provided by the Debtor.        And in

       8   case there's any failure in their plan, they have got

       9   alternative arrangements with third parties and won't look to

      10   the Debtor in the future for any services of any kind other

      11   than the retrieval of their data.      I think that's about what

      12   it would say.

      13             THE COURT:    Okay.    My next question is this:   Are we

      14   going to have a fight in a few days about the retrieval of the

      15   data issue?   I mean, I just heard Mr. Norris say it was a no-

      16   big-deal exercise, that the Debtor just needed to make its IT

      17   director available and they would be standing ready to receive

      18   it, and he made it sound like a no-big-deal task.

      19             MR. MORRIS:    Yeah.   I guess my hope is that we would

      20   be able to iron out that last wrinkle, but I think the

      21   solution to that is to simply say, if the parties have a

      22   dispute on that narrow issue, they come back to the Court,

      23   that the Court has continuing jurisdiction to resolve any

      24   dispute over -- I think it was the provision that Mr. Rukavina

      25   had put up on the screen, I forget, I think it was with Mr.




                                                                    Appx. 02509
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       1   Dondero, where the Debtor has some obligation with respect to

       2   books and records.

       3             THE COURT:    Well, and Mr. Seery said earlier today

       4   that the Advisors can have access to the records and data, but

       5   not 24 hours a day and not without a cost.      So is that going

       6   to be an issue, the cost?

       7             MR. MORRIS:    You know what, I have just I guess one

       8   other alternative that I'm just thinking off the top of my

       9   head.   Maybe put in some type of third-party neutral who can,

      10   you know, to the extent that it's even necessary, and I hope

      11   that it won't be because I think we've gotten a lot of

      12   assurances about the lack of services that are needed going

      13   forward, but perhaps we can -- perhaps the Court can appoint

      14   some third party who would take the burden off of the Court of

      15   any future dispute and try to resolve it that way, you know,

      16   with the parties splitting the cost.       That's an alternative.

      17             THE COURT:    All right.   Mr. Rukavina, what do you

      18   say?

      19             MR. RUKAVINA:    Your Honor, I'd like to give a

      20   closing, please.

      21             THE COURT:    Yes.

      22              CLOSING ARGUMENT ON BEHALF OF THE ADVISORS

      23             MR. RUKAVINA:    And please understand, Your Honor,

      24   this is going to be a difficult closing for me to give because

      25   I'm going to be rather blunt.    My bluntness should never,




                                                                     Appx. 02510
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       1   never substitute my deep respect for this Court and for

       2   bankruptcy courts and for bankruptcy jurisdiction.      I'm a

       3   bankruptcy nerd.   Hopefully Your Honor knows that.     And my

       4   closing is also going to be made a little bit more difficult

       5   because I honestly don't understand why we're here today.

       6        We are here in a lawsuit, not a negotiation before the

       7   Court.   Mr. Morris and I had days to negotiate, we spoke, and

       8   we didn't reach an agreement.    We are here on a six-day notice

       9   mandatory injunction where now the Debtor wants to have some

      10   order with some findings.    We are here today on a motion for a

      11   mandatory injunction that compels my client to do something

      12   where we're not told what it is to do.

      13        We are not here today, Your Honor, on Count One, their

      14   declaratory relief that they've terminated appropriately and

      15   done nothing wrong.    We're not here today on that.    It is

      16   inappropriate to make any findings on that.      That issue will

      17   be resolved in due course.

      18        We're not here today on any future duties.      I heard the

      19   record, too.   I heard the evidence.     I can't imagine there

      20   being any future duties.    But that is an advisory ruling that

      21   we're not here on today.

      22        So, again, we are here today on whether my client is going

      23   to be enjoined to do something.    And the reason why we will

      24   not agree to that --

      25             THE COURT:   Can I stop you?     What I hear from the




                                                                     Appx. 02511
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       1   Debtor is, in light of everything we have all heard the past

       2   seven hours, and apparently things the Debtor was not

       3   expecting to hear -- that is, we're ready to cut it off

       4   tomorrow, today; all we need is the data -- he's happy to say,

       5   okay, my request for an injunctive -- a mandatory injunction

       6   is moot now.   I'm not asking the Court for that.

       7        So, you know, I feel compelled to start with the pragmatic

       8   possible resolution of this.      Why --

       9              MR. RUKAVINA:    Your Honor?

      10              THE COURT:   Why is that not an acceptable way of

      11   resolving this?   He doesn't --

      12              MR. RUKAVINA:    Because --

      13              THE COURT:   He doesn't need an injunction, he says,

      14   if we can have an order.

      15              MR. RUKAVINA:    It's not -- Your Honor, I would then

      16   humbly submit that why doesn't he withdraw his motion?     I

      17   mean, the problem that I have, Your Honor, is that anything

      18   that I agree to is going to submit my clients' internal

      19   business affairs to this Court's oversight.

      20        I think Your Honor asked very important questions.     What

      21   happens in two or three days' time if something happens?       What

      22   about these findings?      I am -- I think that this whole motion

      23   is moot, but I am very worried that even a finding of mootness

      24   is an exercise of jurisdiction over my clients' internal

      25   affairs.




                                                                    Appx. 02512
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       1        What I think the Court should do is dismiss this motion --

       2   I'm sorry, deny this motion without commentary, without

       3   findings, without conclusions.    There's still Count One and

       4   Count Two which will be resolved in due course.     And you know

       5   what?   If my client messes up somehow in this transition --

       6   not to mention that my clients are highly reputable, they're

       7   governed, they're regulated, there's other people looking at

       8   this -- they can come back to Your Honor.

       9        But please understand my perspective, please understand my

      10   clients' perspective, because I think it's important.      We have

      11   been hauled in front of this Court on allegations that we have

      12   willfully failed and refused to adopt and effectuate a plan.

      13   The allegations here are extreme.    They've been shared with

      14   the creditors.   They've been shared with our boards, who knew

      15   about this all along.   They've been shared with the SEC.

      16   They've been shared publicly.

      17        So I am glad that the record is now clear that these

      18   allegations were baseless when made, but even if they were

      19   made in good faith, they are baseless today.

      20        But I don't even want the Court exonerating my clients'

      21   plan.   I don't want the Court commenting on the wisdom of my

      22   clients' plan.   Because we will not agree, as a nondebtor

      23   party, with all respect, Your Honor, to have this Court take

      24   any oversight over our affairs.    It'll lead to some future

      25   dispute, some future contempt, some future sanctions, and




                                                                    Appx. 02513
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       1   that's just not something that we as nondebtors are going to

       2   consent to.

       3       The Court doesn't have jurisdiction.     The Court doesn't

       4   have core jurisdiction.

       5       But let's put all that aside.     The four elements of an

       6   injunction, Your Honor.    Where is any evidence of harm?     Mr.

       7   Seery did not --

       8             THE COURT:    You know what?   As long as we're not

       9   going to have a consensual order here, we need to take the

      10   issues you've raised, starting with subject matter

      11   jurisdiction.   Okay?   If I don't have consensus, I've got to

      12   examine my own subject matter jurisdiction.

      13       So, on that point, do you say I apply the Fifth Circuit's

      14   pre-confirmation test of bankruptcy subject matter

      15   jurisdiction or post-confirmation test?

      16             MR. RUKAVINA:    Your Honor, the plan has --

      17             THE COURT:    Okay.   I signed the confirmation order,

      18   but it's one day old.     It's still appealable.   And it's

      19   nowhere close --

      20             MR. RUKAVINA:    Your Honor?

      21             THE COURT:    -- to going effective, I fear.   So, under

      22   either test, tell me why I don't have subject matter

      23   jurisdiction first.

      24             MR. RUKAVINA:    I would like to argue that the pre-

      25   confirmation -- that the post-confirmation test applies, but I




                                                                    Appx. 02514
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       1   can't, in good faith.     The plan has not gotten -- gone

       2   effective.   There still is an estate.     So, as of today, I

       3   think Your Honor is dealing with the pre-confirmation

       4   jurisdiction, --

       5             THE COURT:    Okay.

       6             MR. RUKAVINA:    -- which is definitely broader.

       7             THE COURT:    Okay.

       8             MR. RUKAVINA:    There is no jurisdiction, because you

       9   have heard no evidence of any effect on this estate as a

      10   result of this injunction being issued or not issued.       Mr.

      11   Seery had every opportunity to be asked about harm,

      12   interference, how does this affect the reorganization?       He did

      13   not give you any.   This does not increase --

      14             THE COURT:    Well, what I think I heard, and I may be

      15   mixing up written pleadings, declarations, versus what he said

      16   today, but what I know I heard in either the papers or his

      17   oral testimony today was that the Debtor is worried about

      18   exposure to liability from who knows who.

      19             MR. RUKAVINA:    Okay.

      20             THE COURT:    The investors in the private funds or

      21   someone else for not having a smooth transition plan here and

      22   cutting things off on February 28th without knowing there's a

      23   plan.   Okay?   So if the estate is exposed to potential

      24   liability, is that an impact on the estate being administered,

      25   per Wood v. Wood?




                                                                    Appx. 02515
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       1               MR. RUKAVINA:   Of course it is, Your Honor.    But we

       2   have to go to evidence.     That's not in the evidence.    That's

       3   in the brief that they filed.     It is not in Mr. Seery's

       4   declaration.    It is conclusory.   It is not evidence.    There is

       5   no evidence today of anyone that could sue the Debtor.       I have

       6   no idea of anyone who could sue the Debtor -- pardon me --

       7   regarding this.

       8               THE COURT:   He did say in testimony he was worried

       9   about the SEC if this was not done right.

      10               MR. RUKAVINA:   Well, Your Honor, with due respect,

      11   his worry is conclusory and his worry does not rise to an

      12   effect.    He didn't tell you that the SEC has investigated or

      13   is threatening anything.     It's a purely hypothetical worry.

      14   So I do not think that Your Honor has even related-to

      15   jurisdiction now that Your Honor has heard all of the

      16   evidence.

      17        Now, let me be clear.     Your Honor has jurisdiction over

      18   Counts One and Counts Two in this lawsuit, subject to

      19   arbitration, right?      That's the declaratory action as to

      20   whether they terminated correctly.     That's a legitimate

      21   exercise of jurisdiction.     And their monetary claim for unpaid

      22   amounts:    Clearly, the Court has jurisdiction.   All I'm

      23   talking about is whether the Court has jurisdiction to enjoin

      24   a nondebtor party to do something.     Not -- not to not do

      25   something, not a status quo injunction, but a mandatory




                                                                      Appx. 02516
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       1   injunction.

       2        And you have heard no evidence, Your Honor, no nexus as to

       3   how the injunction that Your Honor has been asked to order is

       4   going to affect the estate.    None.

       5             THE COURT:   Okay.   But you say a nondebtor third

       6   party.   It's not just any nondebtor third party.    Among other

       7   things, it's a counterparty to executory contracts that the

       8   Debtors say, you know, we either terminated these during the

       9   case or they're deemed rejected, and we're wanting some

      10   cooperation from the counterparty.

      11        I mean, doesn't that give --

      12             MR. RUKAVINA:   Okay.

      13             THE COURT:   -- subject matter jurisdiction, because

      14   we're talking about a counterparty to an agreement that would

      15   have been governed by 365?

      16             MR. RUKAVINA:   I think, Your Honor, if there is some

      17   duty in those contracts or some duty in the law to act in a

      18   particular manner upon termination or rejection, there would

      19   be jurisdiction.

      20        But just like when Your Honor ruled against us in December

      21   -- Your Honor said, I find nothing in this contract that

      22   provides for such a duty -- there's nothing in these contracts

      23   that provides any obligation on my client.

      24             THE COURT:   That is a different agreement.    That was

      25   a different agreement, for the record.




                                                                    Appx. 02517
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       1             MR. RUKAVINA:   Fair enough.

       2             THE COURT:   That was --

       3             MR. RUKAVINA:   Your Honor, fair enough.

       4             THE COURT:   That was the CLO agreements that your

       5   clients were not parties to.

       6             MR. RUKAVINA:   But Your Honor asked the right

       7   question then, and that's still the right question:       Point me

       8   to some statutory or contractual right for what you want.

       9   They have not pointed you to any.

      10        So, yes, hypothetically, if these agreements -- let's just

      11   assume that these agreements required post-termination good-

      12   faith unwinding.   There would be jurisdiction.     But these

      13   agreements don't provide any of that.      The only thing that's

      14   provided is that, post-termination, the Debtor shall promptly

      15   return to us our property.   And that -- there's no problem

      16   with that.   We trust that the Debtor -- we heard Mr. Seery --

      17   the Debtor's not going to mess that up.      It'll be done quickly

      18   and painlessly, I hope.

      19        That's not what they're asking for.      They're asking for

      20   Your Honor to tell my client how to conduct its internal

      21   business affairs, and there's nothing in these contractual

      22   rights.

      23        So, hypothetically, let's just assume that the Court has

      24   some related-to jurisdiction.    Okay.     It's still not core

      25   jurisdiction.   And these contracts have been terminated, Your




                                                                     Appx. 02518
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       1   Honor.   There is no live contract.   No one has shown you any

       2   statute or regulation that governs.    So, that's jurisdiction.

       3       The same fact of no harm, the same fact of no right, goes

       4   to the elements of an injunction, recalling that a mandatory

       5   injunction requires a much greater, much clearer burden.

       6   Again, Mr. Seery did not testify as to any harm.     He said he

       7   was worried about the SEC and he said something like it might

       8   make plan implementation more difficult.     Again, conclusory

       9   allegations.    Those are not -- that's not evidence of

      10   immediate and imminent injury.   It is certainly not evidence

      11   of irreparable injury, and it is certainly not evidence of a

      12   nonmonetary injury.

      13       So, again, I ask -- I understand Your Honor has been in

      14   this case for a long time.   I understand Your Honor has been

      15   in the Acis case before that.    I understand from Your Honor's

      16   confirmation ruling that you have formed certain opinions

      17   about my clients, opinions that I think are unfair, quite

      18   frankly, that basically conclude that we are a vexatious

      19   litigant and that we are the tentacles of Mr. Dondero.      I ask

      20   you to put all that aside.   Because that's what the Debtor

      21   wants you -- the Debtor wants you to just reflexively conclude

      22   that somehow we're nincompoops and incompetents and we need

      23   court supervision.    Put all that aside, Your Honor, and just

      24   ask yourself:   What am I being asked to do?    I'm being asked

      25   to order a nondebtor as to how to conduct its own internal




                                                                     Appx. 02519
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       1   business -- not even business related to the Debtor, but how

       2   to conduct its own internal business -- even if we are the

       3   biggest nincompoops, which absolutely is not borne out by the

       4   record.

       5        This is the wrong court for any such relief.     It's the

       6   wrong court.

       7        The reason why I showed you that letter from last Friday

       8   was I thought it was -- I think Mr. Morris is an excellent

       9   lawyer and I've worked very well with him, but I think that

      10   the allegation is so fundamentally unfair, that somehow this

      11   is our fault because we didn't tell them about a backup plan

      12   and we wouldn't just consent to the entry of an order that

      13   gives Your Honor jurisdiction over us.     That's unfair, Your

      14   Honor.    This is an inquisition in that respect.   In that

      15   respect, it's an inquisition.

      16        We were sued.   We defended ourselves.    We're not -- this

      17   is the fourth lawsuit, by the way, that the Debtor filed

      18   against us, Your Honor.

      19        And as I asked you at the confirmation hearing, what

      20   evidence is there that we're vexatious?     Okay, we filed a

      21   motion in front of Your Honor that was frivolous.     It

      22   happened.   And we're glad that the Court didn't sanction us.

      23   We're glad.    Perhaps the Court still will.   But that's it.

      24   Nothing else that we've done.

      25        We've been quiet in this case.   We've been minding our own




                                                                      Appx. 02520
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       1   business.    We've been preparing a backup plan.    We've done

       2   everything right.    And the Debtor comes to you shocked,

       3   shocked, alleging that we don't have any plan, alleging that

       4   the sky is falling.       And even when the Debtor learns that

       5   that's not the case, we still had to go through today.

       6       Why did we go through today, Your Honor?       Why did my

       7   client -- why did my client have to sit here like someone that

       8   had done something wrong, like a criminal defendant, and be

       9   inquired as to all of its internal business practices, with

      10   implications made that my client doesn't know what it's doing?

      11   Why did we go through today just to have some order that's a

      12   -- that provides for something?

      13       They want a mandatory injunction, Your Honor.       You should

      14   thumbs-up it or thumbs-down it.      And if you thumbs-up it,

      15   it'll be without jurisdiction, without basis, and it'll be

      16   extraordinary.

      17       I can just keep talking and talking, but I'll repeating

      18   the same points, Your Honor, so I thank you.

      19               MR. MORRIS:    Can I just have five minutes, Your

      20   Honor?

      21               THE COURT:    You can.

      22            REBUTTAL CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

      23               MR. MORRIS:    You know, I think the Court can issue an

      24   order finding that the motion is moot on its own accord.         It

      25   doesn't need a consensual order to do that.      I think the Court




                                                                     Appx. 02521
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       1   -- I would believe that the Court would have a factual finding

       2   to support the finding of mootness.

       3        But I don't really get the righteous indignation at all.

       4   It's as if Mr. Rukavina didn't hear anything I said.     Because

       5   we're most certainly not asking the Court -- we weren't even,

       6   in the motion, asking the Court to do anything specific other

       7   than direct the Advisors to adopt and implement a plan.       It

       8   didn't have to be with us.    We didn't care who it was with.

       9   We didn't care what the elements were.     The fact of the matter

      10   is Mr. Seery testified extensively, not just about the

      11   potential impact this would have on the Debtor's plan of

      12   reorganization, but he testified that certain of the Debtor's

      13   employees had received threats.    He testified, based on his

      14   experience, that this is a highly-regulated industry, and if

      15   there was -- if we walked away without any plan in place,

      16   which is exactly why he said we filed this motion, that it

      17   would be -- that it would be potentially catastrophic and that

      18   undoubtedly the SEC would be involved.     And Mr. Rukavina

      19   cannot give the Debtor any assurances that it would have no

      20   liability.   Mr. Rukavina, I'm sure, is not going to allow his

      21   client to indemnify the Debtor for any damages that may have

      22   occurred in the future.

      23        We're a little far afield here, Your Honor.     We simply

      24   wanted to make sure that there was a plan in place to avoid a

      25   catastrophe.   That was the irreparable harm that we were




                                                                    Appx. 02522
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      1   looking at.    And at the end of the day, they came in -- you

      2   know, I wish they had done it last week.       I wish they had told

      3   us last Thursday.     I wish they had told us last Wednesday.       I

      4   wish they had told us during the negotiations.       I wish they

      5   had told us last Friday, instead of pulling Plan B.        I wish

      6   they -- you know.     But it doesn't matter.    They don't have an

      7   obligation to do that and I'm not, you know, I'm not going to

      8   pretend that they do.     It would have been better if they had.

      9   They didn't.    But they did, they did what the Debtor needed

     10   them to do today, and that is present their plan to the Court.

     11          And while we, you know, have questions about when it was

     12   prepared, whether it's fulsome, they like it, and that's the

     13   important part.     And they're not going to look to the Debtor

     14   for any services in the future.      That's the important part.

     15          The risk that Mr. Seery was concerned about has been

     16   eliminated, and I, you know, appreciate that.       And that's why

     17   I thought we came in here with a very rational and pragmatic

     18   solution, to just -- to just -- you know, they've done what

     19   we've asked for.     We've gotten the relief that we've asked

     20   for.    The Advisors have sworn under oath that they have an

     21   operating plan to obtain the essential services that the

     22   Debtor used to provide.     That's the relief we were asking for.

     23   I'm not quite sure what there is left here.

     24               THE COURT:   Okay.   Thank you.

     25          All right.   The first thing I'm going to say is that the




                                                                      Appx. 02523
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       1   Court believes it has subject matter jurisdiction, bankruptcy

       2   subject matter jurisdiction, over the requested relief.     If

       3   it's a pre-confirmation test that I am supposed to apply here

       4   -- that is, the Wood v. Wood, could this dispute have a

       5   conceivable effect on an estate being administered -- I find

       6   that that test is met.

       7        I think the concern of potential liability and exposure on

       8   the part of the Debtor is well-founded, even if it was not

       9   articulated to the Advisors' satisfaction today.     I think,

      10   based on the litigious history here between these parties and

      11   the contentiousness, I should say, between these parties

      12   during this case, there is certainly a well-founded concern,

      13   and certainly I think the Debtor is just being prudent,

      14   worried about the SEC, investors, the Advisors, the funds,

      15   someone else pointing fingers at the way the Debtor did or did

      16   not act in transitioning services over.     I think that is a

      17   basis for subject matter jurisdiction under the pre-

      18   confirmation test.

      19        If the post-confirmation test applies here, we know that

      20   Fifth Circuit cases such as In re Craig's Stores, In re Case,

      21   National Gypsum, among others, articulate the test of

      22   bankruptcy subject matter jurisdiction being could the outcome

      23   of the dispute bear on the implementation, the execution, or

      24   the interpretation of a confirmed plan?     I think that test is

      25   likewise met here.




                                                                    Appx. 02524
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       1        Obviously, the plan contemplated a separation, and this

       2   request for relief appears to be basically seeking some

       3   supplemental -- a supplemental order to supplement the

       4   confirmation order, to supplement the Debtor's attempt at

       5   divorcing these parties as part of the monetization plan.

       6        So I think bankruptcy subject matter jurisdiction does

       7   exist here.

       8        I didn't hear in oral arguments, closing arguments,

       9   anything about the arbitration, but I think there's a real

      10   question here whether the Advisors may have waived their right

      11   to invoke the arbitration clause that's in one of the shared

      12   services agreements, not both of them, by filing pleadings so

      13   often, participating in this bankruptcy case so often, without

      14   invoking that.

      15        But again, as I see it, this adversary proceeding is

      16   largely -- essentially, I should say -- asking for an order

      17   supplementing the confirmation order, and it doesn't really

      18   seem like a dispute per se under the shared services

      19   agreements that have already been terminated.

      20        So I think an argument can be made that there's been

      21   waiver here, but even if there's not, that this is core in

      22   that it bears on the plan confirmation, certainly more than a

      23   dispute arising under the literal terms of the shared services

      24   agreement.

      25        I reserve the right to supplement and amend this, if I




                                                                    Appx. 02525
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                                                                        229


       1   need to, in a more thorough written ruling.

       2        But anyway, based on the Court determining it does have

       3   subject matter jurisdiction here, I see it appropriate to

       4   enter an order that, based on the Court's several hours of

       5   testimony today from three different witnesses -- Mr. Seery,

       6   Mr. Dondero, Mr. Norris -- and based on many documents that

       7   have been submitted into the evidence, the Court finds that

       8   the shared services agreements were already terminated

       9   pursuant to their terms and can also be deemed rejected under

      10   365 of the Code previously.

      11        The Court will find that the Advisors do not need any

      12   further services from the Debtor under these agreements as of

      13   today's date, except access to data and records, which, based

      14   on the testimony of Dustin Norris, can be easily effectuated,

      15   Mr. Norris's testimony being that what the Debtor would need

      16   to do to allow access to the data is authorize the Debtor's IT

      17   director to transfer data and we stand ready to receive it.

      18   And data would include historical emails, vault emails, files

      19   in the system, and a number of other items, but, quote, there

      20   would almost be no work from the Debtor's end.

      21        So, believing that to be the case, I would order that the

      22   Debtor stand ready between now and the 28th to provide that

      23   access and that the Advisors stand ready to receive that

      24   access.   And if the process extends beyond February 28th, then

      25   it will have to be subject to further orders of this Court,




                                                                    Appx. 02526
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       1   but the Court would expect there to be a cost if it extends

       2   past February 28th.       And again, the Court would consider that

       3   in a further hearing, how much cost should be imposed on the

       4   Advisors.    But the advisors have represented to me through Mr.

       5   Norris it's easy, it can be accomplished easily, so therefore

       6   I would think it could happen between now and the 28th, and if

       7   it does, no cost imposed on anyone.

       8        I will further find that the Advisors have represented and

       9   the Court therefore finds that there is an operating plan in

      10   place for the Advisors to continue to operate uninterrupted

      11   beyond today.    And again, the only thing I would envision that

      12   needs to happen between today and February 28th is the access

      13   to data.

      14        So, having made these findings, the Court believes that

      15   the request for a mandatory injunction is moot and is

      16   therefore denied.

      17        Are there any questions?       Mr. Morris, I want you to be the

      18   scrivener, and, of course, run it by Mr. Rukavina.        But are

      19   there any questions or concerns about what I've just

      20   articulated?

      21               MR. MORRIS:    I just have one, Your Honor.

      22               THE COURT:    Uh-huh.

      23               MR. MORRIS:    You made reference to rejection of the

      24   contract.    From our perspective, it's not rejection.      We don't

      25   want to open this up to a rejection claim of any kind.       It




                                                                      Appx. 02527
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       1   really was just a termination of the agreement, in accordance

       2   with the terms.    And I had put the provisions up before the

       3   Court during my opening and walked Mr. Seery through.        That's

       4   the basis for the --

       5             THE COURT:    Okay.

       6             MR. MORRIS:     -- termination of the agreement.     It's

       7   not rejection at all.

       8             THE COURT:    Fair point.

       9             MR. RUKAVINA:    And Your Honor, there's no -- there's

      10   no -- yeah, there's no problem.       There's no problem on that.

      11   We do not disagree.     We do not disagree with Mr. Morris.

      12             THE COURT:    Fair point.    I made the mistake of belts

      13   and suspenders, trying to fill in any hole there might be.

      14   But yes, I had the evidence that there was a termination of

      15   both agreements on November 30th.       One of them had a 60-day

      16   window before it became effective, the other a 30-day.         So

      17   they are terminated.

      18        All right.   Mr. Morris, anything else from you?

      19             MR. MORRIS:    No.    We'll prepare a form of order.

      20             THE COURT:    All right.    Mr. Rukavina, anything

      21   further from you?

      22             MR. RUKAVINA:    Your Honor, obviously, I have

      23   questions.    I have reservations.    I need to look at whether

      24   the Court's findings are going to be binding in this adversary

      25   proceeding.    So, at this point in time, I'm just not prepared




                                                                     Appx. 02528
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       1   to really say anything lest I get myself in trouble.       But I

       2   thank you for your time today.

       3             THE COURT:   All right.   Well, they are what they are,

       4   and I hope we're not in an argument about that down the road.

       5   But it seems like my hopes are always dashed when I want

       6   things to be worked out.

       7       I don't want you to think my calm demeanor means I am a

       8   happy camper.   I am not.    I am beyond annoyed.     I mean, I

       9   can't even begin to guesstimate how many wasted hours were

      10   spent on the drafting Option A, Option B.     Wait.    Let me pull

      11   up the exact words.    Mr. Norris confirming, We withdrew Option

      12   B after the Debtor accepted it.

      13       I mentioned fee-shifting once before in a different

      14   context, and, of course, we haven't even gotten to the motion

      15   for a show cause order declaring Mr. Dondero in contempt.          I

      16   don't know if the lawyers fully appreciate how this looks.

      17   Mr. Rukavina, you said that I have formed opinions that you

      18   don't think are fair and made comments about vexatious

      19   litigation and whatnot.     But while I continue, I promise you,

      20   to have an open mind, it is days like this that make me come

      21   out with statements that Mr. Dondero, repeating his own words,

      22   apparently, he's going to burn the house down if he doesn't

      23   get his baby back.

      24       I mean, it seems so obviously transparent that he's just

      25   driving the legal fees up.    It's as though he doesn't want the




                                                                      Appx. 02529
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       1   creditors to get anything, is the way this looks.       If he wants

       2   me to have a different impression, then he needs to start

       3   behaving differently.    I mean, I can't even imagine how many

       4   hundreds of thousands of dollars of legal fees were probably

       5   spent the past two weeks on Option A, Option B, and all the

       6   different sub-agreements and whatnot.       And as recently as

       7   Friday afternoon, the K&L Gates lawyer saying we have a deal,

       8   and then, oh, wait, maybe not, maybe we do, maybe we don't.

       9   And then Mr. Dondero acting like he had no clue what the K&L

      10   Gates lawyers were saying as far as we have a deal.         And Mr.

      11   Norris distancing himself from having seen any of that, and I

      12   didn't have power.     You know, I'm sure he had a cell phone,

      13   like the rest of us, that gets emails.       I'm making a

      14   supposition.   I shouldn't make that.      But it just feels like

      15   sickening games.

      16       And again, if this keeps on, if this keeps on, one day,

      17   one day, there may be an enormous attorney fee-shifting order.

      18   And, of course, I would have to find bad faith, and I wouldn't

      19   be surprised at all if I get there.

      20       So I don't know if Mr. Dondero is listening.       I suspect,

      21   if he is, he doesn't care much.    But I am --

      22             MR. DONDERO:    I'm on the line, Judge.

      23             THE COURT:    Okay.

      24             MR. DONDERO:    I'm on the line.

      25             THE COURT:    I'm glad you're on the line.     I cannot




                                                                       Appx. 02530
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       1   overstate how very annoyed I am by hearing all these hours of

       2   testimony and to feel like none of it was necessary.         None of

       3   it was necessary.     Okay?     There could have been a consensual

       4   deal --

       5               MR. DONDERO:      Judge, you have to pay attention --

       6   Judge, you have to pay attention to what's going on, okay?

       7               THE COURT:    I am --

       8               MR. DONDERO:      When I was president of Highland, --

       9               THE COURT:    -- razor-sharp focused on what is going

      10   on.   Okay?   I read every piece of paper.       I listen to every

      11   sentence of testimony.        And what is going on --

      12               MR. DONDERO:      Okay.   How about this, Your Honor?

      13               THE COURT:    -- is an enormous waste of parties and

      14   lawyer time and resources.        People need to get their eye on

      15   the ball.     Well, certain people do have their eye on the ball,

      16   but certain people do not.        Okay?   So we're done.   You've got

      17   your divorce now.     Okay?     And if the operating plan is all

      18   shored up, as Mr. Norris testified, it sounds like you're in

      19   good shape.      All right?

      20         Mr. Morris, I'll look for the order from you.

      21               MR. MORRIS:    Thank you, Your Honor.

      22               THE CLERK:    All rise.

      23         (Pause.)

      24               THE COURT:    Oh, Michael?

      25         (Court confers with Clerk.)




                                                                        Appx. 02531
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       1               THE CLERK:    Hello?   Hang on.   Mr. Morris?

       2               THE COURT:    Is anyone still there?

       3               THE CLERK:    Mr. Rukavina is still there.      Mr.

       4   Rukavina, Mr. Morris, are you all still there?

       5               MR. RUKAVINA:    Judge, this is Davor.

       6               THE COURT:    All right.

       7               MR. RUKAVINA:    I think we're all wondering whether

       8   we're going to have the contempt hearing.

       9               THE COURT:    Well, yes, that's why I came back in.

      10               MR. RUKAVINA:    I can't hear you, Judge.    We can't

      11   hear you.

      12               THE COURT:    I realized I -- it's 4:19 Central time.

      13   We are not starting the contempt hearing.

      14        Mr. Morris, are you there now?

      15               MR. MORRIS:    I am.   I did have one suggestion.

      16               THE COURT:    All right.   I neglected to mention our

      17   other setting, but we are not going to start at 4:19 Central

      18   time.   Do we want to talk about scheduling on that?

      19               MR. MORRIS:    I did, Your Honor.    And it's just an

      20   idea, and I understand we've had a long day.         But I was going

      21   to suggest if there was any way to just get their motion in

      22   limine out of the way today, so that when we come back for the

      23   evidentiary hearing parties are fully prepared.         If you don't

      24   want to do it, that's fine.        Otherwise, I'm available at Your

      25   Honor's convenience.




                                                                        Appx. 02532
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       1               THE COURT:    All right.    I am going to have you all

       2   communicate with Ms. Ellison about rescheduling that.         I have

       3   no idea what my calendar looks like next week, but I'm not

       4   going to do it this week.         I've got a backlog of other case

       5   matters that I need to get to this week.

       6               MR. MORRIS:    Okay.

       7               THE COURT:    So, you know, maybe we'll do it next

       8   week.   On the motion in limine, you've not filed a response?

       9   It was just filed yesterday, so I'm guessing there's no

      10   response.

      11               MR. MORRIS:    Yeah.    I was going to do -- I was going

      12   to do it orally.    I'm happy to do a written response, and I'm

      13   happy to just proceed on the papers.        I just think it would be

      14   helpful to have that, you know, or if we could put aside an

      15   hour later this week to do that, because then preparing, if we

      16   know the evidence is in or out, I think it'll just make the

      17   trial a lot more smooth.

      18               THE COURT:    All right.    I barely had time to pore

      19   over it, so let me have Traci reach out to you all tomorrow

      20   and let you know do I want a hearing on it or not.         I have an

      21   initial reaction.    I don't know if Mr. Dondero's counsel is on

      22   the phone.    I don't want to talk about this too much if he's

      23   -- do we have Dondero's counsel?

      24               MR. WILSON:    I'm present, Your Honor.    John Wilson.

      25               THE COURT:    Okay.    I will tell you right now that,




                                                                       Appx. 02533
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       1   having done a quick review of it, I didn't feel inclined to

       2   grant it.    I'm going to have the TRO in front of me and I'm

       3   going to hear the evidence of what happened, and it's either

       4   going to match up as a violation of the provisions of the TRO

       5   or not.   You know, I feel -- I'm not a jury.       I can decide

       6   whether it is violative of the TRO or not.        The theme of it

       7   was, oh, it's going to have a prejudicial effect.        I mean,

       8   I've already heard about a lot of this.        So I'm inclined not

       9   to grant it.    But, again, I did a very quick look at it at

      10   5:00 o'clock last night.       And that's why I asked Mr. Morris,

      11   was he going to have a response, because --

      12               MR. MORRIS:    Yeah.    I was planning to do it orally

      13   today, Your Honor.       If I may just have until 5:00 o'clock

      14   tomorrow, I'll submit an opposition that won't exceed five

      15   pages.

      16               THE COURT:    Okay.    So that's what we'll do.    And then

      17   once I've looked at the motion more carefully, as well as the

      18   response, I'll decide if I need oral argument or if I'm just

      19   going to rule on the pleadings, okay, and Traci will let you

      20   all know.    All right?    And again, Traci will coordinate with

      21   you tomorrow or sometime this week about a resetting on the

      22   contempt motion.

      23       All right.     Thank you.

      24               MR. MORRIS:    Thank you, Your Honor.

      25               MR. WILSON:    Thank you, Your Honor.




                                                                         Appx. 02534
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       1             THE CLERK:   All rise.

       2        (Proceedings concluded at 4:23 p.m.)

       3                                --oOo--

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      20                              CERTIFICATE

      21        I certify that the foregoing is a correct transcript from
           the electronic sound recording of the proceedings in the
      22   above-entitled matter.
      23     /s/ Kathy Rehling                                 02/24/2021

      24   ______________________________________           ________________
           Kathy Rehling, CETD-444                              Date
      25   Certified Electronic Court Transcriber




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